     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 1 of 251



 1          UNITED STATES DISTRICT COURT OF MARYLAND
                         SOUTHERN DIVISION
 2
   ------------------------x
 3 UNITED STATES OF AMERICA  :
              Plaintiff      :
 4                           :
                             :
 5 vs                        :Criminal Action:           RWT -04-0235
                             :
 6                           :
   PAULETTE MARTIN, et al    :
 7           Defendants.     :
   ------------------------x
 8

 9                           Wednesday, July 26, 2006
                             Greenbelt, Maryland
10
         The above-entitled action came on for a Jury Trial
11 Proceeding before the HONORABLE ROGER W. TITUS, United
   States District Judge, in courtroom 4C, commencing at
12 9:40 a.m.

13       THIS TRANSCRIPT REPRESENTS THE PRODUCT
         OF AN OFFICIAL REPORTER, ENGAGED BY
14       THE COURT, WHO HAS PERSONALLY CERTIFIED
         THAT IT REPRESENTS   THE PROCEEDINGS AS RECORDED AND
15       REQUESTED .

16       APPEARANCES:

17       On behalf of the Plaintiff:

18       DEBORAH JOHNSTON, Esquire
         BONNIE GREENBERG, Esquire
19
         On behalf of the Defendants:
20
         MICHAEL MONTEMARANO , Esquire
21       ANTHONY MARTIN, Esquire
         MARC HALL, Esquire
22       TIMOTHY MITCHELL, Esquire
         PETER WARD, Esquire
23       EDWARD SUSSMAN , Esquire
         HARRY MCKNETT , Esquire
24
   Tracy Rae Dunlap,   RPR , CRR                      (301) 344-3912
25 Official Court Reporter




                                                                Page     1
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 2 of 251



 1                              I N D E X

 2                               CROSS      REDIR     RECROSS

 3 Thomas   Eveler               36         161       203

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22
                                                            Page

23 Reporter's Certificate                                   251

24 Concordance                                              252

25



                                                                  Page   2
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 3 of 251



 1            THE COURT:    Good morn ing .     Please    be seat ed .

 2            MR. MITCHELL:      Your Honor , before      you begin , if

 3 I could address     Your Honor .     I know you don't need

 4 anymore     headache s, but I'm going to give you another

 5 one .   Last week Mr. Park , from the U. S. A ttorney 's

 6 office , call ed me about try ing to         schedule    a scheduling

 7 conference     with Judge Messitte , and he want ed to do it

 8 at 10 o'clock     this morn ing , and I told him I could n't

 9 do that .     He said we'll get back to you .           He just

10 walk ed in this morn ing and said , we're having            the

11 scheduling     conference    right now at 9:30 .

12            THE COURT:    9:30 ?

13            MR. MITCHELL:      I don't know     -- I am comfortable

14 with Mr. Montemarano        argui ng on my behalf .

15            MR. MARTIN:      What about your client ?

16            MR. MITCHELL:      I certain ly think that Mr. Bynum

17 would have no problem , but I don't know              what --

18            THE COURT:    How long is this going to take ?

19            MR. MITCHELL:      I don't know .     Probably    not long

20 at all .     I can probably    be back before -- probably           ten

21 minute s.

22            THE COURT:    Well , let me -- why don't you go

23 right through     the back door and go quick ly , and I'm not

24 going to -- we're not going to hear any evidence                  and

25 we're not going to bring the jury in or anything                  like




                                                                     Page    3
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 4 of 251



 1 that .     All I want to do is address         the government 's

 2 motion     in limine     about the record ings , any other

 3 preliminary     matter s people       have , and some scheduling

 4 issue s.     I can do the scheduling        issue s first , which

 5 don't have any legal significance            whatsoever , while

 6 you're     out if you and your client        are willing     to have

 7 that proceed     on that basis .

 8            Talk to your client .         I'll tell you this .     I

 9 will not make a decision         on the motion     without    hear ing

10 from you .     What I want ed to tell you is I am not going

11 to make a decision         on the motion    in limine   without    you

12 being here .     I will     make no decision     on anything , and I

13 will be sure you can be heard .

14            Is your client     willing     to have you absent

15 yourself     for a few minute s for that reason ?

16            MR. MITCHELL:      Yes .

17            THE COURT:      All right .     Let me take up a

18 scheduling     issue .     On Friday    I have a sentenci ng

19 scheduled     for 9:00 that I think is going to be

20 relative ly straightforward           and un controversial , and I

21 could start at 9:30 and do a 9:30 to 2:30 with no lunch

22 break -- just two break s, if that would be preferable

23 for those who would like to not be here at 5 o'clock                   on

24 a Friday .

25            Any concerns     about that ?




                                                                   Page     4
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 5 of 251



 1            MR. HALL:     That 's fine .

 2            MR. MARTIN:     That 's great .

 3            THE COURT:     Okay .   I apologize    for being a few

 4 minute s late , but I got this little          re ply memo which I

 5 want ed to per use before      I came on the bench .

 6            Let me hear from Ms. Johnston         on the motion    in

 7 limine .

 8            MS. JOHNSTON:     Your Honor , quite frankly      we have

 9 received    from defense     counsel   on Friday   final

10 transcript s numbering       approximately     410 page s for 88

11 telephone    call s that they plan to play .        As a

12 preliminary     matter , if they're       going to use the CDs

13 that we provided        them and play those call s, I don't

14 think we have any issue in term s of authenticati ng the

15 record ings .

16            There is , however , a problem      in term s of the

17 transcript s.     We do not know who prepared        those

18 transcript s.     We cannot    agree to the accuracy       of those

19 transcript s.     Two , we don't know who is going to be

20 identify ing the voice s in those call s, which also is a

21 prerequisite     before    those call s can be introduced .

22 Put ting aside that -- those preliminary           matter s that I

23 think will have to be address ed by defense           counsel ,

24 Agent Sakala     cannot    get on the stand and authenticate

25 those transcript s or those voice s, because          he did not




                                                                Page      5
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 6 of 251



 1 prepare     those transcript s, nor has he done -- as he

 2 testifi ed in his direct        examinatio n, he listened      to the

 3 call s we introduced        four or five and some times      a half

 4 dozen time s or more before        finalizi ng the transcript s

 5 and maki ng voice identification s.           He also did any

 6 number     of other thing s, including       listening   to call s

 7 before     and after to get a sense for what was going on

 8 at the time .     So , that 's -- those are preliminary

 9 issue s.

10            More important ly , the call s that defense         counsel

11 intend     to introduce     are hearsay .    Each and every one of

12 these call s constitute        hearsay .    They are not

13 admissible     unless     they fall within    some exception     to

14 the hearsay     rule .     The government    was permitted   to play

15 portion s of call s or call s under the co conspirator s

16 exception     under the circumstance        of where it was a

17 defendant     that it was a statement        by that defendant

18 against     that defendant 's interest .        The government

19 was n't permitted        to play those call s only to the ex tent

20 that we could articulate         to the court that the call s

21 came in as admissible         hearsay .

22            There was an objection         made early on concern ing

23 some of the statement s made by non- co conspirator s in

24 those conversation s, and as we set forth in the case

25 law and as the court found , those non- co conspirator s'




                                                                  Page   6
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 7 of 251



 1 statement s were admissible       to put in context      either       a

 2 defendant 's statement , which would be an admission

 3 against     interest , or a co conspirator 's statement         under

 4 the exception     for co conspirator 's statement s.

 5           What we have here is not the government           going

 6 forward .     The defense   have indicated , for example , that

 7 they want to play the first eight call s.            Seven of the

 8 first eight call s are conversation s between          Paulette

 9 Martin    and Martha    Jean W est concern ing Ms. Mart in

10 wanting     Ms. West to send her various      clothing    in

11 different     brands   and different    size s to her house .

12           THE COURT:     Wait a minute .    Ms. Johnston , first ,

13 Detective     Sakala   has been permitted    to give opinion s as

14 to the mean ing of words use d in the conversation s which

15 the government     had the right to select       and play ed , and

16 in a number     of those conversation s the terminology           use d

17 in his opinion     to communicate      matter s pertain ing to        a

18 drug transaction       were , among other s, ticket s, shirt s,

19 T- shirt s, dress es , and so forth .      He gave his opinion

20 as to the mean ing of those conversation s that you

21 play ed based not on an examination         in isolation       of a

22 particular     call but on his examination       of all the call s

23 from which he was able to , in his -- with his

24 experience     and expertise   make a judgment      of what were

25 the mean ing of the words use d during        this particular




                                                                  Page       7
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 8 of 251



 1 conversation , and his opinion       was that in these

 2 particular    conversation s select ed a T-shirt         was n't a

 3 T-shirt    and so forth and so on .

 4           If I understand     correct ly , what the defense

 5 want s to do is it want s to examine        the ex pert 's opinion

 6 by asking    him did he take into account          what -- did you

 7 take into account      this conversation     which did in fact

 8 involve    the purchase    of a T-shirt    or a dress or ticket

 9 to a ball or whatever .

10           Now , if -- just ignore     that we're in a criminal

11 case .    In any case involving     an ex pert , an ex pert 's

12 opinion    is not bind ing upon a jury .         An ex pert 's

13 opinion    is only as good or bad as the fact s under lying

14 it , and an ex pert 's opinion     and the basis for it can be

15 challenge d by somebody      say ing , did you take into

16 account    this ?   Or did you take into account         that when

17 you gave an opinion       that this is green , not red .

18           Why is it not appropriate       in the context         of the

19 defense    theory , which is that these were legitimate

20 call s about ticket s and so forth , to show that there

21 in deed were conversation s?

22           MS. JOHNSTON:      Well , they cross -examine d Agent

23 Sakala , and they have no authority         --

24           THE COURT:      They did the cross-examination           with

25 the benefit    of the transcript s only of the ones that




                                                                    Page     8
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 9 of 251



 1 the government     select ed .

 2            MS. JOHNSTON:     Your Honor , that 's not the

 3 government 's fault .

 4            THE COURT:     Understood .     I'm going to slap them

 5 around .     Don't worry .

 6            MS. JOHNSTON:     I'm not interest ed in the court

 7 slap ping them around , quite frankly .

 8            THE COURT:     I'm being facetious .

 9            MS. JOHNSTON:     I'm interest ed in maki ng sure

10 that what is done here is what is , in the government 's

11 opinion , appropriate .       On cross -examination      they pull ed

12 out the log s and they asked him question s about any

13 number     of call s in those log s, and he admitte d on

14 cross- examination       that there were some call that is         had

15 do with legitimate        transactions     involving   clothe s.

16 Some call s that had to do with the entertain ment

17 business .     Although    he didn't     say it was legitimate

18 entertain ment , he said it was n't , because          in his

19 opinion     they use d drug proceeds .       So on

20 cross-examination       , they asked him question s concern ing

21 whether     or not there were in fact        call s that were

22 legitimate     and whether    or not     those call s affect ed his

23 opinion , and he said they did not .

24            THE COURT:     Well , put it this way .      The jury has

25 not , however , had the benefit          of see ing the record ing




                                                                   Page   9
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 10 of 251



 1 that he says was legitimate           and that he dis regard ed it

 2 for whatever     reason    he want ed to give in term s of it

 3 being a legitimate        versus    an illegitimate    transaction .

 4           MS. JOHNSTON:      They don't get them in -- these

 5 conversation s, what they want to introduce             them for is

 6 to say that there were engage d -- Ms. Martin             was

 7 engage d in a legitimate       business     of clothi ng sale s.

 8 That 's why they want to get them in .             I t's not to

 9 impeach    Agent Sakala .     Agent Sakala     has said there are

10 these call s and I have listened           to them and they

11 haven't    changed   my opinion .       They cross -examine d him

12 about that .     Now , in their case to introduce         call s that

13 Ms. Martin     could testify       -- Ms. Martin    can get on the

14 stand and say , I was engage d in legitimate            clothi ng

15 deal s with    Martha    Jean W est and that -- she has every

16 right to do that to refute           our interpretation , but she

17 does not have the right to just put call s before                 this

18 jury which are hearsay        call s.

19           There 's no foundation        for those call s, and they

20 would n't be    comi ng in for the purpose         of impeach ing

21 Agent Sakala , because       Agent Sakala     has already    said

22 that there were those call s but they did not affect                 his

23 opinion    in this area .     They could have play ed those

24 call s with him and asked him , well , did this call

25 affect    you or not ?     And he says no , it didn't       affect




                                                                   Page 10
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 11 of 251



 1 him .   But now to introduce         those call s in their case in

 2 chief is their opportunity           to present     evidence     not to

 3 impeach    a witness    on the basis of those call s --

 4            THE COURT:    Well , it seem s to me that if

 5 Sergeant    Sakala   is going to be further          examine d about

 6 these call s, it 's going to be in the nature              of

 7 additional    cross-examination       .

 8            MS. JOHNSTON:     We would move to exclude            it .

 9 They're    not entitle d to call him back .            Can they now

10 call Michael     Thurman   and say , now we heard the

11 government 's case , we want to ask for more question s.

12            Can they recall    Agent Eveler        after we 've

13 finished    our case and they put on some defense

14 witness es and recall      him ?     That 's what --

15            THE COURT:    I don't agree that 's necessarily                  the

16 case , but let me ask you this .              Let 's suppose    that

17 Sergeant    Sakala   testifi ed that call 10 , referring               to

18 ticket s, was in his judgment              a call involving     the sale

19 of drug s -- Mr. Mitchell          has .     Return ed welcome    back --

20 and that that 's the only call in which ticket s are

21 allegedly    use d as a proxy for the sale of drug s, but

22 there 's ten other call s involving             sale s of ticket s to a

23 Broad way show -- ten more .          His opinion      is that this

24 one call was about the sale of drug s, but there 's ten

25 other call s involving       ticket s to a legitimate           Broad way




                                                                     Page 11
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 12 of 251



 1 show .

 2           Why is it not proper , on cross-examination          , for

 3 the government     to play those -- for the defense          to play

 4 those tape s and to test the strength of hi          s opinion      on

 5 that ?

 6           MS. JOHNSTON:     They could have done that in

 7 cross-examination       and in fact    did it in

 8 cross-examination       and using the log s --

 9           THE COURT:     I'm very un happy that the transcript

10 was n't prepare d a long time ago .        I'm not happy about

11 that .

12           MS. JOHNSTON:     The problem    is , it 's not comi ng

13 in now to attack       his credibility    because   they

14 question ed him on cross-examination          and he admitted

15 there were other call s.        Now , to let them play these

16 call s in their case , it will be received          as the jury --

17 will mis lead the jury .      The jury is not going to be

18 able to differentiate       that the    .3 week s now after Agent

19 Sakala 's finish ed day s of cross-examination         , that what

20 they're    day do ing now is just re cross ing him again .

21 They had an opportunity       then .    They in fact    went into

22 those issue s using the log s, which was a choice            they

23 made instead    of play ing the call s which they could have

24 done .    And now to say , well , okay .

25           In your case , you can recall       this ex pert and you




                                                                Page 12
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 13 of 251



 1 can cross -examine     him but not to impeach       him , mind you ,

 2 because    he 's already    acknowledge d those call s existed .

 3 We take it out of the context          of him giving      -- look ing

 4 at it mere ly as impeachment .

 5           If he had given a prior statement         and they have

 6 cross -examined    him and he had admitted        he made a prior

 7 statement    in the grand jury that this call mean s this ,

 8 they would n't be    allow ed to admit his grand jury

 9 testimony , and that 's what they're        do ing here is

10 seek ing to introduce       call s to impeach    his testimony

11 when he has already        -- they 've asked him -- on

12 cross-examination     they asked him about whether           or not

13 there were other call s.        He said yes , there were other

14 call s but those other call s did not affect           his opinion

15 about these call s.        They're   not entitle d then , in their

16 case , to introduce     those call s.

17           It 's the same as any other kind of impeachment .

18 You're    not allow ed to introduce      that as impeachment .

19 It 's not comi ng in for any other reason          at this point .

20 But it 's even beyond       that .   The call s they're     talk ing

21 about here are not call s in relation           to when Agent

22 Sakala    made that statement .       Many of these call s are

23 with people    that Agent Sakala       didn't   testify    about any

24 of those conversation s, and there 's no foundation             for

25 them .    You can't just get the call s in without           lay ing a




                                                                 Page 13
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 14 of 251



 1 proper   foundation .       They're     replete   with hearsay .

 2 Somebody    has to lay that foundation , and Agent Sakala

 3 is not the person         to do it .

 4            THE COURT:      All right .     Let me hear from the

 5 defense .    Mr. Montemarano ?          Mr. Ward , you 've been

 6 stand ing there .       Do you want to go first ?

 7            MR. WARD:      I have a lot to say , Your Honor ,

 8 which I'm sure come s as a surprise .              Let me say this ,

 9 first of all .      I was prohibited        from using the -- not

10 the transcript s but the log s with respect              to a

11 telephone    call -- a particular          telephone    call when I

12 went to cross -examine        Mr. Sakala     -- Detective       Sakala    --

13 Sergeant    Sakala .      I'm sorry .

14            One particular     call that I'm concerned           about is

15 the call in which he opine d that when Ms. Martin                  said

16 something    about my girl having          -- my client    having    a

17 hammer   that she was going to cap somebody              or whatever

18 the statement     was .     He opine d that that meant she was

19 carry ing a gun .

20            The call that I'm referring            to specifically    is a

21 call by Ms. Martin         at a later time say ing to somebody ,

22 I was really     kidding .     I was joki ng when I jokingly

23 said that she was carry ing a gun .

24            MS. JOHNSTON:      Your Honor , I don't       mean to

25 interrupt    Mr. Ward --




                                                                     Page 14
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 15 of 251



 1            MR. WARD:     I have    not finish ed yet .

 2            MS. JOHNSTON:     We have --

 3            MR. WARD:     I have    not finish ed yet .

 4            THE COURT:     Ms. Johnston     --

 5            MS. JOHNSTON:     I would like to know the call

 6 number .

 7            THE COURT:     I can tell you right now we're not

 8 going to play every single           call unless    I have   some

 9 understand ing , call by call , as to how it 's a proper

10 call to play .

11            MR. WARD:     Well , I think it 's --

12            THE COURT:     You want to play a call that would

13 place in context        the opinion    that you say is wrong

14 about the firearm ; correct ?

15            MR. WARD:     Correct .

16            THE COURT:     That 's one of these call s.

17            MR. WARD:     Now , I don't have     a transcript , and I

18 don't intend     to use a transcript , and in my opinion , my

19 view is I don't need a transcript .             The transcript      is

20 only an aid to the jury and is not evidence               of itself .

21            THE COURT:     Is the call you're       referring   to

22 transcribe d or not ?

23            MR. WARD:     I didn't     transcribe   it .

24            THE COURT:     I have     a big transcript     here that

25 Mr. McKnett     --




                                                                  Page 15
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 16 of 251



 1          MR. WARD:     I don't know .       If it is transcribe d

 2 by the government , we will let them know , but it 's call

 3 2284 .

 4          THE COURT:     All right .       Well , I think I

 5 understand    your position .

 6          Let me get anybody        else , because     we 've got to

 7 get the jury going here .

 8          MR. WARD:     That 's all I want to do .

 9          THE COURT:     I understand       what your position      is .

10          MS. JOHNSTON:         Your Honor , that 's a call -- call

11 2284 is not in the 400 page s that have been submitted .

12          MR. WARD:     Okay .

13          THE COURT:     What was the call number ?            2284, you

14 said ?

15          MR. WARD:     Yes .     I think it 's an A line but I 'm

16 not sure .

17          MR. MONTEMARANO :        Initial ly , Your Honor , I

18 speak , Detective     -- Sergeant       Sakala    is in the

19 courtroom , and I would ask that he be excluded , at

20 least for my remark s.         I have    no question    that he may

21 well have been present         and discuss ed what Ms.

22 Johnston 's view is , but I think it would be better              if

23 he were to leave while the defense               --

24          THE COURT:     All right .       Sergeant    Sakala , you're

25 invite d to get a cup of coffee .




                                                                  Page 16
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 17 of 251



 1            MR. MONTEMARANO :      Thank you , Your Honor .

 2            Ms. Johnston    provides   the court a heat ed

 3 discussion     of why she believe s these call s are not

 4 admissible , but at no time does she address              with

 5 specificity      the claim s made by the defense         in its

 6 response     or the very apt analogy      the court use d

 7 regard ing one call taken in isolation            when there are

 8 perhaps    ten other call s.

 9            THE COURT:     I don't know   what it is , but , yeah .

10            MR. MONTEMARANO :      That 's what Your Honor use d

11 for an an alogy or for a descriptive           inquiry    is exact ly

12 what we have .       We have Sergeant    Sakala    repeat edly

13 talk ing about ticket s mean ing drug s, and we have dozen s

14 and score s of call s discuss ing show s and a list of

15 entertainers      that is sort of a who 's who in urban

16 American     Hip Hop music and with a small mixture              of Soul

17 and Fun k.

18            We have numerous      call s about clothi ng that

19 Detective     Sakala    has determine d, and all kinds of

20 clothi ng , not just one particular          item sock s, sock s,

21 sock , sock s.      Every kind of clothi ng .      Your Honor has

22 already    spoken    to that .   And we have dozen s and score s

23 of additional       call s discuss ing the    clothi ng , discuss ing

24 size s.

25            Let me speak with specificity        to the problem s




                                                                    Page 17
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 18 of 251



 1 with the government 's position .          Initial ly , the

 2 government      claim s that we have problem s with

 3 identification       of call er s.   Well , that would not be

 4 true if we were to call a participant             in the call .

 5 Marsha Jean West       is under subpoena .       Gilbert   Williams

 6 is under subpoena .       It is my understand ing , although

 7 not I do not wish to speak for Mr. McKnett , but so we

 8 can put all the argument s related          to each other in one

 9 easily   discern ed and understood        area, it   is my

10 understand ing that Ms. Ali intends            to take the stand

11 and speak to the call s in which she participate s.               That

12 is the bulk of these call s.          There will be

13 authentication by a participant           from the stand .

14 Sergeant    Sakala    is plain ly able to do so .

15            While the government      perhaps    did not perceive       it

16 as such when we were cross- examining            the good sergeant ,

17 we nail ed him down and foreclose d his flight             from the

18 position    of , I know who these people         are and I listened

19 to them repeat edly .       They cannot    stand up here now and

20 say he 's all of a sudden       suffered    a sudden    case of

21 am nesia and does n't know who these people            are and

22 does n't know these call s which he 's listened            to

23 repeat edly .     Not to put too fine a point of on it , but

24 the defense      in this case -- not just the seven of us

25 but all of us , and I will speak to this with more




                                                                   Page 18
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 19 of 251



 1 authority     than anyone    else because   I was discovery

 2 counsel     and I've represent ed the     lead defendant       for

 3 over two year s.

 4            The defense   counsel   has been made aware

 5 pain fully awa re by the court and Ms. Scherer           about

 6 expense s being incurred       in this case , and for that

 7 reason     we have limited    thing s that we might have want ed

 8 to do .     This matter , for the first time in my

 9 experience , which goes back before         this courthouse           was

10 opened , was obligate d to budget       a non- capitol       case .       As

11 a result , we did not prepare        transcript s because          that

12 would have result ed in our tran scribing          twice as many

13 call s as the government       transcribe d.    They provided          to

14 us a mass of transcribe d call s, one s that they might

15 use .     These we've had on CD -- I burn ed out a laser

16 printer     print ing a portion    of those , A.    B, then we

17 received     the great er mass of the ones they intend ed to

18 call .     It was only at that point that we were able to

19 discern     which ones would be of interest        to us .

20            We start ed to do that, and then narrow ed that

21 analysis     to the specific    call s which we had transcribe d

22 which , un fortunate ly , run seven dozen and 400-some

23 page s.     We could have will y-nil ly transcribe d

24 everything .     It would have not been reasonable            or

25 appropriate     for us to do so , and we therefore           under took




                                                                  Page 19
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 20 of 251



 1 to get the specific ones        transcribe d.    I can tell you

 2 as an officer      of the court -- I'm going to speak to Mr.

 3 McKnett , because      Harry and I have talk ed about this .

 4 There are , I would say , in the mass of transcript s you

 5 received , perhaps      a quarter   of the call s we could use .

 6           THE COURT:     All right .     Let me say this , Mr.

 7 Montemarano .      I do not intent to get --

 8           MR. MARTIN:     Your Honor , may I say something

 9 brief ly?     Your Honor , I'm nowhere      near to being done .

10           THE COURT:     Let me say what I've       said before

11 occasional ly like this :       Please    don't snatch   defeat

12 from the jaw s of victory .

13           MR. MONTEMARANO :     Fair enough .

14           THE COURT:     I'm try ing to    get this resolve d.

15           MR. MONTEMARANO :     I'll lea ve all of that alone .

16 Bottom    line :   This is 703.     He stood up here and said

17 -- and maybe he should n't have , and maybe Ms. Johnston

18 took him to the wood shed after he did , but he said , "I

19 KNOW WHAT THESE MEAN TO A MORAL CERTAINTY ."             Ms.

20 Dun lap , you can put that in capital s like in E- mail

21 shout , because     I just raise d my voice .      I'm not yell ing

22 at Your Honor or Ms. Johnston          or Detective    Sakala .    He

23 had no question .       He has led with his chin , with all

24 due respect , Your Honor .        It is incumbent     upon us to

25 attempt     to demonstrate   the error     of his opinion .




                                                                  Page 20
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 21 of 251



 1          THE COURT:      All right .

 2          MR. MCKNETT :     Your Honor ?

 3          THE COURT:      Yes .

 4          MR. MCKNETT :     I'm not going to argue .        I just

 5 want to make a reference         to the rule , and I would -- if

 6 I had argue d this motion , I would have referred              to --

 7 jus t for the record , I'm look ing specifically          at Rule

 8 106 which says that when a regular          or court statement ,

 9 a party -- any adverse       party require     the introduction

10 at that time of any other part or any other writing                 or

11 record ed statement     which might in fairness        to be

12 considered     contemporaneous ly with it .

13          Now , I then look at the advisory         committee     note s

14 from 1972    which state the rule does not in any way

15 circumscribe     the right of the      adversary   to develop     the

16 matter   on cross-examination       or as part of his own case .

17 That 's exact ly what we're do ing .

18          THE COURT:      All right .

19          MR. MARTIN:      Your Honor , I will be as brief , if

20 not brief er , than Mr. McKnett , please .         It 's an

21 important    point .   First , I'd like to correct       the

22 reading .    It does n't say " might ."     It says , which ought

23 in fairness     to be considered     contemporaneous ly , but

24 that 's not the point I want to make .          The point is ,

25 when they first start ed play ing these tape s, I




                                                                  Page 21
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 22 of 251



 1 approach ed the bench and I asked in the entire

 2 conversation     -- I don't know     which call it was be ing

 3 play ed , but we had a brief conference         at the bench.

 4 And what I recall      was , Mr. Martin , you can have this

 5 tape play ed in your case in chief .          I belie ve either

 6 the court said that or --

 7          THE COURT:     I don't recall     what I said .     It was

 8 either   that or on cross .      In other words , I was not

 9 going to require      the government     to play it during      its

10 case -- I mean during       its direct    examination .

11          MR. MARTIN:     In any event , I was left with the

12 impression     we would be allow ed to do that in our case

13 in chief , and that 's where we are .

14          THE COURT:     Let me tell you what I'm going to

15 do .   We're going to get this jury in here , and I'm

16 going to tell you what I'm going to do with regard                  to

17 the government 's motion .       I'm going to grant it in part

18 and deny it in part .       I belie ve that the defense       should

19 be permitted     to use these -- some of thes e calls;          I

20 can not say all of these , but some of these record ings

21 in two major area s.      One is for completeness .

22          There are a number      of case s, for example , where

23 record ings were excerpt s and the defense          has contend ed

24 that the rest of the call was pertinent            to put ting it

25 in context     and maki ng it complete .      I don't know    how




                                                                Page 22
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 23 of 251



 1 many case s there are like that that the defense                 wish es

 2 to use because     I have not read this huge pile of

 3 transcript s and don't know what's               in them .   All right ?

 4           The second       thing is that the detective          has --

 5 we're demoting     him .     Sergeant     Sakala    has given

 6 opinion s, and those opinion s were based upon his

 7 reading    of all of the record ings .            It is obvious ly fair

 8 game for the defense         to inquire     of this witness      about

 9 other circumstance s in which language               which he says is

10 code d word for drug transactions            is not in fact      code d

11 word for drug transactions             because    of A,B, C.

12           I don't know       what's    in the record ings , but I do

13 think it 's fair to have the detective               -- the sergeant

14 ex plain his not -- reject ing as part of his opinion

15 what is contain ed in the record ing that contain s

16 information    which is consistent          with the defense 's

17 theory    that this isn't a drug transaction , that it 's a

18 sale of ticket s to a show or sale of a dress or T-shirt

19 or whatever    the case may be .

20           Now , I do think that this should             be part of

21 further    cross-examination          of him as part of the

22 government 's case , so I will permit              you to have him

23 recall ed during    the government 's case for additional

24 cross-examination      .    I'm not say ing that you can play

25 every single    one of these record ings in this entire




                                                                    Page 23
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 24 of 251



 1 pile .

 2          Now , with regard     to the transcript s.        I think

 3 the transcript s come before        the jury the same way that

 4 the government 's transcript s come before             the jury .

 5 It 's the defense 's view of what was said in these

 6 conversation s.     The evidence     is the record ing itself .

 7 This is an aid to the jury .         If the jury think s it 's

 8 the wrong people     that have been identifi ed and that the

 9 words are all wrong and that it was n't typed up

10 correct ly , it 's the jury 's understand ing of what was

11 said .

12          If Sergeant    Sakala    cannot    identify    the person s

13 on the phone call , I think you're           stuck with that .         So ,

14 -- but I think we need to get moving .            So if you're

15 going to recall     Sergeant     Sakala    to go through    some of

16 these record ings , it 's time to do it .

17          MS. JOHNSTON:      Your Honor , I think that what the

18 court needs to do is go through            these -- I don't want

19 to have end less bench conference s in front of this jury

20 over what call s they can or cannot           play .    Certain ly ,

21 it 's very easy to see which call s that the court where

22 the government     play ed excerpt s and they want to play

23 the rest of the call s.        I don't know     that the

24 government    has a problem      with that but , for example ,

25 seven out of eight of the first call s are call s between




                                                                  Page 24
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 25 of 251



 1 Paulette      Martin    and a Martha    Jean W est .     None of those

 2 call s have anything         -- first of all , Martha       Jean West

 3 is not a co conspirator .         It 's Ms. Martin .       Those call s

 4 are not around         any of the call s that the government

 5 play ed .

 6             THE COURT:     But they are call s that Sergeant

 7 Sakala      considered    in reach ing his opinion .

 8             MS. JOHNSTON:      Sergeant    Sakala    testifi ed that he

 9 listen ed to every call that was intercept ed at least

10 once and that he form ed his opinion            based upon

11 everything      that he had , but that -- and he 's already

12 told them in cross that these call s did not change                      his

13 opinion      about the    call s that were play ed .

14             THE COURT:     That was a statement         he made in the

15 abstract      without    an actual   call being place d in front

16 of him .      I don't know     what's   in these call s, but I'll

17 tell you this .         I think -- so we can get this case

18 across the finish         line in a reasonable         and fair manner

19 for all concerned , I think you need to conclude                   the

20 examination      of the pend ing witness .          I can let you rest

21 if you want to , subject         to him being recall ed for

22 further      cross-examination    , so we have a few day s to

23 get ready for that add itional            cross-examination    .

24             MS. JOHNSTON:      I'm just tell ing the court this ,

25 that it will be much more efficient             for the court to go




                                                                      Page 25
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 26 of 251



 1 through    these call s and decide     which call s they can ask

 2 than to have the government        object ing every time .

 3           THE COURT:    I can try to do that .        We can just

 4 bring him back in here for additional           cross-examination

 5 next week .

 6           MS. JOHNSTON:     I would indicate      to the court , if

 7 the court allow s them to play these call s and the

 8 government    to play a whole lot more call s, too , to show

 9 all the call s that we didn't        play in our case in term s

10 of the    call s where they -- Detective       Sakala   had the

11 opinion    that they were discuss ing drug s and that

12 clothe s did mean drug s, that ticket s did mean drug s --

13 because    we didn't   play all of those calls in our direct

14 examination .     We tri ed to be conservative .        But if

15 that 's the route we're going to go down , then we will

16 on re direct , after they do cross , play those call s as

17 well .

18           THE COURT:    Well , what would be help ful to me ,

19 because    I don't want to have end less bench conference s

20 on these thing s, is for the defense          to give me , you

21 know , two or three sentence s as to why each record ing

22 you want to play is pertinent         for the purpose s that I

23 indicated .     I'll look at it , I'll give you a heads -up

24 in advance , and we can move this thing along .             I think

25 that 's the easiest     thing to do is let the government




                                                                Page 26
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 27 of 251



 1 rest its case in all respect s, subject           to the

 2 understand ing that Sergeant         Sakala   will be recall ed for

 3 further    cross-examination       with respect   to these

 4 record ings , after I've had a chance          to look at it .

 5            MR. MONTEMARANO :    That 's perfectly     fine , Your

 6 Honor .    I would advise     the court of one small thing

 7 about the use of these transcript s.            We prepared       these .

 8 We were intend ing not to use all of them , because                we

 9 also understood      the court might not wish to have us use

10 all of them .     Some may be repetitive        and some may be

11 appropriately     objectionable      and excluded .    We did not

12 under take to create       the 30 -- t hat 's 3-0 -- copies         of a

13 transcript    book which would have been necessary               to use

14 them whenever     they're    to be use d.     So , to that ex tent ,

15 we will provide      the court with our view of the call s so

16 the court can rule so we can then pull the ones which

17 are not appropriate        and get them reproduced .

18            THE COURT:   We will schedule       that for Sergeant

19 Sakala    sometime   next week .

20            MS. JOHNSTON:     Your Honor , can we maybe get to

21 him this week , if we don't run out of time ?

22            THE COURT:   If we can .     I'm not ruling      it out ,

23 but I would like , for the sake of efficiency              and

24 fairness    to both sides , to have some two - or three -

25 sentence    statement   as to why each record ing the defense




                                                                    Page 27
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 28 of 251



 1 believe s come s within      the view s I've ex press ed as to

 2 how these can be use d as to either            A, completeness , or

 3 B, necessary     to -- to challenge      the grounds    fo r his

 4 opinion , because       it 's in consistent    with his opinion .

 5            MR. MCKNETT :     Your Honor , I jus t ask the court

 6 for clarification .        It 's possible     as Mr. Montemarano

 7 indicated     that my client     might take the stand .        It 's

 8 also possible     Mr. Montemarano      will be call ing other

 9 people     who may have    been participant s in these

10 conversation s.     It 's my understand ing the court 's

11 ruling     appli es only to the use of the        conversation s and

12 transcript s in as far as        they relate     to Sergeant

13 Sakala .     What I'm refer ring to     specific ally is     the in

14 prohibition     18 U. S. C. 25 17 (3) which I referred       to in a

15 letter     I sent to the court which allow s a person            who is

16 on -- who is intercept ed to testify            about the content s

17 of the intercept ed conversation s.            I want to be sure

18 that the court has n't limited         that --

19            THE COURT:      I took a look at that .

20            MS. JOHNSTON:      I think that statute     only mean s

21 that it 's not a violation        of the wiretap     law .   It has

22 nothing     to do with the rule s of evidence .        We , of

23 course , Your Honor , will ask the court to give a

24 limiting     instruction when     the court allow s these call s

25 to be play ed and that they're         only to be introduced           --




                                                                  Page 28
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 29 of 251



 1            THE COURT:      If you can help me out -- can              you

 2 give me a draft of the            limiting     instruction ?    I will be

 3 glad to consider        it .

 4            MR. MCKNETT :        The way I read that is that anyone

 5 who has received        information      about the wiretap       has

 6 received    the information         legal ly which we received         by

 7 way of Sergeant       Sakala      and can then dis close the

 8 content s of the communication               or such derivative      while

 9 giving    testimony     under oath in any proceed ing to the

10 court .

11            THE COURT:      Does n't that simply          mean your

12 client , if she take s the stand , can say , this is what I

13 meant when I talk ed to Ms. Martin               on the phone call ?

14            MR. MCKNETT :        Exact ly .    I wanted    to make sure

15 the court 's ruling       did not limit --

16            THE COURT:      No .    If she want s to get up there

17 and say the T- shirt s were T- shirt s, that 's fine .

18            MR. MCKNETT :        Your Honor , that would occur also

19 if Mr. Montemarano        want ed to call Martha          Jean West , who

20 is also in one of the           transcript s.

21            THE COURT:      Yes .

22            MR. MARTIN:         All I'm asking     is for five minute s

23 to call my investigator            if it sounds     like the

24 government     is not going to rest today , because              I've got

25 a bunch of people        who I told to be here no later than




                                                                        Page 29
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 30 of 251



 1 noon .

 2           MS. GREENBERG:         Your Honor , we still have not

 3 gotten    Giglio    on those witness es .     We found out about

 4 the witness es yesterday         and request ed that .

 5           MR. MARTIN:      That is part ly correct .      I gave

 6 them my witness       list some time ago , Your Honor .       I

 7 didn't have    date s of birth and Social Security          number s,

 8 and I still don't .        I only have it on one person .          I

 9 guess what I       could do then is have those people        come in

10 and at the time they come in , you can get the date s of

11 birth .    But the other problem        is , Your Honor , then

12 they 'd have to be paid for having           come here today .         As

13 long as    the court does n't have a problem        with that , I

14 don't see why --

15           THE COURT:      Well , I believe    that we're in the

16 home stretch       on Detective    Eveler ; correct ?

17           MR. MARTIN:      I think so .

18           THE COURT:      And the government      would be able to

19 rest , subject      to my ruling    that Sakala   can be call ed

20 back for further       cross .    The defense   should   be ready to

21 roll with its witness es .

22           MR. MARTIN:      All right .     Well , then they will be

23 here at noon , and they can get the 411 on them .

24           THE COURT:      Mr. Sussman.

25           MR. SUSSMAN :     I don't have     a dog in this fight




                                                                Page 30
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 31 of 251



 1 or whatever     the expression    is , but I have     a procedural

 2 question .     If the government      were to rest , then the

 3 state of the record       would be close d at that point and

 4 whatever     motion s we have would be heard .        The procedure

 5 that the court 's suggest ing is the government               rest s and

 6 then we keep going in the government 's case .                I would

 7 suggest , since Detective       Sakala   -- Sergeant    Sakala       will

 8 clear ly be an adverse      witness    that we just do it as a

 9 defense    matter   so that we do close the record            at some

10 point , so we're not really       shoot ing at a moving         target

11 here for --

12            THE COURT:    I think -- to me , the mechanism

13 through    which you get to ask these kinds of question s

14 of Sergeant     Sakala   is on cross-examination      , testing       the

15 opinion s he 's given .     I think that really       is in the

16 nature    of cross-examination    , not call ing him as your

17 own witness , because      I think you then run headlong             into

18 a bunch of other objections        that may be more legitimate

19 if it 's call ed as a direct      witness   by the defense .

20            Let me read to you a note I receive d from            a

21 juror , because     we really   need to move along , folk s.

22 This is to Judge Titus from Juror 6.             "I respect fully

23 submit    this request    for your consideration .       I have a

24 non- refundable     reservation   for a family     vacation

25 start ing on August      19 through    August   26 , 2006 .     I did




                                                                   Page 31
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 32 of 251



 1 not raise this issue on the            pre trial questionnaire            or

 2 during    the voir dire      question    since the case was

 3 indicated     or project ed to end a week before              August      19 .

 4 However , it now appear s like ly that this case will --

 5 trial will still be on going on August              19 .     I am

 6 therefore     request ing that I be excused          as an alternate

 7 juror if the trial continue s past August                  18 , 2006 ."

 8            Similar ly , in order      to avoid this scheduling

 9 conflict , I request        that every effort       be made to

10 maximize     the jury 's time in the courtroom              hear ing

11 testimony , including        sitting    from 9:00 to 5:00           each day

12 and not work ing short en ed Friday            hour s, short er break s

13 etcetera .     I understand        that many trial participant s,

14 jury member s, counsel , and Your Honor             will be

15 in convenience d by the       ex tend ed length .      However , in

16 light of the state d situation , I make the above request

17 and I hope you take into consideration my request at

18 the appropriate time.

19            Then there 's two footnote s.

20            Footnote    1.   The reservations were           made in

21 February     this year , long       before    my knowledge     of this

22 trial .    Second     footnote :     Also , my daughter       start s back

23 to school     -- second     grade -- on August       29 .     So in

24 addition     to the loss of money consider          ation, the family

25 vacation cannot be rescheduled               later than August 29




                                                                        Page 32
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 33 of 251



 1 through    26 due to school     conversation       consideration s.

 2           Well , I think she 's -- he or she is too

 3 pessimistic .     I have already      told the -- I thought           I

 4 told the jurors     and the parti es that I have

 5 non- refundable    ticket s to fly out of here on Saturday ,

 6 August    12 , and there 's no way this trial can continue

 7 during    that period    of time .    If we don't finish           this

 8 trial by Friday , August      11 , it 's going to carry over

 9 for two week s.     That 's the only thing I can do .

10           MS. JOHNSTON:     Your Honor , can we -- I would

11 join that juror in asking        the court to sit full day s

12 every day , including      Friday .

13           THE COURT:     I'm going to do exact ly that , and

14 they're    going to say, what is that judge do ing ?                It 's

15 10 :15 and we're not in the courtroom .             I want you to

16 know I'm going to tell the jury that as far as                 I can

17 tell , we still are in a reasonable             likelihood    of

18 concluding    this case by August       11 .     If we're not going

19 to finish    by August    11 , we will not continue          the

20 follow ing week , period .

21           MS. GREENBERG:     Judge , just to let you know .

22 We've got additional       witness es from       Mr. Martin    today

23 and we've gotten       a new list of from Mr. Ward , witness es

24 that have been in the courtroom .              So , I share that

25 juror 's pessimism .




                                                                      Page 33
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 34 of 251



 1            THE COURT:     Well , all I can tell you is we are

 2 not going to sit the two week s after Friday , august              11

 3 under any circumstance s.        We can't do it .

 4            MR. MONTEMARANO :    Your Honor , unless     the

 5 government    plan s to put on two week s of rebuttal , I

 6 don't see any way we won't be done by the 11 th .

 7            THE COURT:     I believe   you , but we're not going

 8 to get there unless        we get the jury in here.

 9            MR. MONTEMARANO :    Ms. Johnston     just mention ed

10 it, so to the question        of for feiture.     It is my

11 understand ing that almost       all of the defendant s are

12 prepared    to have the court , as opposed        to the jury ,

13 resolve    the issue as to the for feiture,        and I will --

14 as lead counsel , it is incumbent           upon me to perhaps

15 pass out thing s and be responsible           for thing s like the

16 witness    list for the next day and all that .          I will

17 assure the court        that we will have that question

18 answered    by the time we return         from lunch today which

19 will , by itself , narrow      thing s.

20            THE COURT:     This juror does n't know about the

21 possibility     of a second    consideration     of forfeiture ,

22 and I would n't want to tell this juror that because

23 this juror would say , can we get out of here by

24 Halloween .     So , we're not going to tell this juror

25 this .




                                                                 Page 34
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 35 of 251



 1            I'm going to bring the jury in now .           Let 's get

 2 moving .     I am going to continue      to examine      my calendar

 3 about -- I'm going to tell the jury we're going to

 4 start at 9:30 on Friday , although          we may be a couple        of

 5 minute s late because       of the sentenci ng that I have .

 6            MR. HALL:     Your Honor , since we were in the

 7 process     of do ing my cross-examination     , can I get the

 8 easel back and get set up where I was yesterday ?

 9            THE COURT:     Yes .

10                          (Witness   resume s the stand .)

11                          (Jury return s at 10 :22 a.m. )

12            THE COURT:     Good morn ing , ladies and gentlemen         .

13 I want ed to give you a couple         of scheduling      update s.

14 I'm planning       on start ing on Friday    at 9:30 .     I have a

15 sentenci ng at 9:00 that should         be a half hour and , you

16 know , plus or minus a few minute s I should             be able to

17 start at 9:30 .

18            I will make a decision      late r, depend ing on what

19 kind of progress        we make today as to whether we do a

20 long day or short day that week.            As long as we have a

21 lunch break, that's when we cut that time off.

22            I have receive d a note from one of you

23 ex press ing concern , which I can see why you might be

24 ex press ing concern , that we might not be finish ed by

25 August     11 .   I have every intention     that this case will




                                                                 Page 35
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 36 of 251



 1 be finish ed by August 11 , but anybody         look ing at this

 2 case is , you know , right to have concern          about how are

 3 we do ing on the schedule .        I'm reasonably    comfortable

 4 we're on schedule       and will finish , but I want to assure

 5 whoever   is concerned     about sitting    after August     11 that

 6 there will be no judge here , so we will not be sitting

 7 the week of August       14 or the week of August       21 because

 8 I'm going to be out of town .         So , if we don't finish       by

 9 Friday , August    11 , we'll be comi ng back two week s

10 later .   I am pray ing that that will not be the case .

11 So , we will try to move thing s along as quick as I can

12           The problem     that I have is that this is not my

13 only case , and I have stack s of other stuff to work on

14 and sentencings       and guilty   plea s and motion s in civil

15 case s to hear .      So , I can't sit five day s a week unless

16 I throw a bunch of thing s off my calendar .            I will

17 start throw ing thing s off my calendar         if I get

18 concerned    we're not going to make it .        So , I am do ing

19 everything    I can to keep this battleship         to its port on

20 time , and I will keep       you posted   as best I can .

21           All right , you may proceed .

22           MR. HALL:      Thank you , Your Honor .

23                    CONTINUED CROSS-EXAMINATION

24           BY MR. HALL:

25 Q.        Detective    Eveler , if we can go back up to the




                                                                Page 36
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 37 of 251



1 chart and we'll pick up where we were yesterday .

2             I put CH-4 up here which is the contact           chart ;

3 is that correct ?

4 A.          That 's correct .

5 Q.          All right .    I want ed to ask you    a couple    of

6 question s about that .         T he telephone   contact s that are

7 contain ed on this chart .         Am I correct    in my

8 understand ing that those come from pin register s?

9 A.          Pin register s.     Some could be air time , but the

10 majority     are pin records .

11 Q.         The majority    are pin register s, but some could

12 be air time records ?

13 A.         Could be .

14 Q.         Now , I want to ask you -- the time periods             for

15 each individual      on this chart appear       to vary ; is that

16 correct ?

17 A.         That 's correct .

18 Q.         All right .    Specifically , in reference      to my

19 client , Reece W hiti ng , the contact s begin with the date

20 of 8/12 -01; correct ?

21 A.         Yes .

22 Q.         And on 5-28 -04; right ?

23 A.         Yes .

24 Q.         Okay .   That 's about -- approximately , a 33 -month

25 period , would that be correct ?




                                                                Page 37
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 38 of 251



 1 A.        Approximately .

 2 Q.        Approximately ?     Okay .     And during   that time

 3 period , that would be -- your records           show that there

 4 were 351 contact s; is that correct ?

 5 A.        Yes .

 6 Q.        All right .     And I'm not going     to ask you to do

 7 the math , but that would be about ten and a half per

 8 month , would it not ?

 9 A.        Yes .

10 Q.        All right .     Now , let me ask you this .       When you

11 -- when the term "contact " is use d on this particular

12 chart , "contact " could mean a conversation ; correct ?

13 A.        Yes .

14 Q.        Okay .    It could also mean leavi ng a message         on

15 an answering       machine ; correct ?

16 A.        Correct .

17 Q.        It could mean dial ling a number        and not

18 receiving    any answer , just hang ing up and let ting it

19 ring a couple       of time s and then hang ing up ; is that

20 correct ?

21 A.        That 's correct .

22 Q.        So it could mean a variety         of thing s; is that

23 right ?

24 A.        Yes .

25 Q.        All right .     Detective , you can go back to the




                                                                Page 38
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 39 of 251



 1 witness   stand for the rest of your cross , and I'll move

 2 this out of the jury 's way .

 3           Detective , let me ask you this in reference

 4 specifically       to Mr. Whiti ng .     During   the time period      of

 5 this investigation        which you were involve d in , for

 6 several   year s there was never any seizure           of any drug s

 7 from my client ; is that correct ?

 8 A.        That 's correct .

 9 Q.        Okay .    And there was never any type of

10 controlled     buy done for my client        was there ?

11 A.        That 's correct .

12 Q.        Okay .    The wiretap     of the telephone     was not on

13 his telephone .       He was simply      pick ed up on call s he

14 made to Ms. Martin ; is that right ?

15 A.        Or call s that she made to him .

16 Q.        Correct .     Okay .    And his phone was never subject

17 of a DNR was it ?

18 A.        Not by us .

19 Q.        Okay .    All right .     Now , let me ask you this ,

20 sir .   Your investigation        for the most part came to an

21 end on June 1st 2004 ; is that correct ?

22 A.        On the 2nd , actual ly .       June 1st and 2nd -- it

23 was a two -day --

24 Q.        On June 1st and 2nd       -- it was during       that time

25 period , the 1st and the 2nd           in which search     warrant s




                                                                  Page 39
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 40 of 251



 1 were executed ; correct ?

 2 A.         Correct .

 3 Q.         And there were arrest s made , sometimes         of people

 4 at the search     warrant s, sometimes      people    that there

 5 were arrest     warrant s for ; is that right ?

 6 A.         That 's correct .

 7 Q.         And my client     was arrested   during    that June

 8 1st/ June 2nd time period ; is that correct ?

 9 A.         That 's correct .

10 Q.         In executing    the -- well , let me ask you this .

11 I believe     you said in your direct       testimony    -- this

12 would be back on the 19th , last week , if you remember

13 back to your testimony         that day , that there were 26

14 search   warrant s done on the June 1st/June 2nd           time

15 period ; is that right ?

16 A.         Approximately .

17 Q.         In relation    to 3520 Essex Road in Baltimore , Mr.

18 Whiti ng 's address .      There was no search       warrant

19 executed    at his address , was there ?

20 A.         That 's correct .

21 Q.         There was just an arrest      made ; correct ?

22 A.         That 's correct .

23            MR. HALL:     That 's all the question s I have of

24 this witness , Your Honor .        Thank you .

25            THE COURT:     All right .




                                                                  Page 40
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 41 of 251



 1                         CROSS-EXAMINATION

 2          BY MR. MITCHELL:

 3 Q.       Agent Eveler , good morn ing .        Tim othy Mitchell       on

 4 behalf   of Mr. Bynum .       I'm also going to need you to

 5 look at a couple      of chart s.

 6 A.       Sure .

 7 Q.       Giving    you a workout     today .

 8          What I want to ask you about -- you have already

 9 testifi ed about this chart .        I'm not going to ask you a

10 lot of the question s that have been asked before .                I

11 want to focus on this little         box right here .       You have

12 character ized that as distributor s/facilitato rs;

13 correct ?

14 A.       Correct .

15 Q.       And you have put that on there because             I believe

16 your testimony      is that it 's your opinion      these

17 individuals      assisted    Mr. Goodwin    and Ms. Martin    in

18 either   the business       of the drug s or actual ly sell ing

19 the drug s; correct ?

20 A.       Yes .

21 Q.       Direct ing you to Mr. Bynum , right here .           It 's

22 your testimony , as I understand           it, that Mr. Bynum was

23 receiving   drug s from m Ms. Martin         and then re sell ing

24 them ; correct ?

25 A.       Correct .




                                                                 Page 41
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 42 of 251



 1 Q.         Do you have -- when did you start your

 2 investigation        of Mr. Bynum , specifically ?       Do you

 3 recall ?

 4 A.         Probably     around    March 8 or March 9 of 2004 .

 5 Q.         Okay .     From March 8 or 9, give or take whenever

 6 you start ed that investigation , did you have any

 7 surveillance        of Mr. Bynum ?

 8 A.         Yes,      we had surveillance     of Mr. Bynum .

 9 Q.         Of his deal ing of drug s, as you've          character ized

10 him to do ?

11 A.         No .     Just him receiving     drug s.

12 Q.         What specifically        did you -- what drug s

13 specifically        did you observe    him receiving ?

14 A.         We received     -- based on the telephone         call s and

15 our surveillance,         we knew he was receiving       drug s.

16 Q.         Isn't that much different         than he received

17 drug s?

18 A.         Not in my opinion .

19 Q.         Did you see him receive         any drug s?

20 A.         Yes , I believe       I saw him receive   drug s.

21 Q.         That 's not my question .        There 's a big

22 difference        -- if I'm doing something      here , do you know

23 what I'm doing ?

24 A.         No .

25 Q.         Do you have an assumption         of what I'm do ing ?




                                                                   Page 42
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 43 of 251



 1 A.        Not right now , no .

 2 Q.        Would you try to guess at what I'm do ing ?

 3 A.        No .

 4 Q.        But you don't see what I'm do ing , do you ?

 5 A.        I have nothing     to bracket     that to give an

 6 opinion     about what you were do ing .        With Mr. Bynum , I

 7 have event s and telephone       call s to bracket     that to give

 8 me an opinion       about what he 's do ing .

 9 Q.        If you hear this , you may want to make some

10 assumption       as to what I'm do ing ; correct ?

11           You don't know what I'm do ing Be hind this , do

12 you ?   (indicati ng the easel board .)

13 A.        No .

14 Q.        It 's safe to say that you have an assumption           of

15 what Mr. Bynum was do ing , rather         than as your testimony

16 was that you know on chart that he was a distributor

17 and facilitato r.

18 A.        It 's not an assumption .        It 's an opinion   based

19 on fact .

20 Q.        It 's an opinion    based on theory , is it not ?

21           MS. JOHNSTON:      Objection .

22           Asked and answered .

23           THE COURT:      Sustained .

24           MR. MITCHELL:      You did not see and actual ly

25 weigh or touch any drug that you allege             in your theory




                                                                 Page 43
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 44 of 251



 1 that Mr. Bynum received , did you ?

 2           MS. JOHNSTON:      Objection .

 3           He 's mis character ized his testimony .

 4           THE COURT:      Over ruled .

 5           THE WITNESS:      Could you repeat       the question ?

 6           BY MR. MITCHELL:

 7 Q.        You didn't     feel or touch or weigh any drug s that

 8 you in your theory       and in your opinion       say that he

 9 received , did you ?

10 A.        Was n't there -- I believe         there was a scale

11 re covered   from his residence .          Am I correct ?

12 Q.        There was a scale .          Correct .

13 A.        Okay .    It tested   positive     for residue , did it

14 not ?

15 Q.        Did you weigh that ?

16 A.        Did I weigh it ?      No .

17 Q.        These thing s that you say he received            is mere ly

18 your opinion .      You don't have any specific         proof of any

19 weight    or substance    that he actual ly received , do you ?

20 A.        Yes .    The telephone       call s are very clear .

21 Q.        Let me make a distinction          so we understand    each

22 other .    There is one thing as a piece of evidence             on

23 this table .

24 A.        Yes .

25 Q.        And then there is try ing to understand            what 's




                                                                  Page 44
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 45 of 251



 1 going on be hind this chart .

 2           MS. JOHNSTON:      Objection .

 3           THE COURT:      Over ruled .

 4           BY MR. MITCHELL:

 5 Q.        You can see what's      on this table ; correct ?

 6 A.        Yes .

 7 Q.        You can't see this .      (Indicating behind the

 8 easel.)

 9 A.        No , I cannot .

10 Q.        You can only make an extrapolation          of , a theory

11 an assumption       of what 's going on be hind here ; correct ?

12           MS. JOHNSTON:      Objection .

13           THE COURT:      Sustained .

14           BY MR. MITCHELL:

15 Q.        During    this time that you were investigati ng Mr.

16 Bynum , did you at any time assign         any officer s to

17 surveil   his activities      as a distributor     and /or

18 facilitato r of the drug s that you theorize           he received

19 from Ms. Martin ?

20 A.        You mean upon --

21           MS. JOHNSTON:      Objection .

22           Counsel    is mis character izing the witness '

23 testimony .       He has n't theorize d anything .

24           THE COURT:      Sustained .

25           BY MR. MITCHELL:




                                                                Page 45
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 46 of 251



1 Q.         Let me re state it .

2            In your term s.       In your opinion , during      the time

3 that -- you investigate d between             March and the time of

4 his arrest .        Did you assign     any officer s to do

5 surveillance        of any of his facilitati ng or distributing

6 these drug s?

7 A.         He left Ms. Martin 's residence .         No .    We did

8 surveillance        at his residence     on Ray Road brief ly .

9 Q.         Okay .    Is there any particular       reason    why you

10 didn't    surveil    his residence ?

11 A.        We did surveil     his residence .      I just said that .

12 Q.        Any particular     reason    why you didn't      assign    an

13 officer    to follow    him and look at his activities          as a

14 distributor/ facilitato r once he left Ms. Martin 's

15 residence ?

16 A.        Yes .

17 Q.        Why ?

18 A.        We were identify ing the heroin         supply , Ms. Levi ,

19 and her source       of supply .     We were identify ing Ms.

20 Martin 's cocaine      source    of supply    which was Mr. Mangual

21 and his source       of supply     in New York , and we were

22 identify ing all of these other participant s as well as

23 Mr. Goodwin       and his associate s.

24 Q.        So was it not possible        to assign   someone    to do a

25 surveillance       of his activities     sell ing these drug s you




                                                                  Page 46
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 47 of 251



1 -- in your opinion       he 's received    from Ms. Martin ?

2 A.         Possible ?

3 Q.         Was it possible ?

4 A.         It 's possible .    Probably    was n't -- our idea of

5 the investigation       is to identify     these people     and

6 identify     their source     of supply   and their source s of

7 supply     and their source s of supply .       To identify       all of

8 Mr. Bynum 's customers        would have been a drain on the

9 investigation .

10 Q.        So it was just mere ly in convenient         to have

11 someone    do a surveil lance of him ?

12 A.        Not convenient .     Not a good use of our

13 resource s.

14 Q.        In essence , then , without      that evidence , you're

15 just leavi ng the ladies and gentlemen of the jury                to

16 believe    your opinion ; is that correct ?

17 A.        No .   They have evidence      to support    my opinion :

18 The scale with residue        at his residence , his prior

19 arrest    which is in the scope of the conspiracy , and

20 narcotic s he had back in 19 99 and the telephone            call s

21 which are very specific        -- more specific       than some ; the

22 surveillance s that were done of him leavi ng Ms.

23 Martin 's residence .      I'm sure I've miss ed something             in

24 that list .

25 Q.        Then in your opinion      that all leads to him




                                                                Page 47
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 48 of 251



 1 sell ing drug s to other people        out there that you don't

 2 name .

 3 A.       Yes .    The quantity    of drug s he was purchasi ng

 4 from Ms. Martin      was well in excess     of any personal         use .

 5 Q.       You're    with the Prince     George's   County    Police

 6 Department ; correct ?      That 's your employer ?

 7 A.       Yes .

 8 Q.       Do you know how many police officers           are

 9 employ ed by the Prince      George's    County   Police

10 Department ?

11          MS. JOHNSTON:      Objection .

12          THE COURT:     Over ruled .

13          BY MR. MITCHELL:

14 Q.       Approximately .

15 A.       We're suppose d to have 1400 .         We have less than

16 that .

17 Q.       How many police officers         were assigned     to do

18 surveillance      and other activities     in this

19 investigation , i f you know ?

20 A.       It vari ed on different       day s.   Sometimes     we would

21 have two people      available    for surveillance , sometimes

22 five , and sometimes     none .    It would -- we would n't have

23 -- we didn't      have an entire    division    available    to us .

24 We would call and say , can you break somebody              loose

25 from what they're      do ing ?   And we need you to go to




                                                                 Page 48
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 49 of 251



1 Hayward    Avenue .     We need you to go here .        We need you

2 to go there .

3 Q.        From the course         of the investigation,      from t he

4 begin ning to the       end , approximately    how many officer s

5 were use d over time ?

6 A.        There were many .         When we execute d the search

7 warrant s, we were at 26 , approximately , different

8 location s.      So , we shut down our division         for two day s

9 to participate        in that .    Many of those people       had no

10 knowledge    of this investigation        other than their

11 participation     that day .      So , for me to give you a

12 number   like that would be mis lead ing .

13 Q.       Well , other than the search         warrant s --

14 obvious ly , that entail ed a tremendous           amount   of

15 manpower .    But other than that -- other than June 1st

16 of 2004 , how many people         would you say have been

17 involve d in the investigation ?

18 A.       From the surveillance         portion ?    15 to 20 .

19 Q.       And one more .      Surveil ling Mr. Bynum and

20 corroborati ng this activity , you opinion ed that

21 would n't -- that would have shut down your department ?

22 A.       That 's not what I state d.         Those people        were not

23 available    all at one time .        We don't have a pool of 25

24 individuals     available   to conduct     surveillance      all at

25 one time .    Like I said before , there might be two




                                                                    Page 49
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 50 of 251



 1 available      that day .    It may be a Saturday .         People        may

 2 be off ; people      are on vacation ; there 's three guy s

 3 work ing one day and there 's two the next .               There may be

 4 five on a day , but there may be no activity                that day .

 5 So , we have five people         wait ing around       do ing nothing ,

 6 and there 's no activity         and there 's nothing       to indicate

 7 any activity .       Maybe there 's no drug s at the time .

 8 Maybe we're wai ting for         a supply .    So , there 's nothing

 9 for those guy s to do , so they pursue            their other

10 investigation s until we need them .             When we need them ,

11 we call them .       We didn't    have constant        access     to 25

12 bodi es .

13 Q.          There 's approximately    1,400 officers         work ing for

14 the department ; is that correct ?

15 A.          They don't work for me .        They work for the

16 department .

17 Q.          I understand .

18 A.          People   in Prince   George's     County    do require

19 homicide     investigation s, patrol        officer s, tactical

20 squads , air -- we have the helicopter             section .        We have

21 all those people , but they don't answer                to me .

22 Q.          Agent Eveler , if it were important , could you

23 have gotten      that extra officer     to do surveillance            on

24 Mr. Bynum ?

25 A.          If it were important ?      If I had an indication




                                                                       Page 50
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 51 of 251



 1 that he was going to engage        in a transaction       at a

 2 certain     time , yes , I would have broken     somebody    loose .

 3 Q.        So the fact that you didn't        do it , it was n't

 4 important     to have anyone    during   do ing surveillance       on

 5 Mr. Bynum .

 6 A.        You have to real ize that Ms. Martin         was involve d

 7 in daily conversation s and she required           a great deal of

 8 surveillance , and those other people          required    a great

 9 deal of surveillance .       But to pull surveil lance off of

10 a target , off a trafficker       -- a major trafficker          and to

11 surveil     Mr. Bynum -- it would have been great to

12 surveil     all of these people    and I would have love d the

13 as set s, but we had to make a judgment         call and we had

14 to work in the real world .

15 Q.        The bottom    line is , it was your decision       and

16 your choice     not to have one surveil led ; is that

17 correct ?

18           MS. JOHNSTON:     Objection .

19           Asked and answered .

20           THE COURT:     Sustained .

21           BY MR. MITCHELL:

22 Q.        All right .    Now let 's go to Chart 4.        I believe

23 that 's the telephone     contact ; is that correct ?

24           This chart here .     Is it 2 ?

25           MS. JOHNSTON:     It 's 2.




                                                                Page 51
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 52 of 251



1           BY MR. MITCHELL:

2 Q.        I'm sorry .      Chart 2.

3           I want to focus -- this is Mr. Bynum right here .

4 Mr. Bynum 's name , 858 contact s between           August   7, 2001

5 and May 27 , 2004 .        I'm going to do a little        math for

6 you .   I just want to make sure you don't have your

7 calculato r here .       I didn't   ask you to calculate       it , did

8 I?

9 A.        No .

10 Q.       You do agree that 's approximately            two year s and

11 about nine month s of pin register s --

12 A.       Sure .

13 Q.       -- Give or take a couple         day s.

14 A.       It 's pretty     close to Mr.     Hall 's .

15 Q.       About .

16 A.       I think he use d 33 month s as his estimate .

17 Q.       You have four telephone         number s here ; correct ?

18 A.       Yes .

19 Q.       Are you familiar      with the registered        owners   of

20 each of those telephone        number s, or do you need your

21 note s to refresh    --

22 A.       Some of them I know and some I don't off the top

23 of my head , but I have my note s.

24 Q.       Probably , that might help .

25 A.       Okay .




                                                                 Page 52
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 53 of 251



 1 Q.         The first number , 20 2-320 -7342 .         Do you know the

 2 register ed owner       t o that number ?

 3 A.         Yes .

 4 Q.         Who was that number       registered   to ?

 5 A.         Tony James , 1513 Ray Road .

 6 Q.         Tony James .     Do you know who Tony James is ?

 7 A.         No .

 8 Q.         Did you ever identify       him ?

 9 A.         No .

10 Q.         Was that a land line , or was that a cell phone

11 number ?

12 A.         It 's a cellular    telephone .     AT&T.

13 Q.         Okay .     Did you ever investigate     why there was a

14 Tony James listing        his cell phone number        at the Ray

15 Road address ?

16 A.         No .

17 Q.         Did you ever get any record ed telephone           call s of

18 Mr. James ?

19 A.         No .     Just Mr. Bynum using that phone .

20 Q.         Now , if we could -- I don't know           if there's   a

21 pen that we could use .         Could we write "Mr. Tony James "

22 right there so that we know that that was not Mr.

23 Bynum 's registered       number ?

24            Do me a favor and just write "Tony James " right

25 there .




                                                                  Page 53
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 54 of 251



 1 A.       (Witness     indicati ng .)

 2 Q.       And now the next number , 20 2-49 8-1051 .         Do you

 3 have that registration ?

 4 A.       Yes .

 5 Q.       Was that to Mr. Bynum ?

 6 A.       Yes .

 7 Q.       That was his cell phone number ; correct ?

 8 A.       Yes .

 9 Q.       The next number .

10 A.       Want me to put his name ?

11 Q.       No .     We already   have his name right here .

12 A.       Okay .

13 Q.       The next number , 20 2-607 -039 4.       Do you know who

14 that number      was registered   to ?

15 A.       Cindy Lee .

16 Q.       Okay .     Did she have an addres s?

17 A.       Bright     Street , Washington , D. C.

18 Q.       Was that a cell phone number         or a land line ?         Do

19 you know ?

20 A.       That 's a cell phone .

21 Q.       Okay .     If you could do me a favor and write

22 "Cindy L ee " just next to that .

23 A.       (Witness     indicati ng .)

24 Q.       And the last number , 30 1-853-67 66.         Who was

25 that ?   Was that register ed to Mr. Bynum ?




                                                                Page 54
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 55 of 251



 1 A.         Yes .

 2 Q.         Was that a land line ?

 3 A.         Yes .

 4 Q.         And that was from the Ray Road address ; is that

 5 correct ?

 6 A.         Yes .

 7 Q.         Now , you've   listed   858 contact s.   Out of those

 8 858 contact s, how many call s were made by Mr. James ?

 9 A.         I don't know     that any were made by Mr. James ,

10 since Mr. Bynum was intercept ed using that phone .                I

11 could n't tell you how many were made utilizi ng that

12 number .     They were on the same date , that one call that

13 we intercept ed .

14 Q.         So there were two -- out of this 858 , there were

15 two call s using this number ?

16 A.         Yes .

17 Q.         Put it in par en theses,    perhaps , next to     Mr.

18 James , too , so we can differentiate .

19 A.         (Witness indic ati ng .)

20 Q.         About Ms. Lee 's phone number .       How many of these

21 858 were made by Ms. Lee ?         Do you know ?

22 A.         I will check .

23            MS. JOHNSTON:      Your Honor , objection    to

24 counsel 's question .       He said the call s were made by Ms.

25 Lee .   I think that 's a mis statement .




                                                                Page 55
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 56 of 251



 1          MR. MITCHELL:       I'll re phrase , Your Honor .

 2          THE COURT:     Re phrase .

 3          BY MR. MITCHELL:

 4 Q.       How many phone calls were made by the number

 5 registered    to Cindy Lee ?

 6 A.       Just the one that was intercept ed .

 7 Q.       The one phone call ?

 8 A.       Yes .

 9 Q.       Out of these -- this is these 858 contact s.             One

10 call -- one call made with this number .

11 A.       Yes .

12 Q.       Okay .    Put a "1" there .

13 A.       (Witness    indicati ng .)

14 Q.       And I know you 've testifi ed about this already ,

15 but I want to ask you again .         I assume   he 's going to

16 say this about everyone        on this chart , but you don't

17 know which of these 858 contact s were made , actual ly ,

18 by Mr. Bynum ; correct ?

19 A.       Just the one s we intercept ed .

20 Q.       Right .    Other than those , you don't know who

21 actual ly pick ed up the phone , dialed        a number   and

22 cause d it to reach one of these number s.

23 A.       That 's correct .

24 Q.       Again , you don't know which of these 858 was a

25 hang -up , a miss ed call , a voice mail or other ; correct ?




                                                                Page 56
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 57 of 251



1 A.        Correct .

2 Q.        Other than the one s that you've           intercept ed .

3 A.        Correct .

4 Q.        And would you also agree with me -- no , I know I

5 didn't    ask you to do the math -- that         over this period

6 of time , and it 's about two year s and nine month s, that

7 would be about 25 call s per month .           Would you agree

8 with that ?     Do you want to do the math first ?

9 A.        Not particular ly .

10 Q.       Does that sound about right?

11 A.       Sure .

12 Q.       It 's about 850 over --

13 A.       I'll use your number s, sir .

14 Q.       Over 33 month s?

15 A.       Sure .

16 Q.       About .     Is it in your train ing and experience            in

17 investigati ng drug activity       that 25 call s in a month is

18 indicative    of drug trafficking ?

19 A.       I don't think     I'd base an opinion        sole ly on the

20 contact s.

21 Q.       Okay .    And you're   aware that Mr. Bynum is the

22 father   of Ms. Martin 's grandchild ; correct ?

23 A.       That 's what I've been told , yes .

24 Q.       All right .     You may have    a seat .     I just have a

25 few more question s for you , Detective         Eveler .




                                                                 Page 57
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 58 of 251



 1          You were present ed with , I believe           it was

 2 Miscellaneous     20 .    That 's the conviction       -- certifi ed

 3 copy of a conviction        of Mr. Bynum from 19 99.          Do you

 4 recall   that ?

 5 A.       I don't recall      the Miscellaneous        number , but I

 6 recall   the document .

 7 Q.       I'm do ing that .     Am I correct      --

 8          MS. JOHNSTON:       I don't know      counsel .

 9          BY MR. MITCHELL:

10 Q.       Regard less of the name of the number              of the

11 exhibit , it was his conviction         from 19 99.        You were

12 asked by government        counsel   whether    or not this

13 conviction    had been over turn ed or not .          Do you recall

14 that ?

15 A.       Yes .

16 Q.       And you specifically        referred    to your train ing

17 and experience     to reach an opinion         on that .     Do you

18 recall   that ?

19 A.       Yes .

20 Q.       If I could inquire      a little      bit into your

21 experience    and train ing in the Montgomery           County

22 Clerk 's office    and their procedure s.         How long -- how

23 much train ing did you receive         from the clerk 's office

24 in the Montgomery        County courthouse      -- Circuit     Court ?

25          MS. JOHNSTON:       Objection .




                                                                    Page 58
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 59 of 251



 1           THE COURT:     I think he meant -- you meant

 2 something     else , didn't   you ?     You said Montgomery .         Did

 3 you mean Montgomery ?

 4           MR. MITCHELL:       I believe    it was Montgomery         --

 5 let me see .

 6           THE COURT:     Oh , okay .     All right .

 7           MR. MITCHELL:       I have the Miscellaneous            19 , not

 8 20 .

 9           THE COURT:     Now I understand .        Excuse   me .

10           BY MR. MITCHELL:

11 Q.        Look ing at that , where is this conviction

12 locate d?

13 A.        The Circuit    Court for Montgomery          County ,

14 Maryland .

15 Q.        Montgomery    County .      So if I could direct         you to

16 your train ing experience        and knowledge     into the

17 procedure s of this Circuit           Court for Montgomery        County ?

18 A.        I received    no train ing .     However , I've received

19 records     from many court s in the state of Maryland , and

20 I'm familiar     with expungement        of records .     These

21 records     are not expunge d.

22 Q.        They were not expunge d.         If you could explain           to

23 the ladies and gentlemen of the jury           .   How does a case

24 -- how is a case eligible          for expunge ment ?

25 A.        Upon a pardon , somebody        could have their case




                                                                     Page 59
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 60 of 251



1 expunge d.      Upon certain    action s of the court , a case

2 could be expunge d.        After certain      time periods , you can

3 ask for an expunge ment .        Based on an acquittal , based

4 on -- there 's a variety        of mean s to get an expunge ment .

5 I'm not familiar        with all of the mean s.          I'm familiar

6 with more of the result s of the expunge ment than the

7 method s of the expunge ment .

8 Q.          Are you aware of whether        an expunge ment is

9 auto matic ?

10 A.         It is not , as far as      I know .

11 Q.         Let me clarify    it .    If someone    were found "not

12 guilty " of a criminal       charge , is their case

13 automatically     expunge d?

14 A.         You can request     an expunge ment .

15 Q.         Correct .   So that person      would actual ly have to

16 petition    the court to have that done ; correct ?

17 A.         That 's my understand ing .

18 Q.         If they didn't    petition     the court to have that

19 done , that would still be in the records               of the

20 Montgomery     County Circuit       Court ; correct ?

21 A.         That 's my understand ing , yes .

22 Q.         If that case were also over turn ed by the

23 appellate     court s and you didn't      request   an expunge ment ,

24 you would still be able to get access             to that, would

25 you not ?




                                                                    Page 60
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 61 of 251



 1 A.         That 's my understand ing .

 2 Q.         So when you -- the opinion          that considering      that

 3 you were able to receive          this , that it was n't

 4 over turn ed , you were mis taken , were you not ?

 5 A.         No .     I also contact ed the governor 's office         to

 6 see if --

 7 Q.         Objection     as to who said what to Agent Eveler .

 8            MS. JOHNSTON:      Your Honor , he 's just answering

 9 the counsel's question.

10            THE COURT:      Over ruled .

11            THE WITNESS:      I contact ed the governor 's office

12 to see if Mr. Bynum had received              a pardon , and he had

13 not .

14            MR. MITCHELL:      Objection .

15            THE COURT:      Over ruled .

16            BY MR. MITCHELL:

17 Q.         Do you have any records          from the governor 's

18 office    to indicate      whether   or not he had applied      or

19 received     a pardon ?

20 A.         They have no records          to show that .   That 's what

21 the result        of my search   was .

22 Q.         Okay .     But back to my question      which you gave an

23 opinion     that you could not have received          this if his

24 case had been over turn ed or pardon ed .

25            MS. JOHNSTON:      Objection .




                                                                  Page 61
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 62 of 251



 1            That 's not what the witness      said .

 2            THE COURT:    Sustained .

 3            BY MR. MITCHELL:

 4 Q.         On direct , did you not say that the only reason

 5 why in your opinion        this had not been over turn ed is

 6 because    you could still get thi s --

 7            MS. JOHNSTON:     Objection .

 8            THE COURT:    Sustained .

 9            BY MR. MITCHELL:

10 Q.         What was your opinion       as to why you were still

11 able to receive     this document ?

12 A.         It was based on the court paper s, as well as my

13 contact    with the governor 's office .

14 Q.         All right .   Is it possible     that he could have

15 appeal ed that case the appellate          court could have made

16 some decision ?

17            MS. JOHNSTON:     Objection .

18            THE COURT:    Sustained .

19            BY MR. MITCHELL:

20 Q.         You don't know that , do you , whether       or not this

21 case was appeal ed .

22 A.         Let me see if it 's -- if there 's anything

23 included    in this record .     There are docket      entri es in

24 here , and there 's no docket      entry in here after July

25 20 , 2000 , after the sentenci ng , so there 's nothing          to




                                                                Page 62
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 63 of 251



 1 indicate     that .

 2 Q.         What train ing and experience        with the Montgomery

 3 County Circuit        Court would lead you to believe           that if

 4 it 's not on this docket        entry , it was n't appeal ed ?

 5 A.         I don't .     It 's based on my re view of this

 6 record .

 7 Q.         Now , as the case agent --

 8            THE COURT:      Counsel , can you approach         the bench ?

 9                       (At the bar of the Court.)

10            THE COURT:      Mr. Mitchell,     I'm a little      concerned

11 about what you're         try ing to get by way of an inference

12 from this line of question ing .            The witness      has with

13 him a certifi ed copy of the records .            If there had been

14 any appeal , it would have been note d.             You have to file

15 notice     of appeal .     If there had been a reversal , it

16 would be on that document         there .     That 's a question        of

17 law .     To suggest     that there somehow     could be an appeal

18 not reflect ed on a certifi ed copy of the judgment

19 records     of the Circuit     Court for Montgomery          County is

20 wrong .

21            MR. MITCHELL:      I was equal ly amaze d that the

22 government     would actual ly ask his opinion         as to whether

23 or not the case was over turn ed .           I object ed .     Your

24 Honor over ruled my objection        and allow ed him to testify

25 as if he were a Clerk of the Court , and that was beyond




                                                                    Page 63
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 64 of 251



 1 his expertise .

 2             THE COURT:    Mr. Mitchell , I don't want the jury

 3 mis led .     This is an official      court document    show ing the

 4 status      of his conviction   as of the date it indicated .

 5 I forget      what it was , but it apparent ly indicate s no

 6 appeal      was taken .   If there had been an appeal       take n,

 7 you would have seen a notice           of appeal   and you would

 8 have seen an opinion        of the Court of Special       Appeal s, a

 9 mandate      of the C ourt of Special     Appeal s, and you would

10 have seen a record        from the Court of Appeal s say ing the

11 petition      for Cert denied   or grant ed , and you would have

12 seen -- I mean,      that would all be on there , unless            the

13 time period      hadn't   run yet and this was a certification

14 of a judgment      quite some time after a judgment         and

15 there was no appeal .

16             MR. MITCHELL:    I would have absolute ly nothing

17 to ask the Clerk of the Circuit           Court for Montgomery

18 County , because     they would have the records         and they

19 would be the one s that could testify .            But , no , Agent

20 Eveler , who 's from Prince         George's   County , and he 's

21 testify ing as though       he 's a clerk of the court .      What

22 they did is they had him on his -- the words were his

23 train ing and experience .          Now he 's say ing he didn't

24 have any .      He didn't   have any train ing and experience .

25             THE COURT:    I don't    want this jury misled     into




                                                                Page 64
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 65 of 251



 1 thinking    there 's an appeal         out there that was n't pick ed

 2 up by the Circuit         Court for Montgomery           County .

 3            MR. MITCHELL:          I didn't    want the jury to be

 4 mis led that this officer            has some knowledge       --

 5            THE COURT:      Let me have the docket           entry .     I

 6 will give a clarify ing instruction .

 7            MS. JOHNSTON:          Yes, your    Honor .    The records        are

 8 in evidence .      The records        were in evidence       before .

 9            THE COURT:      Let me get that clarifi ed .

10                           (Back in open court .)

11            THE COURT:      Mr. Mitchell , can you have that

12 record   given to me ?

13            MS. JOHNSTON:          Your Honor , it 's Miscellaneous

14 19 .

15            MR. MITCHELL:          Do you want me to continue           my

16 question ing ?

17            THE COURT:      No .     I'm going to -- before           you go

18 on to that .      Ladies and gentlemen         , there has already

19 been received      in evidence        as Government 's Exhibit          No.

20 Miscellaneous      19 , a certifi ed copy of the records                of

21 the Clerk of the Circuit             Court for Montgomery           County

22 which contain s all of the docket              entri es of the

23 criminal    conviction      that 's been reference d in the

24 examination      you've    just heard .       The final entri es in

25 this case are July 20 and July 21 , 2000 .                  The most




                                                                         Page 65
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 66 of 251



 1 significant     one is the dis position , which is the

 2 sentence     that was im pose d pursuant        to a plea agreement .

 3            The final entry is July 21 , 2000 which says ,

 4 commitment :     Delivered      to Sheriff .     Mean ing , the

 5 sheriff    was taking     custody    of the defendant .        If an

 6 appeal    is file d in the state of Maryland , a notice                of

 7 appeal    mus t be filed on the docket          in this case .

 8            If an appeal      had been filed , it would be

 9 reflect ed on a docket .         This docket     was -- this docket

10 record    was produced      by the Clerk of the Circuit           Court

11 for Montgomery        County certify ing from her records             as of

12 October    22 , 2004 .

13            In order    for an appeal    to be filed in Maryland ,

14 it must be filed within          30 day s of the sentence .           There

15 was no appeal     in this case reflect ed on the docket                of

16 the Circuit     Court for Montgomery          County .

17            Thank you .

18            MR. MITCHELL:       May we approach , Your Honor ?

19            THE COURT:       Yes , you may .

20                       (At the bar of the Court.)

21            MR . MITCHELL:      I want to note an objection            to

22 the court 's instruction , respect fully .               The proper    way

23 for that to have been done was for the government                     to

24 have subpoena ed the Clerk of the Court for Montgomery

25 County to testify        to that .    I'm aware -- Your Honor --




                                                                     Page 66
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 67 of 251



 1            THE COURT:     It 's in evidence .

 2            MR. MITCHELL:     Absolute ly .

 3            THE COURT:     Nobody    object ed to it .

 4            MR. MITCHELL:     That is exact ly what the jury

 5 should    have gotten .

 6            THE COURT:     That is before     the jury .

 7            MR. MITCHELL:     Absolute ly .    And that 's all .

 8 They should     not have gotten       an explanation .

 9            THE COURT:     Mr. Mitchell , perhaps        because    it 's

10 of some unart ful question ing about opinion s, you were

11 able to enjoy ing asking       some interest ing question s, but

12 the bottom    line is it would not be proper            for that

13 question ing to lead the jury to conclude           that there 's a

14 possible    appeal   out there that somebody       does n't know

15 about .    That 's on this record , and there is no appeal .

16            MS. JOHNSTON:     Quite frankly , it does n't matter .

17 The issue    that the government        want ed to bring out was

18 the date of these records           and the fact that he had been

19 sentence d to more than one year of prison              to meet the

20 requirement s of 922 (g).          That is in the record .        That

21 is what I had him read in to the record .           There is

22 nothing    in the record     to say the conviction         was n't

23 valid as of June 4, 2004 .           That 's a negative .

24            MR. MITCHELL:     They also have to prove the case

25 was not over turn ed and --




                                                                     Page 67
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 68 of 251



 1            THE COURT:      Well , that 's the -- that docket

 2 under -- I practice d in that court for 37 year s.               That

 3 is where you would find a reversal .

 4            MR. MITCHELL:      Absolute ly .

 5            THE COURT:      You don't find it in Annapolis .

 6 They ship it back here and dump it in this file here .

 7            MS. JOHNSTON:      There is no way we could prove a

 8 negative , Your Honor .        There is nothing    to be put in

 9 other than the court record .

10            MR. MITCHELL:      I want to put in my objection .

11 You and I know that --

12            THE COURT:      I don't want the jury to be mis led

13 about what this docket         mean s or does n't mean .

14            MR. MITCHELL:      I'm not the one that start ed

15 mis lead ing .

16            THE COURT:      I understand   that .   You had a good

17 time with that .

18            MR. MITCHELL:      They could have clarifi ed by

19 bringing    in the court of the clerk of the court .             It

20 should   not be the court testify ing as to the law .

21            THE COURT:      You've   challenge d his credibility        by

22 put ting in -- bring ing in the opinion s's , a public

23 record   -- the public      record   show s no appeal   and no

24 over turn ing of the    case as of June 1, 2004 .

25            MR. MITCHELL:      I want ed to note my objection .




                                                                Page 68
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 69 of 251



 1            THE COURT:      Your object ion is note d.

 2            MR. MITCHELL:      Now I will      move on .

 3                           (Back in open court .)

 4            BY MR . MITCHELL:

 5 Q.         Detective     Eveler , moving   on .    As the case agent ,

 6 you made a number         of decision s of tactic s and thing s to

 7 do in the investigation ; is that correct ?

 8 A.         Myself     and other s.

 9 Q.         And Sergeant     Sakala   and --

10 A.         Special     Agent Snyder .

11 Q.         Snyder .

12            Between     you , you would make decision s on thing s

13 like fingerprint s, DNA, and other investigative

14 technique s to tie evidence          to specific    individuals ;

15 correct ?

16 A.         I made very few decision s as far as            what item s

17 were submitted        for forensic    analysis .    I know I hand -

18 carri ed the box that was seize d in New York .                I hand -

19 carri ed that for latent        print examination .         The DNA

20 analysis    decision      was made by Sergeant      Sakala .     That 's

21 their lab and it 's his decision .            Mos t of the

22 fingerprint ing was made by someone            else .     I did not

23 make those decision s.

24 Q.         I believe     you testifi ed about this before , but

25 you agree that none of the item s of evidence                that have




                                                                    Page 69
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 70 of 251



 1 been submitted       to the jury place d on this table have

 2 the fingerprint       of Mr. Bynum .

 3           MS. JOHNSTON:      Your Honor , the government       will

 4 stipulate    that the only latent      print of value came off

 5 of a cardboard       box was re covered    in New York and it

 6 didn't    belong   to any of the defendant s that are on

 7 trial .

 8           BY MR. MITCHELL:

 9 Q.        So I assume    the answer    is yes .

10 A.        Yes .

11 Q.        There was one found .

12 A.        Yes , as I have testifi ed before .

13 Q.        Equal ly with DNA evidence , I as sume the answer

14 is the same :      You didn't   find any DNA match ing Mr.

15 Bynum 's DNA.

16 A.        On any of the evidence       that was present ed to the

17 jury .

18           MS. JOHNSTON:      Objection .

19           That 's not his area of expertise .         There was

20 testimony    about the DNA.

21           THE COURT:     Sustained .

22           BY MR. MITCHELL:

23 Q.        Were you aware of any result s given to you

24 match ing Mr. Bynum 's DNA to any of the evidence ?

25 A.        I really    can't recall .




                                                                Page 70
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 71 of 251



 1          MR. MITCHELL:       I have no further     question s.

 2          THE COURT:      All right .

 3          MR. WARD:      I guess I'm next .

 4          THE COURT:      You're   next .

 5                          CROSS-EXAMINATION

 6          BY MR. WARD:

 7 Q.       Good morn ing , sir .

 8 A.       Good morn ing .

 9 Q.       "Case Agent " is a little         cumbersome .   What is

10 your rank ?

11 A.       Corporal .

12 Q.       Corporal .     All right .    Well , Corporal    Eveler ,

13 let me ask you a few question s, please .

14          You were respond ing to a question         put to you by

15 Ms. Johnston      and you   said that near ly every purchase

16 could be sold , even a $20 rock , or words to that

17 effect ; is that right , sir ?

18 A.       That 's correct .

19 Q.       Do you recall      -- you were in the courtroom , by

20 the way .     Do you recall    the testimony     of Mr. Thurman ?

21 A.       Most of it .

22 Q.       Okay .    And Mr. Thurman     told this jury that he

23 was a long time drug user ; is that correct , sir ?

24 A.       I don't believe      he use d the term long time .

25 Q.       Do you recall      him say ing that he start ed using




                                                                Page 71
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 72 of 251



 1 drug s when he was 16 ?

 2 A.       I can't recall      when said he start ed .

 3 Q.       Okay .      Do you recall   him say ing that he start ed

 4 around   19 9one ?    I'll be glad to show you a transcript

 5 of his testimony       if you 'd like to see that .

 6          MS. JOHNSTON:       Objection .

 7          Beyond      the scope of direct .

 8          THE COURT:       How is this within       the scope ?

 9          MR. WARD:       How is it beyond       the scope of direct ?

10 She add asked him -- I'm try ing to establish             through

11 Mr. Thurman      who , if anybody , is an ex pert is an ex pert

12 in drug use , that he is entire ly consistent            an eight

13 ball or -- an eight ball , yes , is high ly consistent              or

14 not in consistent      with personal    use .

15          THE COURT:       Okay .   Over ruled .

16          BY MR. WARD:

17 Q.       Do you want to look at the transcript            of his

18 testimony    in that regard ?

19 A.       Sure .

20 Q.       Huh ?

21 A.       Sure .

22          MS. JOHNSTON:       Your Honor , I would ask counsel

23 to provide    him with all of Mr. Thurman 's testimony           and

24 not just an isolate d portion .

25          MR. WARD:       Well , I'm only asking      about an




                                                                Page 72
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 73 of 251



 1 isolate d portion , Your Honor .         If they want to ask him

 2 about the whole        thing , they can certain ly do that .

 3            THE COURT:     Proceed .

 4            BY MR. WARD:

 5 Q.         Sir , this is a certifi ed copy by this court

 6 reporter    of partial     cross-examination      and re direct

 7 examination     of Michael    Thurman    on June 20 .

 8            MS. JOHNSTON:      Counsel , may I see what you're

 9 referring    to please ?

10            MR. WARD:     What ?

11            MS. JOHNSTON:      May I see what you're      referring

12 to , please ?

13            MR. WARD:     I thought    you had a copy .

14            MS. JOHNSTON:      I don't know   what you're    look ing

15 at , and I have several       copies    of different    thing s.

16            What page are you referring       to ?

17            MR. WARD:     Well , I'm going to start on Page 3 .

18            THE COURT:     Just give the page and line number

19 so she can follow        along .

20            MR. WARD:     I'm going to start on Page 3, Line 8.

21            MS. JOHNSTON:      Thank you , sir .

22            BY MR. WARD:

23 Q.         Mr. Thurman    was asked about his early

24 involve ment with drug s by Mr. McKnett ; is that correct ,

25 sir ?




                                                                Page 73
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 74 of 251



 1            Take a look at it .       I don't want to -- is that

 2 correct , sir ?

 3 A.         Just a minute .      I'm sorry .   What was your

 4 question     again , please ?

 5 Q.         He was asked about his early drug use by Mr.

 6 McKnett ; is that correct , sir ?

 7 A.         That 's correct .

 8 Q.         And he said that he start ed using drug s when he

 9 was 16 year s old ; is that correct , sir ?

10 A.         That 's correct .

11 Q.         And he 's now , I guess -- I say "now ."           As of the

12 time he testifi ed , he was 31 ; is that correct , sir ?

13 A.         That 's correct .

14 Q.         So he began around       1991 ; is that correct ?

15 A.         That 's -- yes .

16 Q.         And he stopped      using about '04.

17 A.         That 's what's     reflect ed , yes .

18 Q.         All right , sir .     And on Page 4, beginning        at

19 Line 14 , Ms. Johnston        and Corporal    -- he said that when

20 he start ed using , he start ed out with marijuana , but

21 then he start ed using powder          cocaine     a year or two

22 later ; is that correct , sir ?

23 A.         Yes .

24 Q.         All right , sir .     And I'm simply      asking   your

25 opinion , sir .    Would you say that this gentleman            was an




                                                                  Page 74
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 75 of 251



 1 ex pert in the use of narcotic           substance s, particular ly

 2 cocaine     powder ?

 3            MS. JOHNSTON:      Objection .

 4            THE COURT:     He didn't     testify   as an ex pert , Mr.

 5 Ward.

 6            MR. WARD:     I'm sorry ?

 7            THE COURT:     He didn't     testify   as an ex pert .

 8            MR. WARD:     I understand     that , Your Honor .       I'm

 9 asking    his opinion , for what it 's worth .

10            MS. JOHNSTON:      Objection .

11            THE COURT:     Sustained .

12            MR. WARD:     All right .     Well , I'm sure the jury

13 will --

14            MS. JOHNSTON:      Objection     to counsel 's comment s.

15            THE COURT:     Mr. Ward , go to your next question .

16            MR. WARD:     Do you remember      -- this is the 16th

17 -- February     16th , another    excerpt .

18            MS. JOHNSTON:      I don't have     that excerpt ,

19 counsel .

20            BY MR. WARD:

21 Q.         I'll tell you what .        Why don't we share that ?

22 This is Page 4, beginning         at Line 13 .      I put the

23 question     to Mr. Thurman .     I said , "T he purchase       of an

24 eight ball is not in consistent           with simply   buy ing for

25 personal     use ."    A nd his answer    was , "C orrect ."




                                                                   Page 75
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 76 of 251



 1           Do you remember     that , sir ?

 2 A.        No , but I'm sure you could refresh          my

 3 recollection .

 4 Q.        Well , I've show ed it to Ms. Johnston .          Let me

 5 show it to you , and you can tell me if I read it

 6 correct ly .

 7           MS. JOHNSTON:     Your Honor , I'm going to object

 8 to reading     one or two question s and answer s and not

 9 reading    the entire    page .     He 's taking   it out of

10 context , and under Rule 106 , it would be appropriate .

11           MR. WARD:     I'm sure he will put it in context .

12           THE COURT:     Provide     the transcript    to her so she

13 can put the context       in on re direct .

14           BY MR. WARD:

15 Q.        I hate to run you through          the mill and tire you

16 out , but I'm going to have to ask you to step over here

17 again , sir , so we can look at some of these chart s that

18 have been put in evidence           and shown to the jury .

19           I'm going to    ask you to keep your voice up ,

20 because    everybody    needs to hear you , including          the

21 people    back there and the gentlemen         in the second         row

22 over there .       Let me tell you which one we want to begin

23 with -- at least       I want to begin with .

24           Before    we actual ly turn ed to the chart s, you

25 were shown a photograph           which I think was P- -- let me




                                                                   Page 76
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 77 of 251



 1 start again .         You were asked about a photograph , P-28 6,

 2 which you ident if ied as a photo of Royal Crest .               I

 3 don't know     if you call ed it Road , Avenue or what .             Do

 4 you remember        that ?

 5 A.         I remember        see ing a photograph .     I don't recall

 6 the number .

 7 Q.         Okay .     But you do remember     see ing a photograph

 8 of Royal Crest ?

 9 A.         Yes .

10 Q.         I belie ve your answer        was that it was the

11 residence     of Beverly        White an d her husband , Dobie ; is

12 that right , sir ?

13 A.         I said his name was McCarthy Plummer.              His

14 nickname     was "Dobie ."

15 Q.         Dobie .     We're not talk ing about Lavon Dobie ;

16 we're talk ing about a man ?

17 A.         We're talk ing about McCarthy Plummer,            a male .

18 Q.         We're not talk ing about her husband , Goldie

19 Dobie ?

20 A.         McCarthy Plummer        is de cease d.     He is not in this

21 courtroom .

22 Q.         I just want ed to make clear that that was

23 somebody     else .

24            All right .        Let 's begin with the chart .     I

25 believe    it 's Chart 5, and it 's entitle d Goodwin 's Texas




                                                                   Page 77
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 78 of 251



1 Cocaine      Ship ment December -June 2004 .     All right , sir .

2 And this chart we have , this is Chart 5 -- CH-5, and it

3 begin s December        20 , 2001 , to be precise , and run s down

4 through      September     11 of 2003; is that correct , sir ?

5 A.          On this first page .

6 Q.          On the first page , yes .      We're just deal ing one

7 page at a time .

8             This summarize s the government 's view of cocaine

9 ship ment s from Texas to Mr. Goodwin .

10 A.         Some , yes .

11 Q.         Some , yes .    Do you see the name Lavon Dobie

12 anywhere     on that , sir ?

13 A.         No .

14 Q.         All right , sir .     And let 's look at the second

15 one then .        This is for the --

16 A.         It 's out of order .

17 Q.         Oh , I'm sorry .

18 Q.         This is -- it 's not mark ed , but this is part of

19 CH-5, and this is , I don't know , Board 2 or whatever

20 you want to call it .          This run s from September    20 of --

21 September     30 , I beg your pardon , of '03 through        March

22 18 of '04; is that correct , sir ?

23 A.         That 's correct .

24 Q.         Again , do you see the name of Lavon Dobie

25 anywhere     on that chart ?




                                                                Page 78
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 79 of 251



 1 A.        No .

 2 Q.        All right , sir .

 3           MS. JOHNSTON:       Your Honor , the government      will

 4 stipulate    that Ms. Dobie 's name does not appear           on any

 5 of that chart , CH-5 .

 6           MR. WARD:      Thank you , Ms. Johnston .     I

 7 appreciate       the consideration .    I'm sure the jury does ,

 8 too .

 9           BY MR. WARD:

10 Q.        Let 's move to chart CH-4 now , if you will .

11 This , I believe , is the chart of telephone           activity

12 follow ing the 11 -25 -03 arrest       of Mr. Goodwin .

13           MS. JOHNSTON:       Your H onor , the government     would

14 also stipulate       that Ms. Dobie 's telephone     number s are

15 not listed       on that chart either .

16           MR. WARD:      That 's very kind of you .     Thank you .

17           BY MR. WARD:

18 Q.        Let me put a few preliminary        question s.

19           You prepared     this part because     the arrest    of Mr.

20 Goodwin    was , at least    in the government 's mind , a

21 signal    or important    event in the life of this allege d

22 conspiracy ; is that right , sir ?

23 A.        It 's an event .

24 Q.        An event .     It was certain ly an important       event ,

25 since it was one of the main suppliers           according     to the




                                                                 Page 79
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 80 of 251



 1 government ; is that right , sir ?

 2 A.         It 's an event .

 3 Q.         Huh ?

 4 A.         It 's an event .

 5 Q.         It 's an event .      All right .

 6            And the purpose       of put ting the chart together        is

 7 to show that when Mr. Goodwin , who was allegedly             the

 8 partner     of Ms. Martin , was arrested ; a lot of telephone

 9 calm s were made back and forth to other people             who

10 might be interest ed in that arrest ; is that correct ,

11 sir ?

12 A.         To relationship s between       parti es after his

13 arrest .

14 Q.         And the fact that the news of his arrest          was

15 transmitted        to certain   people   by Ms. Martin   and other s,

16 allegedly .

17 A.         I don't know    if it 's so much that there 's news .

18 It 's the -- well , I think it 's up to the jury to decide

19 what it is .

20 Q.         Of course    it is eventually,      but the point is ,

21 sir , why were they maki ng these call s?           Why were all

22 these call s being made according           to the government's

23 theory     of the case ?

24 A.         Are you asking       my opinion ?

25 Q.         Yes .




                                                                Page 80
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 81 of 251



 1 A.       These are notification s from parti es close to

 2 Mr. Goodwin     to other parti es in order      for them    to make

 3 arrangements     and for some member s of that conspiracy            to

 4 decide   what they're    going to do and how they're         going

 5 to handle    his arrest .

 6 Q.       For example , call s made to people        who might be

 7 very concerned     that if Mr. Goodwin      had been arrested ,

 8 he might turn on them and tell somebody            about them --

 9 is that right ? -- and their par ticipation.

10 A.       Or to let them know that law enforcement            is --

11          MR. MARTIN:     Your Honor , I'm going to object           to

12 the speculation      call ed for in the question .

13          MR. WARD:     All right .     Well , I'm not going to

14 ask any further      question s.    Why don't you finish      that

15 one answer     and we will move on .

16          MS. JOHNSTON:      Your Honor , the witness       was

17 respond ing to the question        pose d by defense    counsel .

18          THE COURT:     Over ruled .

19          You may answer .

20          BY MR. WARD:

21 Q.       You were about to finish        your answer .

22 A.       For parti es associate d with Mr. Goodwin , once

23 they found out law enforcement         active ly involve d with a

24 member   of that conspiracy , to figure        out what step s

25 they were going to take --




                                                                Page 81
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 82 of 251



 1 Q.         In other words , for people -- according             to the

 2 government 's theory       of the case , people       who were

 3 involve d in the conspiracy           to protect    their flanks , in

 4 other words , and watch out ; is that right ?

 5 A.         Yes .

 6 Q.         All right , sir .       And we 've already    learn ed

 7 actually, thanks        to the kind stipulation         from Ms.

 8 Johnston     that Ms. Dobie was not involve d in any of

 9 those telephone        call s.

10            MS. JOHNSTON:         Objection .

11            Government    stipulate d that no call s were on this

12 chart involving        Ms. Dobie .

13            MR. WARD:     Well , this is the chart we're talk ing

14 about .    The point is , there is nothing           on this chart to

15 show that any of the people            involve d, according       to

16 government 's view , contact ed Ms. Dobie as a member                  of

17 the conspiracy        to watch out .

18            MS. JOHNSTON:         Objection .

19            That 's not what the government          stipulate d to .

20 The government        stipulate d to the fact that there are no

21 call s between       Ms. Martin     and Ms. Dobie listed     on that

22 chart .    That 's all the government          stipulate d to .

23            MR. WARD:     I understand     that , but then I'm

24 tak ing that       one step further .

25            THE COURT:     The objection        is sustained .     You're




                                                                     Page 82
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 83 of 251



 1 going to have to form it in a question .

 2           BY MR. WARD:

 3 Q.        All right .    I will put it in the form of a

 4 question , sir .      Let me think about this .       Let me come

 5 back to this , okay ?      I want to think about it .

 6           The point is , her name is not on here .

 7 A.        Her name is not on there .       That 's correct .

 8 Q.        If you did have evidence , sir , that call s had

 9 been made to her follow ing the arrest          of Mr. Goodwin      to

10 warn her or to tell her about the arrest             of Mr.

11 Goodwin , you would have certain ly made sure they were

12 on that chart so the jury can see them ; is that

13 correct , sir ?

14 A.        If I had a wiretap       at the time to know what the

15 nature    of the   contact s were , yes , I would .

16 Q.        All right , sir .      Let 's go now to chart number

17 CH-2 , I believe      it is .

18           MR. MARTIN:      Your Honor , one of my witness es is

19 sitting     in the courtroom .      I don't want him taint ed in

20 any way .

21           THE COURT:     No .    Ask him to excuse    himself , if

22 you would .

23           MS. GREENBERG:        Your Honor , he 's been here for

24 well over an hour ; is that right , Agent Snyder ?

25           MR. WARD:     I hope I haven't     taint ed him .




                                                                 Page 83
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 84 of 251



 1            MR. MARTIN:     I just noticed     him , Your Honor .

 2            THE COURT:     If he didn't     notice    him , then --

 3            MR. MARTIN:     It was just point ed out to me by

 4 Mr. Goodwin .

 5            THE COURT:     Counsel , please    be sure to turn

 6 around    and look in the back of the courtroom , because              I

 7 don't know     who the potential     witness es are .

 8            MS. GREENBERG:      Neither   does the government ,

 9 Your Honor .

10            THE COURT:     I understand .

11            MR. MARTIN:     When my client     tries to    turn around

12 sometimes     -- and none of these mar shals have done it --

13 marshals     have told him not to .      So if the marshals

14 would allow him to do that , it would be help ful .

15            THE COURT:     He can turn around        and look be hind

16 him , but please       -- we will deal with any issue s of

17 whether    he 's been taint ed later .

18            You may proceed .

19            MR. WARD:     Thank you , Your Honor .

20            BY MR. WARD:

21 Q.         I want to make sure I understand           this chart .

22 First of all, people        whose number s are in red are

23 defendant s in this case ; is that correct ?

24 A.         Yes .

25 Q.         All right , sir .    And the people       whose number s




                                                                 Page 84
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 85 of 251



 1 are in black are the people            who have been mention ed in

 2 this case throughout , and in some case s I think

 3 testifi ed but are not defendant s in this case ; is that

 4 correct , sir ?

 5 A.         None of the people        in black testifi ed .

 6 Q.         Oh , okay .   Well , they didn't      testify   then , but

 7 they're    not defendant s in this case ; right , sir ?

 8 A.         Not in this case .

 9 Q.         Do I understand , sir , that the call s that are

10 numbered     there -- the number s which call s are given are

11 a combination        of the pin register s and the intercept ed

12 call s some of which we've heard ?

13 A.         During    the intercept s, there is a pin register

14 run ning the entire       time .

15 Q.         Okay .

16 A.         The pin register        data includes   the intercept ed

17 contact s.

18 Q.         I see .    I'm glad you clarifi ed that , because         I

19 didn't    fully understand         that .

20            I think the point 's been made before , and I

21 don't want to beat a dead horse to death , but the fact

22 that there were , let 's say , 1, 268 contact s with these

23 phone s which you have identifi ed with my client              and

24 Paulette     Martin    between     September   2, '03 and 6-1-04.

25 Some of those were record ed and some were not .




                                                                  Page 85
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 86 of 251



 1 A.        Yes .

 2 Q.        All right , sir .    Now , let 's take the telephone s

 3 listed    there to Ms. Dobie .     I think two of them -- are

 4 two of them land line s, or that is they're            like

 5 permanent     phone s in the residence     and one is a cell

 6 phone ?

 7 A.        The 202 -882-37 38 and 37 39 are hard line s at 7427

 8 Ni nth Street .

 9 Q.        The other one is a cell phone .

10 A.        Yes .

11 Q.        This chart does not tell us who made the

12 "contact " as you call it , the 1, 268 contact s.

13 A.        That 's correct .

14 Q.        I think it 's fair to assume       that my client     made

15 some of them , but this chart does n't tell you how many

16 she made or whether      some were made by her husband          or

17 whether     some were made by one of her two son s, for

18 example .

19 A.        That would be correct .

20 Q.        Or whether   someone   else use d her cell phone to

21 make one of these call s; is that correct ?

22 A.        That 's correct .

23 Q.        All right , sir .

24           And this chart , like wise , does not tell us which

25 call s the government     deem s -- I don't want to say




                                                                 Page 86
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 87 of 251



 1 "in criminati ng " and which call s may be are maybe

 2 entire ly innocent       call s; is that right , sir ?

 3 A.         That 's correct .

 4 Q.         For example , if Ms. Dobie had call ed up Ms.

 5 Martin    and said , you know , I'm look ing to buy a new

 6 suit to , I don't know , go out to some special           occasion ,

 7 that would not be distinguish ed from any other call on

 8 there .

 9 A.         That 's correct .    This is just a chart of the

10 contact s.

11 Q.         All right , sir .    Now , when you say "contact s,"

12 this is call s both way s; is that right , sir ?

13 A.         Yes .

14 Q.         So we don't know if this 1,268 call s -- I'm just

15 giving    an example .     If 268 were from Lavon Dobie to

16 Paulette     Martin , or at least    one of the phone s

17 identifi ed with Paulette       Martin , and the other 1,000

18 from one of these phone s identifi ed as Paulette            Martin

19 to one of the phone s present ed by Lavon Dobie ?

20 A.         The chart does not reflect      that .

21 Q.         There 's no way , look ing at the chart , to know

22 that ?

23 A.         That 's correct .

24 Q.         All right , sir .   During   the period    that this

25 chart cover s, specifically        with respect     to Mr. Dobie --




                                                                Page 87
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 88 of 251



1 Ms. Dobie , rather , September        2, ' 03 to 6-1-04, and

2 based on the same information          that you used to prepare

3 this chart , can you tell us if Lavon Dobie made any

4 call s to Ruby Harden       or if Ruby Harden    made any call s

5 to her ?

6 A.         I cannot .

7 Q.         You certain ly have no evidence       that she did .

8 A.         That 's correct .

9 Q.         Do you have any evidence      that Lavon Dobie made

10 any call s to Learley      Goodwin   or that Learley    Goodwin

11 made any call s to Lavon Dobie ?

12 A.        All I have is her phone number        in his document s.

13 Q.        In his document s?

14 A.        Yes .

15 Q.        Other call s we're talk ing about here .        You have

16 no evidence       at all that there was any contact      between

17 those two telephone s.

18 A.        I did not have a dial number       record er , and I did

19 not receive       air time records   for Ms. Dobie .

20 Q.        All right .    Do you have any evidence      that during

21 the same period       of time , September -2-03 to 6-1-04, that

22 Lavon Dobie made any call s to Derrick         Bynum or that

23 Derrick    Bynum made any call s to Lavon Dobie ?

24 A.        No .

25 Q.        Do you have any evidence      that dur ing the same




                                                               Page 88
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 89 of 251



 1 period     of time , Lavon Dobie made any telephone            call s to

 2 LaNora Ali     or LaNora Ali      made any telephone       call s to

 3 Lavon Dobie ?

 4 A.         Not that I recall .

 5 Q.         Well , let me ask the same question           with respect

 6 to Reece W hiti ng .      Do you have any evidence         that Lavon

 7 Dobie , during       the time period    concerned , made any call s

 8 to Reece W hiti ng or that he made any calls to her ?

 9 A.         Not that I recall .

10 Q.         What about Milburn W alk er ?        Do you have any

11 evidence     that he made call s to her or she made call s to

12 him ?

13 A.         None that I recall .

14 Q.         Tiffany    Vessel s.   Same question .       Do you have

15 any evidence     that Lavon Dobie call ed Tiffany            Vessel s or

16 Tiffany     Vessel s call ed Lavon Dobie during          that time

17 period ?

18 A.         None that I recall .

19 Q.         The same question      with respect      to William    -- I

20 think this is Dog Turn er .         William     "D og " T urn er , that

21 during     that same time period       Lavon Dobi e made any call s

22 to him or he made any call s to her ?

23 A.         None that I recall .

24 Q.         What about Pernell      Phil pot ?    Same question .

25 During     the time period , do you have any evidence             that




                                                                    Page 89
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 90 of 251



 1 Lavon Dobie m ade any call s to him or he made any call s

 2 to her ?

 3 A.         None that I recall .

 4 Q.         The same question     with respect     to Larry Nunn .

 5 Any evidence     that she call ed him or he call ed her ?

 6 A.         None that I recall .

 7 Q.         And with respect    to Luis Mangual .      Any evidence

 8 that she call ed him or he called         her ?

 9 A.         None that I recall .

10 Q.         Gwen Levi .    Same question .    Do you have any

11 evidence    that Dobie call ed her or she called         Dobie --

12 Ms. Dobie ?

13 A.         There were telephone     intercept s indicati ng that

14 they knew each other , and she was attempt ing to get a

15 hold of Ms. Levi .

16 Q.         But that 's it .

17 A.         That 's all I recall .

18 Q.         You have no evidence     of any discussion s between

19 them .

20 A.         Not that I recall .

21 Q.         Specifically    discussion s where they're      talk ing

22 about un lawful    distribution     or {TRAF}     if I canning   in

23 narcotic    substance s.

24 A.         Not that I recall .

25 Q.         Finally , the same question      with respect    to




                                                                Page 90
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 91 of 251



1 George   Harris .     You have no evidence , is it correct , of

2 any telephone       call s between    Ms. Dobie and Mr. Harris

3 and vice versa , Mr. Ha rris to Ms. Dobie d uring that

4 same period       of time .

5 A.        None that I recall .

6 Q.        All right , sir .

7           The final chart I want to discuss           with you is

8 Chart 1, which is the one with the photograph s on it .

9 Now , this chart -- first of all , whose language             is this

10 distributors /facilitato rs?         Is that your s?

11 A.       That would be mine .

12 Q.       Huh ?

13 A.       I put this together .

14 Q.       The question        is , who put this

15 "distributor s/facilitato rs" there ?

16 A.       I did .

17 Q.       To reflect     your view as to , for example , Lavon

18 Dobie 's participation        or allege d participation     in this

19 enterprise ?

20 A.       To reflect     everyone    in this box 's participation .

21 Q.       I'm only interest ed in Lavon Dobie , you

22 understand .

23 A.       I understand .

24 Q.       So the answer        is , with respect   to Lavon Dobie ,

25 this reflect s your view that she was a distributor              or




                                                                Page 91
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 92 of 251



1 facilitato r.

2 A.        Yes .

3 Q.        All right , sir .

4           I believe    when Ms. Johnston         asked you -- you

5 said that by facilitat or or distributor , you meant , for

6 example , someone      who would purchase         for re sale or

7 someone    who could sell contraband            for high er -up s or

8 someone    who provided        legal advice .     Can we say safe ly

9 that you have no evidence           that Lavon Dobie ever offered

10 any legal advice      to member s of this , as you say ,

11 "Goodwin -Martin     Organization ?"

12 A.       She offered     advice    to John Martin      about

13 obtain ing a hoop die, and that would be kind of street

14 legal advice      I would --

15 Q.       A hoop die is an old wreck of a car ; right ?

16 A.       Yes .

17 Q.       Thing s you can buy cheap .

18 A.       Yes .

19 Q.       And you character ize that as sort of street

20 legal advice ?

21 A.       Yes .    If I'm tell ing you how to avoid the

22 forfeiture    law s of the state of Maryland           or the federal

23 forfeiture    law s, I would see that as being kind of

24 street   lawyer    advice .

25 Q.       We'll accept     that .




                                                                  Page 92
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 93 of 251



1             Other than that , did she give any legal advice

2 to your knowledge ?

3 A.          No .

4 Q.          With respect     to your opinion   that distributors

5 or facilitato rs purchase d for re sell .          Were any

6 controlled         buy s ever made from Ms. Dobie ?

7 A.          Not by member s of our investigation .

8 Q.          Were record ed telephone      call s where you 'd, you

9 know , bring an informant        in and have the person        make a

10 call to Lavon Dobie and say , hey , I want a cop for a

11 little   drug s or thing s like that and you record           it and

12 then come in court and testify           about that .     Do you have

13 anything     like that ?

14 A.         Outside    of the wiretap ?

15 Q.         Yes .

16 A.         Not by us .

17 Q.         Did you ever do any trash pick up s at Lavon

18 Dobie 's house to see if you could find evidence              of drug

19 distribution ?

20 A.         No .

21 Q.         I don't recall     -- I'll ask you .    Do you recall

22 any photograph        shown in this court to this jury which

23 show s Ms. Dobie show ing up , for example , at somebody 's

24 house or leavi ng somebody 's house or carry ing a bag in

25 or carry ing a bag out or anything          like that ?




                                                                 Page 93
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 94 of 251



 1 A.        Were any shown in this cram ?

 2 Q.        Yes , to this jury .

 3 A.        No .

 4 Q.        Do you know if any -- I'll call it "live

 5 surveillance ."      That is police officers       going out and

 6 follow ing somebody      and watch ing what they did .

 7           Any live surveillance        done on Lavon Dobie that

 8 led to evidence      of her , you know , deal ing drug s or

 9 hand ing over bag s or receiving         bag s or hand ing over

10 money or anything      like that ?

11 A.        Not that I recall .

12 Q.        All right , sir .

13           What about the pole camera s we've heard about .

14 There was a pole camera         that look ed over the front yard

15 of somebody 's house .      I think it was Ms. Martin 's

16 house .

17 A.        Yes .   810 Hayward A venue .

18 Q.        She didn't   appear      on any of the view s from that

19 pole camera , did she ?

20 A.        At nighttime    we would lose camera        capabiliti es .

21 Q.        I understand    that .     I guess that's    why you

22 didn't    show any nighttime       picture s.

23           The picture s you show ed to the jury .         She was n't

24 on any of them , was she ?

25 A.        Not that I recall .




                                                                Page 94
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 95 of 251



 1 Q.       All right , sir .

 2          Now , I think you were present        in the courtroom

 3 when Nathan      King testifi ed .    He was the son of Steve

 4 Brim out in California .        Do you remember     that , sir ?

 5 A.       Yes .

 6 Q.       And Nathan     King was the guy who would ferry

 7 drug s and money back and forth between          here and the

 8 west coast in his tractor        trail er ; is that right , sir ?

 9 A.       That 's correct .

10 Q.       And his stepmother      was a lady name d Bridget

11 Brim , I believe ; is that right , sir ?

12 A.       That 's my understand ing , yes .

13 Q.       In fact , he was asked if he recognize d anybody

14 on this chart , and he put , right next to my client 's

15 picture , "Bridgett B rim , NK, 6-14 -06 ."        You saw him do

16 that ; right , sir ?

17 A.       Yes .

18 Q.       You were in court when Mr. Echarte           testif ied.      I

19 think it was a Cuban gentleman .

20 A.       Yes .

21 Q.       He was asked to look at this chart too and see

22 if he recognize d anybody ; is that right , sir ?

23 A.       Yes .

24 Q.       At first he said , well , this -- point ing at

25 Lavon Dobie -- looks       a little    bit like Gwen Levi ; is




                                                                Page 95
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 96 of 251



 1 that correct , sir ?

 2 A.       I don't recall .

 3 Q.       Well , the jury I'm sure will recall          whether    or

 4 not that happened .

 5          You do remember     later on when I press ed him

 6 about being engage d in a, I don't know           what you call

 7 it, show up or whatever      of stolen      goods at some bar in

 8 D. C.   T hen he recognize d Lavon Dobie as being the

 9 woman who had the stolen        goods .     Do you remember     that ?

10 A.       I remember    some confusion       about that , but he did

11 acknowledge    meet ing somebody      in D. C. about some

12 jewelry .

13          MR. WARD:     All right , sir .      Agent , I don't think

14 I have any further      question s.       I do thank you .

15          THE COURT:     All right .

16          MR. WARD:     I thank the government        for the

17 stipulation s.

18          THE COURT:     We will take a recess        at this time

19 until high noon .

20                        (Jury excused at 11:40 a.m.)

21                        (Off the record       at 11 :40 a.m. )

22                        (On the record       at 12 :05 p.m. )

23          THE COURT:     Bring them in .

24          MS. GREENBERG:      Jus t a couple     of housekeeping

25 matter s.   One of the case agent s request ed that the




                                                                  Page 96
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 97 of 251



 1 juror s have been smili ng and say ing good morn ing .

 2 Could the court      just re mind them that the parti es

 3 aren't   allow ed to respond ?

 4          THE COURT:      I think I've done that , but I can do

 5 it again .

 6          MS. GREENBERG:      Thank you .

 7                        (Witness   resumes the     stand .)

 8                        (Jury return s at 12 :06 p.m. )

 9          MR. SUSSMAN :     If I might inquire .

10          THE COURT:      You may proceed .

11                          CROSS-EXAMINATION

12          BY MR. SUSSMAN :

13 Q.       Good afternoon .      In term s of what everyone       else

14 has done , could you step on down ?          We don't need to use

15 the easel .      We'll just do it by row here .

16          In terms of this chart and the organization .

17 It 's fair to say that all of these entiti es -- these

18 little   box es here have other box es who suppli ed them ;

19 is that right ?

20 A.       Yes .

21 Q.       In term s of -- I think you identifi ed that Juan

22 Encarnacion      and Luis Mangual    had a group of people       in

23 the Nunez C onnection ; right ?

24 A.       Not Mr. Mangual .      Mr. En car nacion   was being

25 suppli ed by the Nunez O rganization .         Mr. Mangual    was




                                                                Page 97
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 98 of 251



 1 being supplied       by his father     and brother s.

 2 Q.        Nunez was link ed with 26 people .           That was

 3 another     conspiracy ; is that right ?

 4 A.        Yes .

 5 Q.        We can assume       that all of these group s got their

 6 drug s from    some place ; is that right ?

 7 A.        Yes .    Cocaine    is not grown in the United      States .

 8 Q.        Is it fair to say that in terms of your

 9 investigation , this group was n't communicati ng

10 particular ly with this group ?

11           MS. JOHNSTON:         Your Honor , if we could perhaps

12 have counsel       identify   which group is "this group " and

13 "this group " so that the record          is clear .

14           THE COURT:     Yeah .     Could you do that , Mr.

15 Sussman ?

16           BY MR.    SUSSMAN :

17 Q.        You can see the chart .        Maybe that would help

18 you out .     If I have to read , I'll read .          Steve Campbell

19 and the Houston       Group was n't talk ing to Juan

20 Encarnacion ; is that right ?

21 A.        Not that I know of .

22 Q.        Okay .    Not that you know of .

23           And Juan     Encarnacion     wasn't   talk ing to Steve

24 Brim .

25 A.        Correct .




                                                                 Page 98
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 99 of 251



 1 Q.        Steve Brim , when he was alive , he was n't talk ing

 2 to Moises    Uriarte ; is that right ?

 3 A.        I have no information      that he was .

 4 Q.        Okay .    Now , there was some discussion        of that

 5 guy Echarte       testifi ed ; is that right ?

 6 A.        Yes .

 7 Q.        Echarte .    His testimony    was that at some point

 8 he was living       in Maryland   and he was supply ing cocaine

 9 to Ms. Martin .       That was his testimony ; correct ?

10 A.        Yes .

11 Q.        So he 's not on the chart there ; is that right ?

12 A.        That 's right .

13 Q.        So if we were ex tend ing the chart , then there

14 would be another       arrow and there would be Mr. Echarte

15 with cocaine       going to Ms. Martin .    Would n't that be

16 consistent    with the testimony       you've    heard ?

17 A.        Yes .

18 Q.        And Echarte     testifi ed that he was get ting his

19 cocaine   from a bunch of people        in Miami ; isn't that

20 right ?

21 A.        Yes .

22 Q.        And you had no information       that the people      in

23 Miami were talk ing to these people , the Uriarte            group .

24 A.        That 's correct .

25 Q.        Okay .    Or talk ing to any of these other group s,




                                                                Page 99
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 100 of 251



 1 just to make it easier .

 2 A.        That 's correct .

 3 Q.        In term s of the -- if we were diagram ming ,

 4 Echarte   also said he had a heroin          thing going ; is that

 5 right ?

 6 A.        Yes .

 7 Q.        And a marijuana      thing , also .

 8 A.        (No response.)

 9 Q.        Well , if you don't remember , you don't remember .

10 A.        I don't remember .

11 Q.        But heroin    you do remember ; right ?

12 A.        Yes .

13 Q.        He was get ting heroin , and he said he was just

14 sell ing it in D. C. to whoever         he sold it to ; right ?

15 A.        And Mr. Whiti ng .

16 Q.        If this chart were correct , you would show

17 Echarte   with cocaine      and Echarte   with his Miami source s

18 and Echarte       sell ing heroin   to whoever    he sold it to

19 down here ; right ?

20 A.        I dis agree with your statement , "if my chart was

21 correct ."    My chart is correct .

22 Q.        It may be correct      as far as      it goes , but you

23 could say there could be addition s to the chart ?

24 A.        Yes , but I could n't have      arrow s going all over

25 the place .




                                                                Page 100
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 101 of 251



 1 Q.         And people   add ed up on the chart ?

 2 A.         Yes .

 3 Q.         In term s of the people     down here in the bottom

 4 box .    They're    distributor s +/- , and +/- we would take

 5 it to mean "and /or ?"

 6 A.         Yes .

 7 Q.         Some are distributor s and some are facilitato rs.

 8 A.         Some are both .    Some are both .     That 's the end ,

 9 I guess .

10 A.         Yes .

11 Q.         In term s of Ms. Hard en over here .       There was no

12 evidence     that she was facilitati ng in the sense of

13 giving    advice , hidi ng thing s, look out , the kind of

14 thing s you might consider       facilitati ng ; right ?

15 A.         Not that I recall .

16 Q.         So she 's pure ly , in your schematic      and your

17 system , she 's a distributor ; is that right ?

18 A.         Yes .

19 Q.         I think you can take the stand again .          Thank you

20 very much .

21            In term s of the distribution .       There 's been some

22 discussion     about the eight ball and 3.5 grams ; correct ?

23 A.         Correct .

24 Q.         Okay .   Is it fair to say that the only -- well ,

25 the principal       way you would make money with an eight




                                                                Page 101
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 102 of 251



 1 ball is break ing it into very small amounts           and sell ing

 2 it as dime s or $20 .

 3 A.        That 's your most profitable      method .

 4 Q.        Right .    And that 's pretty   much what people      are

 5 into sell ing drug s for .

 6 A.        Or support ing their habit .

 7 Q.        Okay .    And again , hark en ing back to Michael

 8 Thurman .     He talk ed about sell ing $20 packet s of

 9 cocaine     and run ning up and down whatever       street   it was

10 -- up and down the boulevard          to find his customers ;

11 isn't that right ?

12 A.        I don't recall     that .

13 Q.        But he mention ed that he was a dime , $10 , $20

14 seller ; isn't that right ?

15 A.        I can't recall .

16 Q.        Okay .    You can't recall    that , but you would

17 agree that that 's the way you 'd make money out of 3.5

18 grams .

19 A.        Not entire ly , no .

20 Q.        Okay .    But that's   the most profitable     way to

21 sell it ; isn't that right ?

22 A.        Yes .

23 Q.        If you're    sell ing it in the most profitable         time

24 fashion , you need customers ; right ?

25 A.        To sell something , you need customers .           I agree .




                                                                Page 102
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 103 of 251



 1 Q.         Right .     And if you're    sell ing dime s and $20 s,

 2 you need a group of customers ; is that right ?

 3 A.         If that 's what you're       do ing .

 4 Q.         Okay .     Now , fair to say that Ms. Hard en first

 5 came to your attention         in early March of 2004 with the

 6 wiretap    going up or down , which ever way the wiretap           is ?

 7 A.         Yes .     I'm sorry .   It may not have been early .

 8 It was in March of 2004 .          I think you said "early ."        I

 9 just don't recall         what portion    of the month , but

10 sometime     in March .

11 Q.         When did the wiretap        start , if you remember ?

12 A.         The wiretap     start ed March 8, but I don't recall

13 which --

14 Q.         Which date , particular ly ?

15 A.         Right .

16 Q.         So between     March and the arrest     date for at

17 least for Ms. Hard en, it was June 1st of 2004 ; is that

18 right ?    Or June 2nd .      I'm not --

19 A.         The 1st or 2nd .

20 Q.         Right .     So that 's a period    of some three month s

21 more or less ; is that right ?

22 A.         Yes .

23 Q.         So that was a period        where you were aware who

24 she was and time you had to investigate             her ; isn't that

25 right ?




                                                               Page 103
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 104 of 251



 1 A.         Yes .

 2 Q.         As a matter of fact      , you did some surveillance

 3 in Baltimore        at her residence    in Dundalk;   isn't that

 4 right ?

 5 A.         An agent was sent to do surveillance          there , yes .

 6 Q.         Is it fair to say that agent didn't          observe   any

 7 illegal    conduct     and didn't    observe   any narcotic s

 8 activity     and didn't    observe    anything   of that sort ?

 9 A.         He just observe d her walk ing around        the

10 building .

11 Q.         Did you ever send the agent back again ?

12 A.         I did not .

13 Q.         And you're    not aware of any other further

14 observation s.

15 A.         I am not .

16 Q.         Okay .    Was a decision    made that it just was n't

17 worth it ?

18 A.         You're    going in many direction s.       I can't really

19 wall recall why we didn't           go back , but we had these     --

20 one of the defendant's lines.            We had many iron s in the

21 fire .

22 Q.         In addition    to the three month s prior to the

23 arrest -- J une 2004 arrest -- we're in July now , 2006,

24 and the investigation        to some ex tent has been on going

25 throughout     the two -year period ; isn't that right ?




                                                                 Page 104
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 105 of 251



 1 A.         Yes .

 2 Q.         Okay .   In term s of the two year s and three

 3 month s, how many of her allege d customers          have you

 4 locate d?

 5 A.         None .

 6 Q.         How many drug sale s have you or any other police

 7 officer     observe d her maki ng ?

 8 A.         None that I'm aware of .

 9 Q.         Okay .   And how many time s in -- to your

10 knowledge     has she been arrested      in Baltimore    or any

11 other place with a drug sale ?

12 A.         None that I'm aware of .

13 Q.         Okay .   Now , it 's fair to draw from your

14 experience , drug s are basically        a cash and carry

15 business ; isn't that right ?

16 A.         No .

17 Q.         Well , most drug transactions      are for cash paid

18 on the spot , would n't you say ?

19 A.         It depends   on what level .     At a certain    level

20 they get -- you get them on the front .

21 Q.         Well , one thing 's clear :     Drug seller s don't

22 take Master Card or Visa , thing s like that ; is that

23 right ?

24 A.         I'm sure somebody   has .     None that I've run

25 across .




                                                               Page 105
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 106 of 251



 1 Q.         Okay .    And it 's not usual that in your

 2 experience     that people      in the drug trade write check s

 3 either , is it ?

 4 A.         I find it odd , but it happen s.       I've    seen it

 5 happen     in other investigation s.

 6 Q.         Right .    But you find it extreme ly un usual ; is

 7 that right ?

 8 A.         In the drug trade , there 's not a lot of trust .

 9 Usually , you don't accept         a check from somebody .

10 You're     afraid    they're   -- a user is going to bounce      it

11 on you .     They're    going to write you a bad check and run

12 away with your drug s.          Usually , you like to see the

13 green cash .

14 Q.         Well , when you sell drug s, you get cash as a

15 general     rule , isn't that true ?     Especially      small

16 amount s.     Maybe I have to re phrase     that to make that

17 clear .

18 A.         No , that 's usual .

19 Q.         Yeah .    And then you take your cash and you go

20 out and buy more drug s; is that right ?

21 A.         Sometimes .

22 Q.         Well , not all , but you take somebody         out for

23 high living     and whatever      else you're   sell ing drug s for .

24 A.         A lot of people      that sell drug s don't live high

25 off the hog .




                                                                Page 106
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 107 of 251



1 Q.         General ly speak ing , you get paid in cash and you

2 have available        cash when you sell drug s; is that right ?

3 A.         Not if you get paid by check .

4 Q.         Well , we're talk ing about the general        rule here .

5 The general        rule is cash on the barrel     head ; correct ?

6 A.         General ly , it 's cash on the barrel       head ?

7 Q.         Right ?

8 A.         Yes , unless    it 's front ed .

9 Q.         There 's no evidence     of any front ing in

10 connection       with Ms. Hard en ; is that right ?

11 A.        That 's correct .

12 Q.        You never saw any ledger s indicati ng any debt s

13 on her part or anything        owe d; is that right ?

14 A.        I believe    that 's correct .

15 Q.        In fact , in term s of your familiarity        with the

16 paperwork , it 's fair to say there was no mention              of Ms.

17 Hard en in any of the search es that you did with the

18 exception     of her own home ; is that right ?

19 A.        No .

20 Q.        You're    agree ing with me or --

21 A.        I'm dis agree ing with you .       Her phone number     -- I

22 believe    her phone number s are at Ms. Martin 's

23 residence .

24 Q.        Obvious ly she knew Ms. Martin ; right ?

25 A.        You said at any of the location s.




                                                                  Page 107
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 108 of 251



 1 Q.        Okay .   At any of the location s with       the

 2 exception    of Ms. Martin .

 3 A.        That would be correct .

 4 Q.        And her name didn't        appear   in any paperwork    of

 5 any of the place s that were search ed and through             the

 6 document s you inspect ed .

 7 A.        Other than her residence .

 8 Q.        Other than her residence .

 9           Okay .   Now , let me just ask you about Chart 13 .

10 I think it 's 13 .      I'm just going to show you this or --

11 not show it to you .          Depend ing on --

12           THE CLERK:     Y ou need to change      it over .    It 's on

13 video .

14           MR. SUSSMAN :       There 's so many button s.      We seem

15 to have a technical          problem .   Maybe we'll use the real

16 -- the larger      chart .

17           MS. GREENBERG:        It 's right here , Mr. Suss man .

18 It 's back here .

19           MR. SUSSMAN :       This board ?

20           MS. GREENBERG:        That one says 13 .    Keep going .

21           BY MR. SUSSMAN :

22 Q.        Here we go .

23           All right .     Just brief ly , just to re mind you of

24 the chart and everyone          else .   It list s all the check s

25 over a period      of time ; isn't that right ?




                                                                 Page 108
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 109 of 251



 1 A.        Yes .

 2 Q.        And it start s the first check May 26 , 2000 , and

 3 the last check is March 30 , 2004 ; is that right ?

 4 A.        Those are the post date s, yes .

 5 Q.        By my calculation , that 's a period        of about 46

 6 month s, if you want to just check me on that .

 7 A.        That 's accurate .

 8 Q.        Just a couple     month s short of four year s.

 9 A.        Yes .

10 Q.        Okay .    And in term s of the amount s.       The amount s

11 vary .    $ 123 .60 .   I don't have   to recall   them all , but

12 did you ever add up the amount s?

13 A.        Yes .

14 Q.        Well , we can check our math together          here .   Did

15 you get $2,363 ?

16 A.        Yes .

17 Q.        Okay .    And that 's $2,363    over a period    of four

18 year s.     If you divide    that by 46 month s, did you do

19 that calculation ?

20 A.        No .

21 Q.        Would you accept      the fact that that 's about $50

22 a month ?

23 A.        Sure .

24 Q.        And about $10 or $12 a week ?

25           Four week s in a month .       That 's what I use d.




                                                                Page 109
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 110 of 251



 1 A.        Sure .    Sure .

 2 Q.        Would you agree on that one ?

 3 A.        Sure .

 4 Q.        Now , let me just turn to your general

 5 familiarity     with the paperwork        in this case .       The

 6 document s taken in the search es came to you ; is that

 7 accurate ?     Or whatever     came in the search .

 8 A.        Right .     Eventually     I re view ed the document s.

 9 Q.        Okay .    And you said there were about 26 search

10 search es total .

11 A.        I believe     it was approximately       26 search

12 warrant s and then other event s also .            Arrest s.

13 Document s.     Right from -- arrest s of individuals ,

14 traffic   stop s, seizure s and the like .

15 Q.        Okay .    So of that mass of document s we've

16 establish ed , none of those document s, with the

17 exception     of something     in Ms. Martin 's house that you

18 recall , had anything        to do link ed -- mention ed Ms.

19 Hard en or any reference           to her ; is that right ?

20 A.        Outside     of Ms. Martin 's and Ms. Hard en 's .

21 Q.        Right .     Exact ly .

22 A.        Correct .

23 Q.        Okay .    In term s of your analysis       of phone

24 records   or pin register s, whatever , you were able to

25 turn up no phone traffic            between   Ms. Hard en and any of




                                                                   Page 110
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 111 of 251



 1 the people     depicted     in that chart with the exception            of

 2 Ms. Martin ; is that right ?

 3 A.         Correct.       With the DNRs I had available .

 4 Q.         Well , you also had phone records         available ;

 5 isn't that right ?

 6 A.         Right .

 7 Q.         Because     you said the air time records       were

 8 outside     the time periods      of the pin register ; isn't

 9 that right ?

10 A.         Yes , some .

11 Q.         Did you do a pin link register , if that 's the

12 right term ?

13 A.         Pin link --

14 Q.         I guess it 's not the right term ?

15 A.         I have     a pin register    DNR, and we utilize       pin

16 link .

17 Q.         Well , the technology       allow s you to , when you do

18 pin register , to run a computer           program   to see if any

19 of the people        on the pin register     talk ed to any of the

20 people     on the pin register .

21 A.         Yes .     If that data is in the system .       If we have

22 that data to -- you can't conduct            a search   of data you

23 do not have .

24 Q.         I'm not sure I understand        the question    -- the

25 answer .     Did you try to establish        who would talk to




                                                                Page 111
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 112 of 251



 1 who , other than direct        contact   with one particular

 2 person ?

 3 A.         Sure .

 4 Q.         Were you able to turn up any contact          between   Ms.

 5 Hard en and of the other people          who were mention ed in

 6 the chart or on the other chart the phone register

 7 chart ?

 8 A.         Not with the date I had .

 9 Q.         Okay .   Now , you were not present      when Ms.

10 Hard en 's home was search ed ; isn't that right ?

11 A.         That 's correct .

12 Q.         Okay .   But you were furnish ed with the report         of

13 -- from the search ing officer s; isn't that right ?

14 A.         Yes .

15 Q.         And you know exact ly what was found and what was

16 not found ; is that right ?

17 A.         Loose ly , yes .

18 Q.         We'll see how loose your recollection           is .

19            Consistent   with your recollection       -- I haven't

20 done this in a while , so let me think .           Is it

21 consistent     with your recollection       that there were no

22 drug s trace amount s residue s found in Ms. Hard en 's

23 apartment ?

24 A.         There were none re covered .

25 Q.         If they had been found , they would have been




                                                                 Page 112
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 113 of 251



 1 re covered ; isn't that right ?

 2 A.        I would hope .

 3 Q.        No packaging      materials   like plastic    baggi es ,

 4 thing s of that nature ; is that correct ?

 5 A.        That 's my knowledge , yes .

 6 Q.        No cut ting agent s.

 7 A.        Correct .

 8 Q.        No safe s or vault s of any kind ?

 9 A.        Correct .

10 Q.        No scale s?

11 A.        Correct .

12 Q.        No police      scanner s or surveillance     camera s.

13 A.        Correct .

14 Q.        You weren't      inform ed of any special     security

15 de vice s?

16 A.        No .

17 Q.        Okay .    Now , in term s of the application       for a

18 warrant .      In fact    -- for all of the warrant s, one of

19 the thing s that you look for are drug ledger s; isn't

20 that right ?

21 A.        Yes .

22 Q.        Do you recall      specifically   the application        for

23 the warrant       said that drug traffickers     must maintain

24 records      in order    to show the current   status   of the

25 various      illegal    transactions , the amount    of profit s




                                                                Page 113
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 114 of 251



 1 from them , and the expense s incurred          -- inciden tal to

 2 the collection        and distribution     process ?   Do you

 3 remember     that language     in the affidavit ?

 4 A.         Not specifically .

 5 Q.         Do you want to refresh        your recollection ?

 6 A.         I didn't    write the affidavit .

 7 Q.         But you've    seen it .

 8 A.         In probably    May of 2004 I saw it .

 9 Q.         It would    be fair to say the same affidavit          was

10 use d in connection       with all of the Maryland        search es

11 with some change s.

12 A.         I believe    so , yes .

13 Q.         Okay .    And do you want to refresh        your

14 recollection        on that , or do you want to just accept

15 that I can read ?

16 A.         I believe    you can read , Mr. Sussman .

17 Q.         Okay .    Well , is it fair to say that the search

18 of Ms. Hard en 's apartment          turn ed up no drug ledger s of

19 any kind ?

20 A.         That 's correct .

21 Q.         No address es or phone number s of any of the

22 allege d co conspirator s?

23 A.         That 's correct .

24 Q.         You're    not aware of any item s personal         item s of

25 high value ?




                                                                  Page 114
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 115 of 251



 1 A.        That 's correct .

 2 Q.        No jewelry ?

 3 A.        None that I'm aware of .

 4 Q.        No ex pen sive appliance s, plasma TVs, thing s like

 5 that ?

 6 A.        I'm not aware of that .

 7 Q.        No razor blades or money wrapper s?

 8 A.        None that I'm aware of .

 9 Q.        No evidence    of safety   deposit   box es ?

10 A.        None that I'm aware of .

11 Q.        No false bottom     Gunk contain er s or Pepsi bottle s

12 or anything    like that ?

13 A.        None that were found .

14 Q.        Are you aware that she gave consent             to search

15 her truck next to her apartment ?

16 A.        I'm not certain     of that .

17 Q.        Okay .   But if nothing    was found , that might be

18 an event that didn't       merit inclusion     in the report ;

19 right ?

20 A.        Possibly .

21 Q.        Okay .   Now , you did seize her computer ; isn't

22 that right ?

23 A.        I don't know .

24 Q.        Well , that would be something       you traditionally

25 would seize to take a look and see what kind of records




                                                                 Page 115
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 116 of 251



1 are on it ; isn't that right ?

2 A.          Possibly , yes .

3 Q.          Do you recall      that nothing    significant   was found

4 on it ?

5 A.          I don't know    that we seize d her computer .

6 Q.          Well ?

7 A.          But if we did , and there was something

8 significant , I would know .

9 Q.          Then you have      no recollection    of return ing it to

10 her ; isn't that right ?

11 A.         That 's correct .

12 Q.         Okay .    T he search ing agent s did seize a bunch of

13 paperwork ; isn't that right ?

14 A.         Yes , and a cell phone .

15 Q.         Okay .    Well , let me do the cell phone s first .

16 They take the cell phone s for a variety            of reason s.

17 One of the reason s they take the cell phone s is because

18 the cell phone s have memori es ; isn't that right ?

19 A.         Yes .

20 Q.         And you can see the last -- I don't know .             You

21 can see the last some period          of time call s made and

22 received     on a cell phone ; right ?

23 A.         Each cell phone is different         but , yes , some have

24 that capability .

25 Q.         Right .    Some have address      book s in them and




                                                                Page 116
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 117 of 251



 1 thing s of that nature ; right ?

 2 A.        That 's correct .

 3 Q.        Are you aware of anything        from an evidentiary

 4 standpoint       that was retrieved   off of Ms. Hard en 's cell

 5 phone ?

 6 A.        If I could refer to my note s I could .

 7 Q.        Sure .

 8 A.        I didn't     note what was done with that telephone .

 9 Q.        Right .     We live by our note s,

10 A.        We live by the note s we have with us , but I

11 don't have       those note s with me .

12 Q.        You didn't     bring all your weapon s to war here

13 today ?

14 A.        No .

15 Q.        But you don't have anything        in your note s that

16 you have here today that would indicate            that any thing

17 significant       came off the cell phone s.

18 A.        Correct .

19           MR. SUSSMAN :     If I could approach      the witness .

20           THE COURT:      You may .

21           BY MR. SUSSMAN :

22 Q.        I'm going to show you what's         been mark ed as

23 Harden    Exhibit 1    and ask you to take a look at that .

24 Just in the interest       --

25           MS. JOHNSTON:       Your Honor , ordinar ily the




                                                                Page 117
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 118 of 251



 1 government     would object        because   this is beyond     the

 2 scope of the government 's direct             examination    but , in

 3 order to expedite       matter s, we will not object .

 4            THE COURT:      All right .

 5            MR. SUSSMAN :     I don't know      what to say .

 6            THE COURT:      There is no objection .          Accept    gift s

 7 when they're       given to you .

 8            MS. JOHNSTON:      I would appreciate       some leeway ,

 9 if necessary , on re direct .

10            THE COURT:      Yes .    I will rein you in if you go

11 too far .

12            MR. SUSSMAN:      I may need to sit down for a

13 second , Judge .

14            BY MR . SUSSMAN:

15 Q.         Take a look .

16 A.         Yes .

17 Q.         Is that -- basically , are those the document s

18 that were taken out of Ms. Hard en 's home , to your

19 recollection ?

20 A.         I don't know .

21 Q.         Have you seen those document s before ?

22 A.         I don't recall     i f I've seen these before .

23 Q.         In keep ing with your duti es , you said that part

24 of your duti es was to re view the documentation                and the

25 evidence     that was seize d from a variety         of search




                                                                   Page 118
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 119 of 251



 1 location s.        Is that to re view only the evidence        of --

 2 that the government        want s to put on , o r is that what

 3 you did with all the evidence ?

 4 A.         No .    I re view ed all of the evidence .

 5 Q.         You have no recollection         of see ing any of the

 6 document s seize d from Ms. Hard en 's home .

 7 A.         I'm sure I did .       These just don't -- I can't say

 8 that I look ed at these document s that -- that I

 9 remember     these document s in particular .

10 Q.         Do you recall       that there were a variety       of

11 document s seize d from Ms. Hard en 's home were consistent

12 with her truck ing business , thing s of that nature ?

13 A.         I believe    so .

14 Q.         And you don't know whether         these are those .

15 A.         Yes .    That 's my -- I don't know       if these are the

16 exact document s.

17 Q.         But from your analysis         of those document s, those

18 are document s having          to do with the truck ing business

19 and freight        haul ing as a general    rule .

20 A.         Yes .    Exportation    to Lagos , Nigeria .

21 Q.         Is that for car s or something        like that ?

22 A.         Yes .    It appear s to be .

23            MR. SUSSMAN :       A moment 's indulgence .

24            I think that 's it for me .        Thank you , Judge .

25            THE COURT:      All right .     Mr. McKnett .




                                                                  Page 119
       Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 120 of 251



 1            MR. MCKNETT :       Yes , Your Honor .   Thank you .

 2                                 CROSS-EXAMINATION

 3            BY MR. MCKNETT :

 4 Q          Good afternoon.

 5 A.         Good afternoon.

 6 Q.         I'll let you sit for a few minutes.

 7 A.         I'm fine.

 8 Q.         I want to start with some of the evidence you

 9 identified.       Specifically, you identified or talked

10 about Government Exhibit           Goodwin 19, which was      Mr.

11 Goodwin's phone book.

12            Do you remember that?

13 A.         Possibly.

14 Q.         Let me just --

15 A.         If you could --

16 Q.         I apologize,       Your Honor.    I left the exhibit

17 back here.        Actually,    I'm not sure where      I left it,

18 Your Honor.         I'll talk about it a little bit.

19            Detective, let me show this to you just to

20 refresh your recollection on this.

21            Do you remember that?

22 A.         Yes.

23 Q.         That's that little -- actually, it's a calendar

24 book, isn't it?

25 A.         Yes, a date -- a small day planner/calendar.




                                                                  Page 120
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 121 of 251



 1 Q.         It appears to have been used to write down names

 2 and phone numbers and such; correct?

 3 A.         Yes.     It was used as a phone book rather than a

 4 planner.

 5 Q.         Okay.    And on one of the pages in there -- if

 6 you want to look for it, that's fine, but one of those

 7 pages has    Ms. Ali's name on it.

 8 A.         Yes.

 9 Q.         I think it's on the day for -- it is January 4

10 -- January 1st of '04.

11 A.         Yes.

12 Q.         I can't make this work.

13            MS. JOHNSTON:     It's not working.

14            MR. MCKNETT :     It's not working?

15            It doesn't seem to be working,         Your Honor -- the

16 projector.

17            THE CLERK:     May    I walk down,   Your Honor?    May       I

18 walk down?

19            THE COURT:     Oh, sure.   Yeah.

20            MR. MCKNETT :     Your Honor, that's all right.           I

21 can move on without the projector.         Thank you.

22            BY MR.    MCKNETT :

23 Q.         It's on the entry for       January 1st '04; correct?

24 It says, " LaNora Ali," and then a phone number?

25 A.         Yes.




                                                                 Page 121
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 122 of 251



 1 Q.       "(301) 853-8035;" is that correct?

 2 A.       That's correct.

 3 Q.       There are no ledger sheets in this book, are

 4 there?

 5 A.       No.

 6 Q.       There are no lists of dollar amounts.

 7 A.       That's correct.

 8 Q.       There are no lists of what might appear to be

 9 quantities of some substance.

10 A.       Not that    I recall.

11 Q.       In fact, all this book contains is a number --

12 perhaps dozens -- it appears to be dozens -- and maybe

13 hundreds -- of names and phone numbers; correct?

14 A.       Yes.

15 Q.       It's not your testimony -- is it your opinion

16 that everybody whose name is in this book is involved

17 in drug-related activity?

18 A.       No, that's not my testimony.

19          MR. MCKNETT :     May I retrieve the exhibit,         Your

20 Honor?

21          THE COURT:     You may.

22          BY MR. MCKNETT :

23 Q.       Thank you.

24 A.       Sure.

25 Q.       Now, I want you to come down into the well, if




                                                                Page 122
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 123 of 251



 1 you would please.

 2           I'd like to start with Chart 4, the chart that's

 3 captioned "Telephone Activity" following the November

 4 25, 2003 arrest of      Goodwin; correct?

 5 A.        Yes.

 6 Q.        Just what is it that you wish the jury to draw

 7 from this chart?

 8 A.        This is a list of some contacts between            Paulette

 9 Martin's phone and other members of the conspiracy.

10 Q.        And in your opinion, why are those contacts

11 important?

12 A.        After the arrest of      Mr. Goodwin, there was a

13 series of phone calls, starting with a call from

14 Constance    Goodwin.   And then     Ms. Martin is calling        Mr.

15 Goodwin's cellular phone, and what appears to be an

16 attempt to reach them; then another call to              Constance

17 Goodwin; then a call to Reece         Whiting, who we talked

18 about earlier -- he apparently had a legal background

19 -- and then a call again trying to reach             Mr. Goodwin;

20 then a call to     Constance    Goodwin; then a call to        John

21 Irby's phone, an associate of         Mr. Goodwin; and a series

22 of calls to individuals associated with            Mr. Goodwin.

23           Then a call to Constance       Goodwin; two calls from

24 Constance    Goodwin; another call to        Constance    Goodwin; a

25 call to   Reece Whiting; a call from         Paulette to




                                                                Page 123
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 124 of 251



 1 Goodwin's cell phone again; a call to            Larry Lane's cell

 2 phone; a call from      Larry Lane's cell phone; a call to a

 3 law office; a call from        Michael   Thurman to     Ms.

 4 Martin; a call from       Constance   Goodwin to     Ms. Martin;

 5 calls between     Constance    Goodwin and    Martin.

 6          Interspersed with those are calls to the firm of

 7 Houlan and Berman, a law firm; more calls from                Mr.

 8 Thurman to    Ms. Martin; more calls from         Ms. Martin to

 9 Constance    Goodwin's phone; a call from         John Irby to       Ms.

10 Martin and we, in turn, intercepted calls with them.

11          Seven calls from      Ms. Martin to Mr. Irby's phone;

12 a call to    Ms. Constance Goodwin; two more calls to               Mr.

13 Whiting; another call to        Constance    Goodwin; a call from

14 Constance    Goodwin to    Ms. Martin; then calls between --

15 interspersed with these calls with           Constance    Goodwin

16 are calls to a bail bond company; calls to              Mr. Irby;

17 two c alls to    Mr. Whiting and so on, up until the day

18 after his release.

19 Q.       Well, you've accurately told us what's on the

20 chart but, again, what is it about these calls that, in

21 your expert opinion, makes them significant enough to

22 select them out from all the other calls and put them

23 on this chart?

24 A.       These are calls, in my opinion, between the

25 post-arrest emergency calls between           Martin and other




                                                                 Page 124
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 125 of 251



 1 members of the conspiracy that have close ties to                Mr.

 2 Goodwin.     They are not all the calls.     They're the ones

 3 reflected on the chart.

 4 Q.         LaNora   Ali's name is not on that chart, is it?

 5 A.         No, it's not.

 6 Q.         And you do know, do you not, that         Ms. Ali knew

 7 this Mr. Goodwin?

 8 A.         I believe so.

 9 Q.         And that at least occasionally interacted with

10 him in one fashion or another; correct?

11 A.         Yes.

12 Q.         You knew that they would be at        Ms. Martin's

13 house at the same time on occasion; correct?

14 A.         Yes.

15 Q.         And they would talk on the phone.

16            Let me rephrase that.    There were conversations

17 you're aware of,        I believe, where    Ms. Ali's husband and

18 Mr. Goodwin talked on the phone.

19 A.         I can't specifically tell you but, yes,           I

20 believe there was contact between           Ms. Ali, or

21 indications on the phone that         Ms. Ali was in contact

22 with Mr. Goodwin.

23 Q.         Again,   Ms. Ali is not on that chart; is she?

24 A.         That's correct.

25 Q.         The chart,    CH-4 -- I don't have the --       I forget




                                                                Page 125
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 126 of 251



 1 the chart number, but the chart that has to do with                Ms.

 2 Harden's checks.     You don't have to put that one up.                 I

 3 just wanted to refer your attention to it.

 4            There's no similar chart with regard to           Ms. Ali,

 5 is there?

 6 A.         That's correct.

 7 Q.         Can we go to Chart 1 now?

 8            In that lower box, Chart 1, you have, as you've

 9 been asked before, the box labeled "Distributors and/or

10 Facilitators;" correct?

11 A.         Yes.

12 Q.         And Ms. Ali is in that box; correct?

13            In fact, she is in the upper left coner of that

14 box.

15 A.         Yes.

16 Q.         You can return to the witness stand.       Thank you.

17            You described, in your direct testimony, that a

18 "facilitator"     is someone who provided advice -- legal

19 advice or helped move contraband from one place to

20 another or, as a distributor, would buy for resale;

21 correct?

22 A.         That's some of the -- that's some of the

23 possible definitions of "facilitator."

24 Q.         Those are the three that you identified

25 specifically,     I believe, in your direct examination.




                                                                Page 126
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 127 of 251



 1 A.       That's accurate,      I believe.

 2 Q.       Is it your opinion that        Ms. Ali was providing

 3 legal advice to      Ms. Martin?

 4 A.       No.

 5 Q.       Is it your opinion that        Ms. Ali helped move

 6 contraband from one place to another during the course

 7 of this conspiracy?

 8 A.       Yes.

 9 Q.       And it's your opinion that         Ms. Ali helped     Ms.

10 Martin move contraband?

11 A.       Yes.

12 Q.       When, in your expert opinion, did she do that?

13 A.       May 16 of 2004.

14 Q.       That was the occasion we saw on the pole cam

15 video; correct?

16 A.       Yes.

17 Q.       Part of it.    We saw the original stages on the

18 pole cam, and then there was --          I apologize.      I forget

19 the name of the officer who testified about his

20 surveillance at the dance studio; correct?

21 A.       Roger St . Louis.

22 Q.       Yes, thank you.

23          And the pole cam showed -- let's take -- back

24 that up a little bit.

25          There was a phone call before          Ms. Ali went to




                                                                Page 127
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 128 of 251



 1 Ms. Martin's house, wasn't there?

 2 A.       Yes, there was.

 3 Q.       Do you recall that phone call?

 4 A.       I recall the essence of it, yes.

 5 Q.       That was a phone call in which          Ms. Martin called

 6 Ms. Ali and said, in sum, that           Ms. Martin wanted     Ms.

 7 Ali to help her move something to the school; correct?

 8 A.       My recollection is she said, leave your husband

 9 at home, and she gave her a cover story when she told

10 her to come to the house and to tell           Ms. Terrell --

11 Q.       Well, let me show you a transcript of that, just

12 possibly to fully refresh your recollection.

13          It's call    A-1670.

14          MS. JOHNSTON:        Page number?

15          MR. MCKNETT :       Page 525.    I'm not sure what book

16 that's in.     Book three.

17          May I approach,       Your Honor?

18          THE COURT:     Yes, you may.

19          BY MR. MCKNETT :

20 Q.       Officer,    I'm going to show you my copy.       It's

21 marked up, highlighted and such.         You can ignore all

22 that stuff.

23          Ms. Martin says that she wants          Ms. Ali to leave

24 her husband and that she had something she wanted to

25 do; correct?




                                                                 Page 128
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 129 of 251



 1            I'm paraphrasing.

 2 A.         "I got to work on something" is,         I think, what

 3 you're referring to.

 4 Q.         "I got to work on something."

 5            And then what does she say?

 6 A.         Then, " I'm going past your house and take

 7 something."

 8 Q.         "And take something?"

 9 A.         Yes.

10 Q.         Where?

11 A.         Ms. Ali's house.

12 Q.         Did she say where she wants to take something?

13 A.         To her house.

14 Q.         Excuse me?

15            I apologize.

16 A.         I believe she's referring to       Ms. Ali's house,

17 but --   Mr. McKnett , I can retrieve my copy of the

18 transcript book.

19 Q.         That would be helpful.

20            Do you have it there?

21 A.         Yes.

22 Q.         Thank you.

23            This doesn't transcribe the entire conversation,

24 does it?     It picks up about 43 seconds in; is that what

25 it says there?




                                                                Page 129
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 130 of 251



 1 A.         That's correct.

 2 Q.         And it starts out with      Ms. Ali saying, "Yes."

 3 And then    Ms. Martin says, "Yes,       I need you."      Ms. Ali

 4 says, "Uh-huh" -- interrupts her to say, "Uh-huh," or

 5 talks over what       Ms. Martin is saying.

 6            And then   Ms. Martin says to, "leave your husband

 7 home and come take me to the school.             I got to take

 8 something there."

 9            Ms. Ali again talks over, says, "Uh-huh."

10            Ms. Martin says, "    I got to work on something."

11 And then    Ms. Ali says, "Okay."

12            And then   Ms. Martin says, "Then      I'm going past

13 your house and take something."           Ms. Ali says, "Okay."

14            And then   Ms. Martin suggests the cover story;

15 correct?

16 A.         Yes.

17 Q.         And then the conversation effectively ends.

18            Ms. Martin says, "That's important.        "   Ms.   Ali

19 says, "Give me about 15 minutes," and then the

20 conversation ends.

21            But Ms. Martin doesn't say, does she, that            I'm

22 going to take the drugs to the school, does she?

23 A.         I believe she does.

24 Q.         Well, she doesn't say,      I got to take the drugs

25 there, does she?




                                                                Page 130
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 131 of 251



1 A.          Not in those words, no.

2 Q.          She doesn't say,     I got to take the tickets

3 there, does she?

4 A.          No.

5 Q.          She doesn't say anything -- well, let me take

6 that back.

7             Are you -- is it your opinion that the word

8 "something" is code language?

9 A.          That, combined with the "leave your husband at

10 home" instruction and the cover story would indicate

11 that that's her way of conferring that knowledge to               Ms.

12 Ali.

13 Q.         That's your opinion; right?

14 A.         That's correct.

15 Q.         And on    May 16 of 2004, it had become your firm

16 opinion that        Ms. Ali was involved in drug activity;

17 correct?

18 A.         By May 16?

19 Q.         Right.

20 A.         Yes.

21 Q.         So any opinion you draw from this conversation

22 is going to be based on at least, in part, your already

23 preconceived opinion that         Ms. Ali is involved in drug

24 activity; correct?

25 A.         No.    You still have to look at each call




                                                               Page 131
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 132 of 251



1 individually.       There's some calls that occurred after

2 we came to the opinion that         Ms. Ali was involved in

3 drug trafficking that were still not drug trafficking

4 calls, and we managed to make that determination of

5 which calls were drugs and which were not.

6 Q.          But your opinions start from the premise that

7 Ms. Ali is involved in drug activity.

8 A.          No.   The premise was developed based on the

9 calls.      The premise didn't start out that way.      The

10 calls indicated that.

11 Q.         Are you saying that you interpreted this

12 conversation in a total vacuum, and the fact that you

13 had already determined in your mind that            Ms. Ali was a

14 drug trafficker did not affect your interpretation of

15 this conversation at all?

16 A.         We have to look at each call.    We have to look

17 at each call and listen to what it says and listen to

18 what the parties are saying, along with the other

19 activity that's going on, to base -- to form an

20 opinion.     You don't look at the call and say, this is a

21 drug trafficker, so what does this mean in regards to

22 drugs?     You listen to the call and see what the call

23 indicates, as well as the surveillance, as well as the

24 other activity and the other calls.

25 Q.         Part of your analysis of this conversation




                                                                Page 132
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 133 of 251



1 involved your already formed opinion that             Ms. Ali was

2 involved in drug trafficking.

3 A.         Yes.

4 Q.         So what this conversation says is that          Ms.

5 Martin wants       Ms. Ali to help her do something without

6 Ms. Ali's husband's knowledge.

7 A.         That's part of it.    The second part is a cover

8 story for her roommate.

9 Q.         Okay.   And also, to help     Ms. Martin do something

10 without   Ms. Martin's roommate's knowledge.

11 A.        Yes.

12 Q.        That's what the conversation says.

13 A.        Yes.

14 Q.        And it's your opinion that what        Ms. Martin wants

15 Ms. Ali to help her with is to move drugs.

16 A.        It's my opinion that that's what the

17 conversation says.

18 Q.        Well, the conversation says what it says.       The

19 words are the words.     Your interpretation is your

20 interpretation.

21 A.        That's what listening is.     It's always an

22 interpretation.     The jury is interpreting my words

23 right now, and they're interpreting your questions.

24 I'm interpreting your questions.       You always make a --

25 you have to make an interpretation of what --




                                                               Page 133
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 134 of 251



 1 Q.         That's fine.

 2 A.         -- what is said.

 3 Q.         And what happened here on       May 16, at 5 :50 in the

 4 afternoon, is that        Ms. Martin and    Ms. Ali had this

 5 specific conversation using these specific words;

 6 correct?

 7 A.         Yes.

 8 Q.         And you have interpreted that to mean that they

 9 were discussing drug activity?

10 A.         That's my opinion, yes.

11 Q.         No one stopped     Ms. Ali's vehicle while traveling

12 from Ms. Martin's house to the school, did they?

13 A.         No.

14 Q.         No one searched the vehicle, did they?

15 A.         No.

16 Q.         No one searched -- well, we saw bags being

17 carried from the house to the car; correct?

18 A.         That's correct.

19 Q.         We didn't see the bags being carried from the

20 car to the school, did we?

21 A.         That's correct.

22 Q.         It's your assumption that those bags were

23 actually carried into the school; correct?

24            That's your opinion.    "Assumption" is not a good

25 word.   It's your opinion; correct?




                                                                Page 134
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 135 of 251



 1 A.       Yes.     Based on the evidence, yes.

 2 Q.       But no one saw any bags being carried into the

 3 school, did they?

 4 A.       No one from law enforcement saw anyone carry

 5 bags into the school.

 6 Q.       Point taken.

 7          There could have been somebody on the sidewalk

 8 watching.

 9 A.       Or Ms. Ali and      Ms. Martin.

10 Q.       No one other than       Ms. Ali and    Ms. Martin, to

11 your knowledge, saw bags being carried into the school

12 on that day, did they?

13 A.       That's correct.     No one from law enforcement.

14 Q.       And no one got a search warrant for this school

15 on May 16, did they?

16 A.       Not on    May 16, no.

17 Q.       In fact, the only search of the school -- the

18 only search -- subsequent search of the school was

19 performed how many days later?

20          MS. JOHNSTON:       Your Honor, we will stipulate

21 whatever the number of days is between            May 16 and    June

22 1st.

23          MR. MONTEMARANO :       16.

24          THE WITNESS:     It's approximately two weeks.

25          BY MR. MCKNETT :




                                                                Page 135
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 136 of 251



 1 Q.        And drugs were found in bags in the school on

 2 June 1st; correct?

 3 A.        Yes.

 4 Q.        And it's your opinion that at least one of those

 5 bags was the same bag that was seen being carried out

 6 of Ms. Martin's house on        May 16; correct?

 7 A.        Yes.

 8 Q.        But there's fingerprint evidence to support

 9 that, isn't there?

10 A.        I think   I've answered this question with other

11 attorneys.       I know you haven't asked this, but there

12 was no    latents   of value recovered in this case for any

13 of the defendants in court today.

14 Q.        That's the last fingerprint question           I'll ask

15 you.

16           It's your opinion it's the same bag; correct?

17 A.        Yes.

18 Q.        It's your opinion that       Ms. Ali -- first of all,

19 it's your opinion that there were drugs in those bags

20 when they were being carried in the school, correct, on

21 May 16?

22 A.        Yes.

23 Q.        And it's your opinion that        Ms. Ali knew there

24 were drugs in those bags on         May 16 when she was helping

25 to carry them into the school; correct?




                                                                Page 136
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 137 of 251



1 A.         That's correct.

2 Q.         But there's no conversation that's been recorded

3 in which    Ms. Ali acknowledges that there are drugs in

4 those bags; correct?

5 A.         That's correct.

6 Q.         There is no surveillance of anyone putting

7 whatever was in the bags into the bags; correct?

8 A.         We had no surveillance inside        Ms. Martin's

9 residence.

10 Q.        You have no surveillance of       Ms. Ali putting

11 anything in those bags, do you?

12 A.        That's correct.

13 Q.        You don't have any surveillance of         Ms. Ali

14 taking anything out of those bags, do you?

15 A.        That's correct.

16 Q.        You don't have any evidence at all other than

17 your opinions that     Ms. Ali knew what was in those bags.

18 A.        No.   We have the intercepted calls.

19 Q.        You have what?

20 A.        We have the intercepted telephone calls; we have

21 evidence recovered from a residence which shows her

22 involvement.     Based on that call,       I think it couldn't

23 be any clearer.

24 Q.        I'm not -- your opinion is that it couldn't be

25 any clearer; correct?




                                                               Page 137
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 138 of 251



1 A.         That call is -- yes,      I'm using my opinion.

2 Q.         But it's your opinion "couldn't be any clearer;"

3 correct?

4 A.         As regarding that call?

5 Q.         Regarding --   I think    I started out asking the

6 question about your opinion being that            Ms. Ali knew

7 there were drugs in those bags.

8 A.         Yes.

9 Q.         And your opinion couldn't be any clearer that

10 she in fact knew what was in those bags.

11 A.        That's correct.

12 Q.        And your opinion is based on the totality of the

13 investigation; correct?

14 A.        Yes.

15 Q.        With regard to those bags, the totality of the

16 investigation is the phone call that we just went

17 through; correct?

18 A.        Yes.

19 Q.        The surveillance of the bags being carried from

20 Ms. Martin's house to the car; correct?

21 A.        Yes.

22 Q.        The surveillance of      Ms. Martin to    Ms. Ali

23 leaving the school later that evening.

24 A.        Yes.

25 Q.        And then two weeks later, drugs being found in




                                                               Page 138
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 139 of 251



1 the bags at the school.

2 A.       No, that's not complete.

3 Q.       What happened in between        May 16 and    June 1st

4 with regard to those bags that supports your opinion

5 that Ms. Ali knew on       May 16 there were drugs in the

6 bags?

7 A.       We would also have the        John Martin call where he

8 said, "We'll be clean as rain" once those items were

9 removed from the residence, confirming the opinion; the

10 suitcase with the scales and the currency located at

11 Ms. Ali's residence, which --

12 Q.      They don't have anything to do with the bags, do

13 they?

14 A.      I'm sorry?

15 Q.      What was found at      Ms. Ali's residence had

16 nothing to do with the bags that were carried into and

17 then later found at the school, do they?

18 A.      I think it has everything to do with those bags.

19 Q.      How?

20 A.      Ms. Martin was cleaning out her residence of

21 contraband.    She didn't want cash at her house in case

22 law enforcement came.     She didn't want drugs at her

23 house in case law enforcement came.       She didn't want

24 drug scales at her house in case law enforcement came,

25 so she cleaned out the house and stored items at the




                                                               Page 139
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 140 of 251



 1 school.    However, that school is not in the greatest

 2 neighborhood, so there was no currency of huge amounts

 3 at the school, but there was a nice, safe place in

 4 Hyattsville , meaning      Ms. Ali's.

 5 Q.         Is it your -- first of all, are there any

 6 reports of any burglaries at that school to your

 7 knowledge?

 8 A.         No, but   I've done a great deal of surveillance

 9 there and    I'm familiar with -- there's a lot of drug

10 addicts walking up and down the street.

11 Q.         There's never been a burglary at that school to

12 your knowledge?

13 A.         Not that's been reported to the police.

14 Q.         Is it your testimony that those suitcases were

15 taken into Ms. Ali's house on or after            May 16, 2004?

16 A.         I don't know when the suitcase got there.            I

17 have an opinion on when -- the contents of the suitcase

18 --

19 Q.         Is it your opinion that the contents of the

20 suitcase were taken into        Ms. Ali's house on or after

21 May 16, 2004?

22 A.         That's my opinion, yes.

23 Q.         Excuse me just a second,      Your Honor.

24            You examined the contents of the suitcase;

25 correct?




                                                                Page 140
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 141 of 251



1 A.          Yes.

2 Q.          Okay.   Did you take photographs of the bills?

3 A.          Of the bills?

4 Q.          Yes.    The dollar bills.   The money bills.

5 A.          There were photographs shown in court.

6 Q.          Well, it's been my experience -- and perhaps

7 it's been yours -- that sometimes when money is seized

8 that it is sometimes laid out on a table top or

9 something and photographed so that the serial numbers

10 could be read, that sort of thing; dates.

11 A.         That's not the procedure used by the Immigration

12 Customs Enforcement.       They take a photograph when it's

13 recovered, and then there's a bill count which we had

14 in court.

15 Q.         We saw that.    That was the two-page document

16 that had the list -- the denominations and the number

17 of bills by denomination and then the total added up;

18 correct?

19 A.         Yes.

20 Q.         I forget the e xhibit number , but that was one of

21 the Ali exhibits.

22 A.         I believe so.

23 Q.         You also said that one of the things -- not a

24 facilitator, but someone was a facilitator and/or a

25 distributor of drugs is buy drugs for resale; correct?




                                                               Page 141
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 142 of 251



 1 A.       Yes.

 2 Q.       That would be inherent in the definition of a

 3 distributor; correct?

 4 A.       You can distribute without selling.

 5 Q.       Okay.    You can.    Again, point taken.      You can

 6 give it away, and that's distribution.

 7 A.       Yes.    Or in exchange for services other than

 8 cash.

 9 Q.       Did anybody, during your investigation, make any

10 observations of      Ms. Ali selling drugs?

11 A.       No.

12 Q.       Did anybody, during the course of your

13 investigation, intercept any telephone conversations in

14 which Ms. Ali was arranging the sale of drugs?

15 A.       I believe there was the call between she and               Ms.

16 Martin where she's ordering a quantity of drugs and

17 then said,      I need to check with them and        I'll hit you

18 back, indicating she was going the check with her

19 customer.

20 Q.       Didn't she actually say,         I need to make a call?

21 A.       I'm doing the best        I can with my recollection.

22 Q.       I understand that.

23          Again, if    I may refer to my --

24          THE COURT:     You may.

25          MR. MCKNETT :       -- notes,   Your Honor.




                                                                Page 142
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 143 of 251



 1           BY MR. MCKNETT :

 2 Q.        Do you have your book there?

 3 A.        I have one of them.

 4 Q.        It's B-2436, at Page 205.

 5 A.        If I may --     I don't have that -- the proper

 6 book.

 7 Q.        265, excuse me.

 8           While you're there, call A-1224 at page 348.

 9           THE COURT:     What was the page number again,          Mr.

10 McKnett ?

11           MR. MCKNETT :      Excuse me,   Your Honor?

12           THE COURT:     The page number again.

13           MR. MCKNETT :      The second one was at page 348;

14 the first one was on page 265.

15           THE WITNESS:    I 'm sorry. 265?     And the other

16 call?

17           BY MR. MCKNETT :

18 Q.        348.

19           Do you have them there?

20 A.        Yes.

21 Q.        Let's look at page 265 first.      That's call

22 B-2436.     It was made on      April 1st of '04, about 6      :42 in

23 the evening.

24           Do you have that one there?

25 A.        Yes.




                                                                Page 143
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 144 of 251



1 Q.         This is a very short one.      Again, it's an

2 excerpt.     Ms. Martin says, "Mm-hmm.       So just the one

3 magazine."        Ms. Ali says, "Mm.    That's what      I got to

4 make sure."

5            Is this the call you're referring to?

6 A.         Yes.

7 Q.         She doesn't say,    I've got to check with them,

8 does she?

9 A.         I may have been -- there was a call by another

10 party that's -- and she and        Ms. Ali have very similar

11 conversations, and sometimes          I confuse them.

12 Q.        That's fine.   But the point is she just said,

13 "That's what      I got to make sure;" right?

14 A.        Yes.

15 Q.        It doesn't make a reference to them or any other

16 person, does it?

17 A.        I believe it does in my opinion.

18 Q.        In your opinion it does?

19 A.        Yes.

20 Q.        But the words don't, do they?

21 A.        I believe the words do.

22 Q.        The words say, "That's what       I got to make sure."

23 Those are the words; right?

24 A.        We can agree to disagree, but that's my answer.

25 Q.        We can't agree to disagree on what the words are




                                                               Page 144
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 145 of 251



1 on the tape.     The words on the tape are, "Mm.       That's

2 what I got to make sure."

3 A.       Those are the words on the tape.

4 Q.       It's your opinion that        Ms. Ali is saying

5 something to the effect that         I've got to check with my

6 customers?

7 A.       Yes, I thought      I said that.    Maybe    I didn't

8 qualify it.

9 Q.       That's your opinion.

10 A.      Yes.

11 Q.      And again, your opinion on         May --   April 1st is

12 based at least in part on the fact that you have

13 already decided in your opinion that          Ms. Ali is

14 involved in drug trafficking.

15 A.      Mr. McKnett , I'm not sure what date we made that

16 determination that she was involved in drug

17 trafficking.    It was sometime before        June 1st 2004, but

18 I can't put my finger on the date that           Ms. Ali is a

19 drug trafficker.      I don't know if this was before or

20 after that determination.

21 Q.      Well, without the determination she was a drug

22 trafficker     there would have been no basis at all to

23 form an opinion that she was talking about calling

24 customers, would there?

25 A.      I'm sorry.    Could you repeat that?




                                                               Page 145
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 146 of 251



1 Q.       Unless you already believed that she was

2 involved in drug trafficking, there would have been no

3 bases at all to draw the conclusion from this

4 conversation that she was talking about calling drug

5 customers.

6 A.       I don't agree with that.

7 Q.       Couldn't she have been saying,          I got to see how

8 much money I have in my wallet?

9 A.       No.

10 Q.      Couldn't she have been saying,          I got to make

11 sure what time my husband's coming home?

12 A.      No.   She's not going to check her wallet.        She

13 would get drugs; she would make partial payments or get

14 fronted drugs.    Also, there was a ledger, so that

15 doesn't carry over.

16 Q.      She couldn't possibly have been saying,             I got to

17 check to see how much money        I have.

18 A.      That's a possibility.      That's not what my

19 opinion is.

20 Q.      Let's go to the next call on page 348.         This,

21 again, is an excerpt.     In this one there are some

22 preliminary comments, and then          Ms. Martin interrupts

23 halfway down the page:     "You want...you just wanted one

24 ticket?" she asked.    And     Ms. Ali says, "That's...        I'm

25 going to make a phone call."      And      Ms. Martin says --




                                                               Page 146
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 147 of 251



1 speaking simultaneously -- "Okay.           Let me know."        Ms.

2 Ali says, "To see.      Okay."     Right?

3             What was your opinion, if you have one, about

4 the content of this conversation?

5 A.          Basically, the same as the last.

6 Q.          This was on --     I didn't identify this.      Let me

7 interrupt for a second.        This is call A-1224 on          April

8 21st 2004 at about 7         :12, which makes it about 20 days

9 after the previous conversation; correct?

10 A.         Yes.

11 Q.         When Ms. Ali says, "That's...       I'm going to make a

12 phone call to see," it is your opinion that she's

13 saying she's going to check with customers?

14 A.         Yes.

15 Q.         Isn't it possible that she was going to call --

16 are you familiar with these bank services where you can

17 call the bank and see what the balance is on your

18 account?

19 A.         Yes.   Ms. Martin did that from her residence.

20 Q.         Isn't it possible that      Ms. Ali was saying the

21 phone call she was going to make was to her bank to see

22 how much money she had available?

23 A.         It's possible she was going to call a psychic,

24 but that's not my opinion.

25 Q.         It's not your opinion.     It's possible though




                                                                Page 147
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 148 of 251



 1 that she was going to make a call to her bank and check

 2 the balance on her account.

 3           MS. JOHNSTON:     Objection.

 4           Asked and answered.

 5           THE COURT:      Sustained.

 6           BY MR. MCKNETT :

 7 Q.        Are you aware of any other calls in which you

 8 believe that     Ms. Ali is telling      Ms. Martin she's going

 9 to check with her customers?

10 A.        Actually I only recalled the one, so now            I know

11 of two.   There may be more.      Off the top of my head,           I

12 couldn't tell you.

13 Q.        You can't recall any; right?

14 A.        No.

15           MS. JOHNSTON:     Objection.

16           Asked and answered.

17           THE COURT:    Sustained.

18           BY MR. MCKNETT :

19 Q.        You talked about the search at         Ms. Ali's house a

20 couple of minutes ago.      Let me turn your attention to

21 that.

22           Now, there were --

23           THE COURT:      Mr. McKnett , how much longer do you

24 --

25           MR. MCKNETT :    This would be good place to break.




                                                                Page 148
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 149 of 251



 1 I've got    ten minutes to go.

 2            THE COURT:      I've got a meeting     I'm late for now.

 3 We will break until 2       :30, ladies and gentlemen.

 4                         (Witness excused from the stand.)

 5                         (Jury excused at 1:14 p.m.)

 6                         (Off the record at 1      :14 p.m.)

 7                         (On the record at 2      :35 p.m.)

 8                         (Witness resumes the stand.)

 9                         (Jury returns at 2      :36 p.m.)

10            THE COURT:   You may proceed,        Mr. McKnett .

11            MR. MCKNETT :    Thank you,   Your Honor.

12            BY MR. MCKNETT :

13 Q.         I want to come back to something you said before

14 we broke for lunch.         I believe you said -- correct me

15 if I'm wrong -- that at least part of the -- one of the

16 reasons you suspected -- formed the opinion that                Ms.

17 Martin wanted to move the large quantity of money to my

18 client 's apartment was for safety reasons, that the

19 neighborhood around the school was a rough neighborhood

20 and there was an increased risk of burglary.

21            Is that a fair summary of your testimony?

22 A.         What I was referring to is she wanted to put the

23 money in a secure location, and          Ms. Ali's apartment

24 would be a secure location.

25 Q.         Because the neighborhood around the school was




                                                                 Page 149
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 150 of 251



1 not a particularly safe neighborhood?         Is that part of

2 your opinion?

3 A.         In the --   I've done some interviews of

4 individuals in that area who are narcotics addicts.

5 There's quite a bit of drug trafficking going on around

6 there, and her place was a high profile location.

7 Q.         And you thought that -- in your opinion -- that

8 Ms.   Ali's apartment was a safer place?         A more secure

9 location?

10 A.        Well, somewhere there's somebody 24 hours a day

11 -- not 24 hours a day, but there's somebody residing

12 there, where the business didn't have anybody inside

13 the business on a regular basis.        As you know, an

14 apartment would at least have some residents there.

15 Q.        Are you familiar with the crime rate -- well           ,

16 Ms. Ali lives at 820 Sheridan; correct?

17 A.        620 Sheridan.

18 Q.        620.   You're right.   620      Sheridan, Apartment

19 301, on   June 1st; right?

20 A.        Yes.

21 Q.        Are you aware of the crime rate in the

22 neighborhood of 620       Sheridan Street?

23 A.        I'm familiar with the        Hyattsville   area in

24 general; not specifically her street.

25 Q.        Are you aware that there have been muggings




                                                               Page 150
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 151 of 251



1 outside of that apartment building?

2 A.         Not specifically, no.

3 Q.         Are you aware that there have been robberies in

4 that apartment complex?

5 A.         No.

6 Q.         Are you aware of the apartment complex policy

7 that requires the rental office and maintenance staff

8 to have 24-hour access by key to every apartment in

9 that complex?

10 A.        That's common with many apartment complexes.              I

11 wasn't aware of that one specifically.

12 Q.        You think it's safer to have the money in           Ms.

13 Ali's apartment where at least the maintenance staff

14 could come in there at any time than it would be in the

15 school where only     Ms. Martin had keys?

16 A.        There's somebody at least at that apartment.

17 There was absolutely no reason to keep the money at the

18 school.   There was no advantage of keeping the money at

19 the school, where keeping the money in           Ms. Ali's would

20 be advantageous; at least there's somebody home in the

21 summertime.      Ms. Ali is not teaching.

22 Q.        That's assuming    Ms. Ali is not working in the

23 summertime; right?

24 A.        Yes.

25 Q.        It assumes that her husband is not working in




                                                               Page 151
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 152 of 251



1 the summertime; correct?

2 A.          He may work all year round.       I don't know what

3 he does.

4 Q.          Let me come back to the search of        Ms. Ali's

5 apartment.

6             You were here during the testimony concerning

7 the search of her apartment, were you not?

8 A.          Yes.

9 Q.          Officer   Muldoon , I believe, testified about it.

10 A.         Yes.

11 Q.         And he testified about the suitcase that was

12 seized in the closet; correct?

13 A.         That's correct.

14 Q.         And about the items that were found in the

15 suitcase there was money, right?

16 A.         Yes.

17 Q.         A lot of money.   $129,000-some; right?

18 A.         I remember in excess of $120,000, yes.

19 Q.         That's the money you were talking about just a

20 minute ago; right?

21 A.         Yes.

22 Q.         There were papers in there -- in the suitcase;

23 correct?

24 A.         Yes.

25 Q.         There were a number of scales -- 12, 15 scales?




                                                               Page 152
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 153 of 251



 1 A.         Yes.

 2 Q.         There were three book safes.

 3 A.         Two or three, yes.

 4 Q.         Okay.   Again, what you recall.

 5            There were some book safes, and the money we

 6 talked about was in the book safes.

 7 A.         Yes.

 8 Q.         There was some money outside of the book safes,

 9 I think, in an envelope, perhaps?

10            Again, if you don't recall --

11 A.         That's what   I recall, yes.

12 Q.         Other than the items that were seized in the

13 suitcase -- excuse me.          Your Honor, can    I get a glass

14 of water?

15            Other than the items that were seized from the

16 suitcase -- except for those items, there were no

17 cutting materials found in         Ms. Ali's apartment, was

18 there?

19 A.         Not that   I recall.

20 Q.         There were no cutting materials in the suitcase;

21 correct?

22 A.         That's correct.

23 Q.         There were no razor blades; there was no

24 Mannitol or any other kind of a cutting agent anywhere

25 in the apartment; correct?




                                                                Page 153
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 154 of 251



1 A.        That's correct.

2 Q.        There was no seizure of baking powder, was

3 there?

4 A.        That's correct.

5 Q.        There was no seizure of packages of small            Ziploc

6 bags; correct?

7 A.        Correct.

8 Q.        But there were some      ziploc bags seized -- a

9 small number -- and they all appeared to have been

10 used, not new; correct?

11 A.       Not certain.

12 Q.       Okay.   Other than the scales and the suitcase,

13 there were no other scales found in the apartment, were

14 they?

15 A.       I believe so.      I believe that's correct.

16 Q.       There were no ledger books found, were there?

17 A.       No.

18 Q.       There were no lists of quantities of drugs or

19 what could have been lists of quantity of drugs, were

20 there?

21 A.       No.

22 Q.       There were no lists of dollar amounts with names

23 adjacent to them, were there?

24 A.       No.

25 Q.       There were no book safes, were there, other than




                                                               Page 154
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 155 of 251



 1 in the suitcase?

 2 A.       Not that    I'm ware of, no.

 3 Q.       There were no false bottom containers like Aqua

 4 Velva cans or things of that sort, were there?

 5 A.       Not that were located.      Not that       I'm aware of.

 6 Q.       Other than the money in the suitcase, there were

 7 no large quantities of money found, were there?

 8 A.       That's correct.

 9 Q.       And there were no packages or quantities of

10 money wrappers, were there?

11 A.       That's correct.

12 Q.       In fact, all the drugs that were found and all

13 the paraphernalia that was found was indicative of

14 personal use of drugs, wasn't it?

15 A.       All of the drugs found were -- the paraphernalia

16 was indicative of personal use.           I don't recall the

17 amounts of the drugs located.

18 Q.       Fine.

19          Let me turn your attention to Chart 2.

20          Would you come down again?

21 A.       Sure.

22 Q.       Chart 2 is the telephone contact chart; correct?

23 A.       Yes.

24 Q.       I want to talk to you about the portion that

25 talks about      LaNora   Ali over on the side closest to me.




                                                                Page 155
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 156 of 251



 1 A.         Yes.

 2 Q.         There are five phone numbers listed there;

 3 correct?

 4 A.         That's correct.

 5 Q.         The first number is a 202 area code number?

 6 A.         Yes.

 7 Q.         Are you familiar with the physical location of

 8 the phone that goes to that number?

 9 A.         I have the subscriber.       I don't recall, off the

10 top of my head, the location.

11 Q.         Is it fair to say that's the phone where           Ms. Ali

12 worked?

13 A.         That's my belief, yes.

14 Q.         Then there are two cell phone numbers; correct?

15 A.         Yes.

16 Q.         Do you know who they were subscribed to?

17 A.         I can tell you if    I can refer to my notes.

18 Q.         Okay.

19 A.         Both were subscribed to      LaNora   Ali.

20 Q.         Both of them?

21 A.         Yes.

22 Q.         The next one, the (301) 853-3437.

23            Who was that subscribed to?

24 A.         LaNora   Ali.

25 Q.         And the last one, (301)853- --




                                                                Page 156
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 157 of 251



 1 A.         LaNora    Ali Garner.

 2 Q.         Do you know if either one of those last two

 3 phones was used for computer access?

 4 A.         Don't know.

 5 Q.         I'm going to ask you to go through some math

 6 with me.

 7            You can return to your seat now.

 8 A.         Are we done?

 9 Q.         Yeah.    Just take that down.

10            I've done some calculations.         I think   I did them

11 right, and        I'll -- if you need a calculator to follow

12 along,   I'll provide one.

13            What I've done is       I've taken the information

14 from Chart 2, which showed 2,241 contacts between

15 phones used -- phones registered to           Ms. Ali and phones

16 registered to        Ms. Martin.

17            That's the number off the chart; correct?       The

18 2,241?

19            Want to take a look?        I'll bring it over.

20 A.         Please.

21 Q.         I'll do the walking this time.

22 A.         Thank you.

23            Yes.

24 Q.         And then on this first line -- maybe I should

25 have held that chart up.       The time period --




                                                                Page 157
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 158 of 251



 1 A.         No, that's fine.

 2 Q.         -- is between four -- that would be April 8, 01;

 3 correct?

 4 A.         Yes.

 5 Q.         And May 31, '04; correct?

 6 A.         Yes.

 7 Q.         What I've done is gone the first year, April 8,

 8 '01 to April 7, '02.         That's 365 days; correct?

 9 A.         Yes.

10 Q.         April 8, '02 to April 7, '03, another 365; April

11 8, '03 to April 7, '04 is 366, because 2004 was a Leap

12 Year; correct?

13 A.         I will go with your numbers.

14 Q.         Thank you.

15            April 8, '04 to April 30, '04 is 22 days, and

16 then May 1st '04 to May 31, '04 is 31 days.          Add that

17 up and it's 1,149 days.

18            Trust my math on that?

19 A.         Sure.

20 Q.         And I divided --      I'm sorry,   Your Honor.     Mr.

21 Montemarano        is --   I've divided the 2,241 contacts by

22 the number of days, 1,149, and it comes out to 1             .95 on

23 average --        I put "activations."   It should be

24 "contacts" -- per day.         Less than two contacts per day

25 during that time period.




                                                                Page 158
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 159 of 251



1          Do my numbers look right to you?

2 A.       Sure.

3 Q.       In that average of less than two contacts per

4 day, that includes not just conversations; correct?

5 A.       That's correct.

6 Q.       That includes incomplete calls.

7 A.       That's correct.

8 Q.       Calls where someone may have dialed and then

9 hung up but they were on the line long enough for it to

10 register; correct?

11 A.      Yes.

12 Q.      Calls where an answering machine picked up and

13 no message is left; correct?

14 A.      Yes.

15 Q.      And that happened on these calls during this

16 time period, didn't it?

17 A.      Sure.    There's also calls that are incoming and

18 the digits are not captured.      Those would not be on

19 that chart also, or call waiting calls which occurred

20 between -- if    Ms. Martin was speaking to another party,

21 Ms. Ali called in and she flipped over on call waiting,

22 that call wouldn't be reflected either.        So, those

23 numbers are --

24 Q.      They're approximate?

25 A.      They're approximate numbers.       They're not --




                                                               Page 159
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 160 of 251



1 Q.       I'm not looking for absolute specificity, but                I

2 want to make sure we understand what's included in

3 these contacts.

4 A.       Sure.

5 Q.       Calls in which the person calls and says,             I'm

6 busy; I'll call you back or words to that effect are

7 included; correct?

8 A.       Could be.    If we were not monitoring the wiretap

9 at the time,      I couldn't tell you what they discussed.

10 Q.      And calls of the type you described where

11 someone is on the line and a third party calls in, and

12 -- I forget the terminology, but they'll go over to the

13 other call?

14 A.      Call waiting.

15 Q.      A call waiting feature.

16 A.      Yes.

17 Q.      And that could be,       I'm on the other line; I'll

18 call you back.    That could happen.

19 A.      Possibly, yes.

20 Q.      Calls in which      Ms. Martin talks, perhaps, to           Ms.

21 Ali's husband are included; correct?

22 A.      Yes.

23 Q.      Calls in which      Ms. Martin talks to perhaps

24 someone else at     Ms. Ali's house; correct?

25 A.      Yes.




                                                               Page 160
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 161 of 251



 1 Q.       Calls in which      Ms. Ali talks to someone other

 2 than Ms. Martin at her house?

 3 A.       Probably.

 4 Q.       Calls in which      Ms. Ali's husband talks to

 5 someone else other than        Ms. Martin at Ms . Martin's

 6 house; correct?

 7 A.       Possibly.

 8 Q.       Calls that don't involve        Ms. Martin and      Ms. Ali

 9 at all; correct?

10 A.       Possibly.

11 Q.       It still evens out to approximately --            I'll even

12 round it up to two calls per day, two contacts per day,

13 between people who are good friends; correct?

14 A.       Yes.

15          MR. MCKNETT :     Thank you.

16          THE COURT:      All right .    Re direct .

17          MS. JOHNSTON:       Thank you , Your Honor .

18                        REDIRECT EXAMINATION

19          BY MS. JOHNSTON:

20 Q.       Detective    Eveler , yesterday     Mr. Montemarano

21 start ed out cross-examination         asking   you about search

22 warrant s and the item s you look for .          Who tell s you

23 what it is you can look for ?

24 A.       The magistrate , I guess , would be the final

25 authority .




                                                                Page 161
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 162 of 251



 1 Q.       The magistrate      being a judge ?

 2 A.       Yes .

 3 Q.       And he sign s the search       warrant ; is that

 4 correct ?

 5 A.       Yes .

 6 Q.       And that includes      an attachment     that list s what

 7 you can search     for ; is that correct ?

 8 A.       Yes .

 9 Q.       Under that search      warrant , how long are you

10 authorize d to be in the premises ?

11 A.       As long as is necessary        to perform    the function

12 that we're there to perform .

13 Q.       Which would mean to find item s.

14          MR. MONTEMARANO :      Objection , Your Honor .

15          BY MS. JOHNSTON:

16 Q.       What is the function       that you're     there to

17 perform ?

18 A.       To search    for the item s particular ized in the

19 Schedule    A or whatever    the attachment      is labeled .

20 Q.       Are you authorize d under the search          warrant    to

21 take picture s of thing s that are not on Attachment             A?

22 A.       We could take photo s -- we could take over all

23 photo s, but we don't make -- we don't search             for item s

24 not on the schedule .

25 Q.       Are you --




                                                                Page 162
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 163 of 251



 1          MR. MONTEMARANO :       Objection , Your Honor .

 2          Non responsive .

 3          THE COURT:      Over ruled .

 4          BY MS. JOHNSTON:

 5 Q.       What is your understand ing in terms of what

 6 you're   allow ed to do in re view ing item s or object s that

 7 are not on Attachment       A?

 8 A.       We look at it to see if it fit s the Attachment

 9 A, and then we move on .

10 Q.       Are you allow ed to take item s that are not on

11 Attachment      A?

12 A.       No .

13 Q.       Are you allow ed to record        what is in the item s

14 that you're      not allow ed to take on Attachment        A to

15 record   the --

16          MR. MONTEMARANO :       Objection , Your Honor .

17          Basis for knowledge .

18          Can we approach ?

19          THE COURT:      Re phrase   the question .

20          BY MS. JOHNSTON:

21 Q.       What is your understand ing -- when the judge

22 give s you an order -- a search         warrant   that says you

23 can look for the item s on Attachment          A, what is your

24 understand ing of what you're        authorize d to do in

25 reference    to item s that are not on Attachment          A?




                                                                Page 163
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 164 of 251



 1 A.        If it 's not contraband , if it 's not -- if we're

 2 there to search for        narcotic s but we find evidence        of

 3 child pornography , then we could go obtain            another

 4 warrant     to then search    for those item s, but we can't

 5 seize those items.         We just have to look at them and

 6 see if they fit what we're allow ed to search             for and

 7 move on .

 8 Q.        And if it 's not child pornography          or on the

 9 contraband , what are you able to do in term s of item s

10 that do not fall within the scope of the            attachment

11 signed by the judge?

12           MR. MARTIN:      Objection .

13           Asked and answered      three time s.

14           THE COURT:      Over ruled .

15           THE WITNESS:      Nothing .

16           BY MS. JOHNSTON:

17 Q.        Are you permitted      to take note s?

18           MR. MONTEMARANO :      Lead ing .

19           THE COURT:      Over ruled .

20           BY MS. JOHNSTON:

21 Q.        Are you permitted      to take note s regard ing those

22 item s that you're      not permitted    to seize ?

23 A.        I would n't .    I'm not -- it 's never come up .

24 I've never thought        to take note s of item s that we were

25 not seizi ng .




                                                                Page 164
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 165 of 251



 1 Q.          And the reason     for that is what ?

 2 A.          That 's not what we're there for .            We're there to

 3 perform      the function     within    the corners     of the warrant .

 4 Q.          In this instance , with regard            to all of the

 5 search      warrant s, including       the search     warrant s that Mr.

 6 Montemarano        -- at Mr. Montemarano 's client 's residence

 7 and business , did you leave be hind all of the document s

 8 and item s that did not fit within             Attachment    A?

 9             MR. MARTIN:      Objection .

10             Asked and answered         four time s.

11             THE COURT:      Over ruled .

12             THE WITNESS:      Yes .

13             BY MS. JOHNSTON:

14 Q.          Indeed,   do you have any knowledge           what happened

15 to all of those document s and item s that you left

16 be hind ?

17 A.          No .

18 Q.          In reference     to the items     that you did seize .

19 Were those made available             to all defense     counsel    in

20 this case ?

21             MR. MONTEMARANO :         Objection , Your Honor .

22             MR. MARTIN:      Objection .

23             MR. MONTEMARANO :         Basis for knowledge .

24             THE COURT:      If he know s.

25             BY MS. JOHNSTON:




                                                                      Page 165
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 166 of 251



 1 Q.       Do you know ?

 2 A.       Yes .

 3 Q.       How do you know that ?

 4 A.       I was -- we copi ed those item s and provided            them

 5 to the government , and the government           --

 6          MR. MONTEMARANO :      Objection .

 7          Basis for knowledge .       Unless   he did the work .

 8          THE COURT:      Just limit your response         to what you

 9 know personally .

10          BY MS. JOHNSTON:

11 Q.       What did you do or supervise         in term s of all of

12 the item s every piece of paper found at all these

13 search   location s?

14 A.       Provided    cop ies for   force discovery .

15 Q.       In fact , today , this afternoon        during

16 cross-examination      , did Mr. Suss man show you copies        of

17 some of those document s?

18 A.       That 's what he said they were , yes .

19 Q.       Mr. Martin     had asked you some question s about

20 your knowledge      concern ing Mr. Good win 's contact s in El

21 Paso , Texas and your knowledge         that Mr. Good win was

22 get ting drug s from Texas .       Do you rec all those call s

23 from yesterday ?

24 A.       The question s?

25 Q.       Those question s yesterday .




                                                                Page 166
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 167 of 251



 1 A.       Yes .

 2 Q.       And he asked you what other people know,             other

 3 than Mr. Thurman , about those trip s.           Do you recall

 4 that ?

 5 A.       Yes .

 6 Q.       And he asked you particular ly what about the two

 7 girl s that Mr. Thurman      said were with him .       Do you

 8 recall   that ?

 9 A.       Yes .

10 Q.       You indicated     to him that there were other

11 person s who had told you Mr. Good win was get ting drug s

12 from Texas .      Do you recall    that ?   Who were the other

13 people   who de scribe d for you Mr. Good win get ting drug s

14 from Texas ?

15 A.       Larry Lane and Tiffany        Vessels .

16 Q.       And you had also -- he had asked you about the

17 source   in El Paso,    Texas as being Mr. Good win 's source .

18          How did you know that source         in El Paso, Texas

19 was Mr. Good win 's source ?       Strike that .     Separate    and

20 apart from     Mr. Thurman 's ?

21 A.       Based on the statement s by Mr. Lane and Ms.

22 Vessel s.

23 Q.       That was separate        and apart from Mr. Thurman ?

24 A.       Yes .

25 Q.       When you spoke with Ms. Vessels and Mr. Lane,




                                                                Page 167
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 168 of 251



 1 was Mr. Thurman present          ?

 2 A.         No .

 3 Q.         In fact , had you had contact           with Mr. Thurman          at

 4 the time of your inter view with Ms. Vessel s?

 5 A.         No .

 6 Q.         Mr. Lane .     At the time of your initial          inter view

 7 with Mr. Lane , when he provided             this information , had

 8 you had contact        with Mr. Thurman ?

 9 A.         No .

10 Q.         Mr. Martin     also asked you about a restaurant              and

11 a car dealership , a legitimate             business .     Could you

12 de scribe    for the ladies and gentlemen of the jury                  how

13 you use the term "legitimate              business ?"

14 A.         A legitimate      business     is a business     that does

15 not use criminal        proceeds       and does not act as a front

16 for a criminal        enterprise .       It is pure ly engage d in

17 legitimate        business   with no tie s to criminal        activity .

18 Q.         What do you mean by "tie s to criminal             activity ?"

19 A.         It 's not use d to -- they don't -- you don't sell

20 drug s from       a legitimate       business .   You do not take drug

21 proceeds     and in vest them in a legitimate             business .     You

22 do not obtain        phone s in the name of a legitimate

23 business     to then use in the conduct            of narcotic s

24 trafficking        or other criminal       activities .     There 's so

25 many use s of -- there 's so many way s to twist a




                                                                    Page 168
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 169 of 251



1 legitimate     business      to illegitimate    activity .     I'm sure

2 I'm mis sing a couple .

3 Q.        Is it safe to say that those -- strike that.

4           I believe    you testifi ed yesterday        they may have

5 some actual       normal   business ; is that correct ?

6 A.        Yes .

7 Q.        In regards       to Mr. Good win 's business , Lobo 's car

8 dealership .       Did you have an opinion       as to whether     or

9 not that was a legitimate          business ?

10 A.       Yes .

11 Q.       What is that opinion ?

12 A.       It is not a legitimate          business .

13 Q.       Why not ?

14 A.       It was used as a distribution          site , based on the

15 FBI's search      warrant    in 2002 .   It was use d to obtain

16 deal er tags for     courier    vehicles to transport narcotics

17 from the southwest border to Maryland            and D.     C. area

18 and to   provide    employ ment to conspirator s and as a way

19 to legitimize      and provide    a front of having       been

20 employ ed for participant s in the drug trafficking .

21 Q.       There were also question s about controlled             buy s.

22 Were there any controlled         buy s made from any of the

23 defendant s here in court        or any of the associates that

24 were discuss ed here during        the course    of your

25 investigation?




                                                                 Page 169
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 170 of 251



 1 A.         No .

 2 Q.         Is that un usual ?

 3 A.         No .

 4 Q.         Why not ?

 5 A.         To conduct   a controlled     buy , you need an

 6 informant     who is willing     and able to make a controlled

 7 buy from one of the participant s.

 8 Q.         Did you have -- during      the course    of your

 9 investigation , were you        able to do that ?

10 A.         No .

11 Q.         There was also questions concerning         under cover

12 buy s.     Were any under cover buy s made for from any of

13 these individuals ?        From Ms. Levi or Mr. Thurman        or Mr.

14 Mangual , the individuals        that have been discuss ed

15 during     the course   of our trial ?

16 A.         No.

17 Q.         And, why not?

18 A.         We didn't have anyone who was able to introduce

19 an undercover officer to any of the participants.

20 Q.         You were also asked question s about , could n't

21 you use an informant        to make a consensual      call to my

22 client ?     One of the defendant s asked you that question

23 this morn ing .

24            Why could n't you make a consensual        call to one

25 of the defendant s in this case ?




                                                                Page 170
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 171 of 251



 1 A.         We didn't    have any in form ants that were in a

 2 position     or willing    to do that .

 3 Q.         What effect    did that have to get a wiretap         in

 4 this case ?

 5 A.         This 's one of the reason s -- you have to exhaust

 6 other mean s.        That 's what leads to a Title III .        If you

 7 can do these thing s, you have to exhaust            your other

 8 methods     of investigation       to get authorization    for a

 9 wiretap .

10 Q.         There were some discussion       by Mr.   Bynum 's

11 attorney .        He was do ing something   be hind the board and

12 asking    you about your not being able to see it .

13            Do you recall      those question s?

14 A.         Yes .

15 Q.         Based on your train ing and experience , how often

16 do drug deal er s engage         in their drug business    in front

17 of your face ?

18 A.         In front of my face ?

19 Q.         Yeah .    Or any other law enforcement      office r for

20 that matter ?

21 A.         Not know ingly .      Try not to knowingly .

22 Q.         Other than in an undercover capacity,          did they

23 take it to the other guy in front of you?

24 A.         No .

25 Q.         Okay .    Why not ?




                                                                Page 171
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 172 of 251



 1 A.        That would result       in their arrest , which would

 2 be counter -product ive to their goal s.

 3 Q.        Based on your train ing and experience , do

 4 individuals       who are distributing     drug s do it in front

 5 of other individuals          un known to them ?

 6 A.        No .

 7 Q.        Why not ?

 8 A.        Because     they don't know if that 's a cooperator ,

 9 an informant , or someone         involve d with     law enforcement

10 or would have a       time in the future     where they may get

11 in trouble       and give information     to law enforcement .

12 Q.        In fact , in this case, were        there call s voici ng

13 that type of concern ?

14 A.        Yes .

15 Q.        Brief ly , what call s?      In general , were those --

16 A.        The call s -- the one s I recall          in particular

17 were the call s involving         Mr. Echarte      and the charge s he

18 was facing       in Florida    and his sentence .

19 Q.        Who was involve d in those charge s with him from

20 this conspiracy ?       Do you recall ?

21 A.        Ms. Levi was not charge d in that case , but she

22 was mention ed in that case .

23 Q.        You on CH-1, that organizational            chart .

24           Was Mr. Echarte       inadvertent ly left off that

25 chart ?




                                                                   Page 172
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 173 of 251



1 A.        I don't think     he was inadvertent ly left off .           I

2 can't include       everybody   on the chart .

3 Q.        If we were to put Mr. Echarte            on the box , what

4 drug s would go over his box if we put him on there ?

5 A.        Cocaine     and heroin .

6 Q.        What was his     role in this organization          or

7 conspiracy ?

8 A.        Well , being a distributor           himself , he was also

9 -- I would label him a facilitato r in that he assisted

10 Ms. Martin      in the transportation         of money , the count ing

11 of money and , while not legal advice , did provide

12 advice   to Ms. Martin     how she should        conduct   her

13 business.

14 Q.       Because     there were too many people         comi ng in and

15 out of the house ?

16 A.       Yes .

17 Q.       Among other thing s.

18 A.       Yes.

19 Q.       The drug s that Mr.        Echarte    was get ting were

20 coming from where?

21 A.       Florida .

22 Q.       The ship ment s that he received .           Were they one

23 drug or two different       kinds of drugs?

24 A.       He received     two different        kinds of drugs .

25 Q.       What drug s were comi ng in his ship ment s?




                                                                    Page 173
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 174 of 251



 1           MR. HALL:      Objection .

 2           Asked and answered.

 3           THE COURT:      Over ruled .

 4           THE WITNESS:      Cocaine      and heroin.

 5           BY MS . JOHNSTON:

 6 Q.        Who was getting some of that cocaine from him            ?

 7 A.        Mr. Rice .     Ms. Martin , I believe .      You may have

 8 said Mr. Phil pot , also .         There are several individuals        .

 9 I can't    recall   all of them .

10 Q.        Where was he taking        those drug s when he got it

11 here in relation        to Ms. Martin ?

12 A.        To Bexhill     Court .

13 Q.        In addition     to that , he was also a facilitator ;

14 is that correct ?

15 A.        Yes .

16 Q.        If I could ask you just to step down here to the

17 chart s for a couple       of moment s real quick ly .

18           Why don't we start with that very first chart ,

19 CH- 2.    I n regards    to CH-2 .    Mr. Bynum 's attorney    asked

20 you some question s and had you write some thing s on the

21 chart here .      In particular , that the first telephone

22 number    was Tony James , and it had two contact s, you

23 wrote .    And then this other number          that it was Cindy

24 Lee , one time .      Why did you include       those two number s

25 on the chart ?




                                                                 Page 174
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 175 of 251



1 A.          Because    Mr. Bynum was intercept ed using those

2 phone s.

3 Q.          Could you write "Bynum intercept ed " next to each

4 of those name s so the jury know s why you included                those

5 number s on the chart ?

6 A.          (Witness    i ndicati ng .)

7 Q.          During    cross- examination , I believe      Mr. Ward

8 asked you about Ms. Dobie 's contact s with other people

9 on the chart .         Do you recall      that ?

10 A.         Yes .

11 Q.         I believe    you indicated      you could n't recall

12 whether    she had contact      with some of the people       on the

13 chart ; is that correct ?

14 A.         Yes .

15 Q.         In addition    to having      pin registers   up on Ms.

16 Martin 's phone s, did you have pin register s up on some

17 other individual 's phone s?

18 A.         Yes .    Mr. Mangual , Ms. Levi , and I can't recall

19 if we did on Mr. Turn er or not .

20 Q.         Why would you have gotten          pin register s on Ms.

21 Levi and Mr. Mangual         and Mr. Turner's      phone , as opposed

22 to the other people        on the chart ?

23 A.         They were suppliers , and we are attempting            to

24 identify     their suppliers , and we actual ly use the pin

25 register s to obtain       -- as well as the intercept s -- to




                                                                Page 175
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 176 of 251



 1 obtain     authorization       to intercept   the telephone    call s

 2 being made of one of Ms. Levi 's two phone s, and two of

 3 Mr. Mangual 's .

 4 Q.         Your focus at that point was moving         the

 5 investigation        where ?

 6 A.         Up .

 7 Q.         What do you mean by "up ?"

 8 A.         Up the food chain .

 9 Q.         Explain    to us what you mean by "up the food

10 chain ."

11 A.         Identifying     the source s of supply    and then

12 arresting     the source s of supply .

13 Q.         You talk about source s of supply .        Are you

14 talk ing about people          deal ing more and more larger

15 quantiti es of drug s?

16 A.         Yes .

17 Q.         I want to show you what 's been mark ed as

18 Miscellaneous        41 and ask if you could identify         that

19 document .

20 A.         Yes .

21 Q.         What is Mi scellaneous      41 ?

22 A.         It 's a printout      of DNR contact s between     Ms.

23 Levi 's phone and Ms. Dobie 's one telephone .

24 Q.         Just one of Ms. Dobie 's telephone s?

25 A.         Yes , one of the hard line s.




                                                                 Page 176
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 177 of 251



 1 Q.         Is that telephone         number   reflect ed on this

 2 chart ?

 3 A.         Yes .

 4 Q.         Okay .   Which number       is it that 's reflect ed on

 5 this chart that was also pick ed up in the pin register

 6 of Ms. Levi 's phone ?

 7 A.         This middle    number , the 882-37 38 .

 8 Q.         Do you recall     if that 's a cell phone or a hard

 9 line ?

10 A.         That 's a hard line .

11 Q.         Can you tell from the miscellaneous           doc ument,   I

12 think 41 , that I just hand ed you what -- how many

13 contact s there were between            Ms. Dobie and Ms. Levi ?

14 A.         If I count them all ?         Do you want me to count

15 them ?

16 Q.         If you could count them , please .

17 A.         I believe    it 's 56 .

18 Q.         If you could make a notation           of 56 contact s with

19 Levi o n the chart a nd then the time period .

20 A.         (Witness    indicati ng .)

21            MR. WARD:     May the witness        state the time

22 period ?

23            THE WITNESS:      January     6, 2004 through    March 25 ,

24 2004 .

25            BY MS. JOHNSTON:




                                                                 Page 177
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 178 of 251



 1 Q.         Could you put which phone of Ms. Levi 's the

 2 contact    was with , just so it 's clear ?

 3 A.         (Witness indicating     .)

 4 Q.         In reference     to Mr. Bynum .    Counsel    has asked

 5 you question s like, what form ed your opinion             that he

 6 was involve d in the distribution           of drug s.

 7            I want to show you what we previous ly introduced

 8 as Chart 14 .

 9            MR. MITCHELL:      Objection .

10            Mis character ized the statement         of the officer .

11            THE COURT:     Can you re state it ?

12            BY MS. JOHNSTON:

13 Q.         Do you recall     Mr. Bynum 's counsel 's question        to

14 you about what evidence          you reli ed upon to place him in

15 that box as a distributor/facilitator           ?

16 A.         Yes .

17 Q.         During   the course    of the conspiracy , what

18 quantity     of drug s was seen -- seize d from Mr. Bynum 's

19 apartment ?

20 A.         57 .88 grams of crack .

21 Q.         Based upon your train ing and experience , do you

22 have an opinion      as to whether      that 's a quantity    for

23 personal     use or distribution ?

24 A.         I d o.

25 Q.         What is that ?




                                                                Page 178
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 179 of 251



 1 A.       That 's the weight      for distribution .

 2 Q.       In fact , is that the charge          that Mr. Bynum pled

 3 guilty   to ?

 4 A.       Yes , it is .

 5 Q.       Now , if we could put that chart down , please ,

 6 and if you would give me CH-4 .

 7          Before     I talk about CH-4 .     I b elie ve at some

 8 point during       Mr. Montemarano 's testimony      there was

 9 question s about call s to the school          and the school

10 business .       Do you recall   those conversation s?

11 A.       Yes .

12 Q.       And I belie ve you indicated          there was a second

13 telephone       at the school ; is that correct ?

14 A.       Yes .

15 Q.       Show ing you Miscellaneous        42 .

16          MR. MONTEMARANO :       Could I please     see what you're

17 show ing the witness ?

18          MS. JOHNSTON:       Certain ly , counsel .

19          MR. MONTEMARANO :       Thank you .

20          BY MS. JOHNSTON:

21 Q.       Show ing you what 's been mark ed as Miscellaneous

22 42 .

23          Does that refresh       your recollection     concern ing

24 the kind of telephone       activity    that was occurring       over

25 the second       line at Paula 's School of Perform ing Art s?




                                                                Page 179
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 180 of 251



 1            MR. MONTEMARANO:         Objection , Your Honor .

 2            There was no recollection        need ed to be

 3 refreshed .        The detective    answered   my question .

 4            THE COURT:     Can you re state the question ?

 5            BY MS. JOHNSTON:

 6 Q.         Look ing at Miscellaneous       42 , could you de scribe

 7 the nature     of the telephone       activity     on the second   line

 8 at Paula 's School of Perform ing Art s?

 9 A.         Very , very low activity , with a vast majority

10 being in comi ng call s of no duration .

11 Q.         Over what period        of time did you have the pin

12 register     active    on that second     line ?

13 A.         June 30 , 2003 through       October    3, 2003 .

14 Q.         Why did you terminate        your pin register      over the

15 second    line at the school ?

16 A.         A lack of activity .

17 Q.         Consistent    with the other line that we talk ed

18 about yesterday ; is that correct ?

19 A.         Yes .

20 Q.         Now , going to Chart 4.        On e of the defense

21 counsel    asked you what opinion         did you believe      this --

22 what information        did you believe     this chart provided      to

23 the jury .     Do you recall       question s of that nature ?

24 A.         Yes .

25 Q.         Mr. Thurman    is note d on this chart .       You recall




                                                                  Page 180
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 181 of 251



 1 Mr. Thurman 's testimony         in reference     to where he was

 2 when Mr. Good win was arrested ?

 3 A.         Yes .    I believe    he said he was in Texas .

 4 Q.         Do you recall    his testimony        in term s of what he

 5 did because        he -- while in Texas , when he learn ed of

 6 Mr. Good win 's arrest ?

 7 A.         Yes .    He call ed Ms. Martin    for instruction s.

 8 Q.         Did you know about Mr. Goodwin 's arrest          in

 9 November     of 2003 when it happened ?

10 A.         No .

11 Q.         Did you know of Mr. Goodwin 's arrest          in March of

12 2000 --

13            MR. MARTIN:     Objection    to lead ing .

14            MS. JOHNSTON:        I'll re phrase    it .

15            BY MS. JOHNSTON:

16 Q.         Approximately    when did you learn that Mr.

17 Goodwin     had been arrested       by someone    else in the Prince

18 George's     County    Police Department     with drug s?

19 A.         I believe    it was n't until after we had already

20 been up on the wiretap .

21 Q.         Was it sometime       after March of 2004 ?

22 A.         Yes .

23 Q.         Now , in term s of this chart .         Could you explain

24 for the jury , in your own words -- give them your

25 opinion     in term s of what this chart represent s?




                                                                 Page 181
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 182 of 251



 1 A.       This represent s the contact s between          member s of

 2 the conspiracy , one pass ing on word -- in the first

 3 call , that would be Ms. Good win notify ing Ms. Martin              of

 4 Mr. Goodwin 's arrest , in my opinion .          Then after that ,

 5 Ms. Martin    is attempt ing to ascertain        what the problem

 6 is and seek ing advice      and try ing to organize       thing s

 7 until they can get him bond ed out .

 8 Q.       When you talk about organiz ing thing s.            What

 9 call s in here relate      to , in your opinion , Ms. Martin

10 try ing to organize     thing s or keep thing s going while

11 Mr. Goodwin    was --

12 A.       The telephone     contact s with Mr. Thurman        would be

13 the run ning -- that and the contact s with Mr. Irby

14 would be the continui ng in his stead .           Other than that ,

15 the rest are maki ng arrangements         pursuant    to his

16 arrest ; the call s to the law office , the call s to

17 associate s of his like Mr. Lane and call s with Mr.

18 Whiting .

19          MR. HALL:      Objection , Your Honor .

20          May we approach ?

21                    (At the bar of the Court.)

22          MR. HALL:      Your Honor , the reason      I'm object ing

23 to that last comment       about my client , Mr. Whiting        is

24 there 's absolute ly no proof that a contact           or a call

25 was ever complete d.       It 's simply   the fact that there




                                                                Page 182
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 183 of 251



 1 was an activation        of phone to phone , and I think it 's

 2 way past an opinion        and to the level of speculation            for

 3 the officer     to say that in his opinion        that this call

 4 was actual ly complete d and that there was some

 5 particular     purpose    to that call .

 6            For all we know it was simply        a call that he

 7 was n't there and hung up -- a call where he was n't

 8 there and hung up .        In fact , two of the phone call s in

 9 reference     to my client    show that the call was made and

10 obvious ly no connection       occurred , because     there 's

11 another    call made within     a minute .     That 's why I object

12 to that opinion .

13            MS. JOHNSTON:      Your Honor , other counsel        asked

14 this witness     repeat edly about the chart and what , in

15 his opinion , did it represent .           I think I'm entitle d to

16 let him bring out what his opinion            is in term s of the

17 chart .    That 's what I'm doing .

18            In term s of Mr.    Hall 's other objection .        I

19 intend    to go into the length      of some of those other

20 call s in my next few question s.           So , they weren't       just

21 hang -up call s.

22            THE COURT:      Just make sure you finish      up --

23            MR. MCKNETT :     Just for clarification,      Ms.

24 Johnston    is talk ing about my question .        My question        to

25 this witness     was , what do you want this jury to draw




                                                                Page 183
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 184 of 251



1 from this court ?         That was my precise        words .   I want to

2 be clear .

3             MS. JOHNSTON:      I believe    there were several

4 question s Mr. McKnett         asked , changi ng the wording       in

5 this area a little         bit .

6             THE COURT:     Just make sure you stay within            those

7 confine s.

8                           (Back in open court .)

9             BY MS. JOHNSTON:

10 Q.         First of all , Detective       Eveler , can you tell us

11 what Government 's Exhibit          CH-4A is ?

12 A.         Yes .

13 Q.         What is CH-4A ?

14 A.         It 's a printout       of DNR activity    on Ms. Martin 's

15 cell phone and her hard line from November               25 through

16 December     2, 2003 .

17 Q.         Is that the printout        of the data that you use d

18 to compile     chart CH-4 ?

19 A.         Yes .

20 Q.         Was CH-4 intend ed to include          all of Ms. Martin 's

21 contact    with all of the coconspirators            or codefendant s

22 in this case , or was it direct ed towards             particular

23 individuals ?

24 A.         It was direct ed towards       particular     individuals .

25 Q.         What particular        individuals    did you direct     the




                                                                  Page 184
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 185 of 251



 1 preparation        of this chart towards ?

 2 A.         Ms. Martin    and Mr. Goodwin     primarily , along with

 3 Mr. Whiting        and then Mr. Thurman     as he related    to the

 4 event s.

 5 Q.         And Mr. Irby as well ?

 6 A.         Yes .    He 's not a defendant    in this case .

 7 Q.         Why is it that you use d those individuals           for

 8 the prep aration       of this chart ?

 9 A.         I believe    those were the one s pertinent        to the

10 event that we were show ing and tri ed to narrow             it to

11 make it so as not to include          every phone call in there .

12 It would be too voluminous .

13 Q.         Okay .    Now , in that regard , Mr. Whiting 's

14 counsel    asked you question s about his particular            call s.

15            Are you able to ascertain        from CH -4A the

16 duration     of the call s that you've       listed    on this chart

17 between    Ms. Martin     and Mr. Whiting ?

18 A.         Yes .

19 Q.         Okay .    And I hate to do this to you , but I'm

20 going to ask you , so that the record           is clear , to write

21 in next to each of the call s involving            Ms. Martin    and

22 Mr. Whiting        the duration   of each call .      Or if you would

23 like to , read it off , and I'll write it on the chart .

24 A.         I've got it .

25 Q.         Have you got it ?




                                                                 Page 185
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 186 of 251



 1 A.        (Witness    indicati ng .)     This is in minute s and

 2 seconds   is what I'll write .         It 's not hour s.

 3 Q.        What did you write there ?

 4 A.        One minute    and ten seconds .

 5 Q.        If you could go to the next call which , I

 6 believe , is November      26 at 9:07 in the morn ing .

 7 A.        (Witness    indicati ng .)

 8 Q.        What did you write there ?

 9 A.        One minute    and four seconds .

10 Q.        And if we can go down -- I think the next one

11 will be down here at 23 :07 hour s on the 26 th .            There

12 are two in a row .

13 A.        (Witness    indicati ng .)     It 's 40 and 46 seconds .

14 Q.        And then I believe         there are two more on the

15 27 th .

16 A.        That would be 44 and 48 seconds .

17 Q.        I believe    that 's the last one ; is that correct ?

18 A.        Yeah , I believe    so .     Yes .

19 Q.        Counsel    for , I think , Ms. Dobie asked you about

20 whether   that chart was suppose d to depict           people    being

21 notifi ed or receiving       the news that Mr. Goodwin          was

22 arrested .    Was that the purpose         of this chart ?

23 A.        Not -- no , not the general          -- not the general

24 flow of information       to everyone .        Just to say he was

25 arrested .    There was people        who I thought    would be




                                                                   Page 186
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 187 of 251



 1 taking    action .

 2 Q.         What do you mean by "taking         action ?"

 3 A.         Either    assisting   in try ing to get him out of

 4 jail or secret ing evidence , possibly .

 5 Q.         Okay .    In look ing at CH -4A , are you able to tell

 6 whether     or not during    that November     26 -- the date of

 7 the arrest , I believe , was November          25 ; is that

 8 correct ?

 9 A.         Yes .

10 Q.         Between    November   26 and Mr. Goodwin 's arrest        on

11 December     1, whether    or not   Ms. Martin    had any telephone

12 contact     with Ms. Dobie ?

13            So the record    is clear , I meant between        the date

14 of his arrest , November         25 , and his arrest   on December

15 1st .

16 A.         Yes .

17 Q.         What was the    date and time ?

18 A.         November 25 at 20:13      hour s.

19 Q.         I'm going to ask you to highlight         those contact s

20 on that exhibit       CH -4A , please .

21 A.         (Witness indicating.)

22 Q.         While you're    doing that , are there any contact s

23 with Ms. Ali during        the same time period      of Mr.

24 Goodwin 's being incarcerate d between           November   25 and

25 his re lease December       1st, if there were also contact s




                                                                 Page 187
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 188 of 251



 1 between     Martin    and Ms. Ali ?

 2 A.         Yes .

 3 Q.         How about Mr. Bynum ?

 4 A.         Yes .

 5 Q.         And Ms. Hard en ?

 6 A.         Yes , Ms. Hard en .

 7 Q.         Have you highlight ed all of those other contact s

 8 that happened        between   Ms. Martin    and the other

 9 codefendant s not listed           on Chart CH-4 on CH-4 A?

10 A.         No .    I was just do ing the one s with Ms. Dobie .

11            MS. JOHNSTON:       Your Honor , with the court 's

12 permission , may he finish           the highlight ing dur ing the

13 recess ?

14            THE COURT:      Yes .

15            BY MS. JOHNSTON:

16 Q.         We'll let you do that then .         If you could resume

17 the witness        stand for me , please .

18            Just for example , you've        highlight ed here some

19 contact ; is that correct ?

20 A.         That 's correct .

21 Q.         And that would be with the Dobie number ; is that

22 right ?

23 A.         That 's right .

24 Q.         Are the number s that you 're high light ing here

25 number s that were on our CH-2 chart --




                                                                 Page 188
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 189 of 251



 1 A.         Yes .

 2 Q.         -- the summary     telephone      contact   chart ?

 3 A.         Yes .

 4 Q.         I'll lea ve this with you so you can finish               that

 5 during   the break .

 6            Now , there are also question s of you concern ing

 7 the distribution        of drug s and distributor .        What do you

 8 mean by a person        who distribute s drug s?

 9 A.         Someone     who pass es drug s to another      person .

10 Q.         What is en compass ed within        that definition ?

11 A.         Seller s.     People   who ex change     drug s for favor s.

12 I've had case s where people           ex changed   drug s for all

13 sort s of thing s, not cash .          There 's oftentimes       people

14 who will tax the drug s.          If you're    buy ing a small

15 quantity     of drug s, they'll      chip off some and keep it

16 themselves     and just pass it on to you and not even let

17 the customer        know that they -- they pass it on as being

18 a full --

19            MR. WARD:      I object .      This is not responsive       to

20 the question .

21            THE COURT:      Over ruled .

22            by MS. JOHNSTON:

23 Q.         You may continue .

24 A.         I think I was finish ed .

25 Q.         Okay .    In this instance , Mr. Suss man asked you




                                                                    Page 189
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 190 of 251



 1 question s about not find ing any indicia          or

 2 paraphernalia       associate d with   distribution , like those

 3 many bag s plastic       glassine   bag s that were re covered       at

 4 several     different    location s.   Do you recall     that

 5 testimony ?

 6 A.        Yes .

 7 Q.        Based upon your train ing and experience , did you

 8 form an opinion       concern ing whether     or not the absence

 9 of those materials        mean s someone    was not involve d in

10 distribution ?

11 A.        No .

12 Q.        Okay .    Explain   your response .

13 A.        When we search ed , many time s we do not find

14 packaging     material    at drug deal er s' house s.     I've

15 purchase d drug s direct ly from people         and then search ed

16 their house and not found any packaging            materials .       You

17 can distribute       drug s and not package     them .   Drug s on

18 the street       are frequent ly not package d.

19 Q.        Explain    what you mean by that .

20 A.        They're    just held loose in your hand .        If it 's

21 cocaine     base , it 's very easy to hold loose in your

22 hand .    Then if a police officer         approach es you , you

23 toss it .     It look s like gravel     on the ground .     It 's

24 very hard to identify .        It 's a very efficient      way of

25 avoid ing arrest .       If you toss it on the ground , it




                                                                Page 190
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 191 of 251



 1 look s like gravel .       And even if you find it , you may

 2 only find a third of what 's thrown , or none .

 3 Q.         Based upon your train ing and experience , is

 4 there any correlation         between    the quantity    of drug s

 5 someone     is distributing     and whether     or not

 6 paraphernalia,     such as packaging        or cut ting agent s,

 7 would be present ?        Or scale s, for that matter ?

 8            MR. MONTEMARANO :     Relevance .

 9            THE COURT:     Over ruled .

10            THE WITNESS:     Is there a correlation ?

11            BY MS. JOHNSTON:

12 Q.         Is there a correlation         between   the quantity      of

13 drug s a person    is distributing        and the presence       of

14 packaging     materials    or cut ting agent s or scale s?

15 A.         Not necessarily .     It depends     on if you're

16 re packaging .    Some people     just buy the narcotic s from

17 their suppli er and pass it on and just tack on a high er

18 price and don't re package        it , don't cut it , don't do

19 anything     with it .

20 Q.         In term s of ledger s.        Based upon your train ing

21 and experience , are ledger s always           present   when

22 someone 's involve d in the distribution            of drug s?

23 A.         No .

24 Q.         Under what circumstance s, based on your train ing

25 and experience , would you expect           to find ledger s or not




                                                                   Page 191
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 192 of 251



 1 expect   to find ledger s?

 2 A.       If someone    is run ning a debt , it would assist               if

 3 you kept the ledger       maintain ing that -- keep ing track

 4 of their debt so you know how much they owe you .                   If

 5 they are being paid on a cash and carry basis , then the

 6 necessity    of keep ing a ledger     is much less .

 7 Q.       Is there any difference          in term s of the quantity

 8 of drug s someone     might be involve d in distributing             in

 9 term s of whether     they keep a ledger       or not ?

10 A.       No .

11 Q.       Mr. Ward asked you some question s and brought

12 you a transcript      of Mr. - -- part of a transcript          of Mr.

13 Thurman 's testimony .      Do you recall      that ?

14 A.       Yes .

15 Q.       I guess we'll mark this as the next -- Mr. Ward ,

16 did you mark the June 20 transcript            as an exhibit        for

17 identification .

18          MR. WARD:     I don't think so .       I don't remember .

19          MS. JOHNSTON:       Just so the record         is clear ,

20 we'll mark our copy of the June 20 , 2006 transcript                     as

21 the next miscellaneous       number   which , I believe,       is

22 Miscellaneous     43 for identification        purpose s.

23          MR. WARD:     I'm sorry .       This is the 20 th ?

24          MS. JOHNSTON:       June 20 .

25          MR. WARD:     Okay .




                                                                  Page 192
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 193 of 251



 1           BY MS. JOHNSTON:

 2 Q.        This is a transcript       where counsel    asked you

 3 about when Mr. Thurman        had be gun using drug s on Page 3;

 4 is that correct ?

 5 A.        Yes .

 6 Q.        And that he had start ed in 19 91 and stopped           in

 7 2004 ; is that correct ?

 8 A.        That 's correct .

 9 Q.        What else did Mr. Thurman         say concern ing how

10 whether   his use was continuous , in response          to Mr.

11 McKnett 's question ?

12 A.        His answer    was , I'm not sure of the date but I

13 stopped   on and off when I was lock ed up the first time .

14 So , on and off .      It was n't straight     until '04.

15 Q.        He then asked you question s about Mr. Thurman 's

16 testimony    concern ing an eight ball , and again referring

17 to Mr. McKnett 's cross-examination          , the June 20

18 transcript , Miscellaneous       43 .

19           MR. WARD:     What page , ma'am ?

20           BY MS. JOHNSTON:

21 Q.        Start ing on Page 6, c ould you read for the jury

22 what Mr. - -- start ing on Page 6, L ine 19 .          If you

23 could , read the question s and answer s in term s of what

24 Mr. Thurman       said in response      to Mr. McKnett 's question s

25 about eight ball s and what he did with them .




                                                                Page 193
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 194 of 251



 1 A.         Question :     How much were you buy ing from Tony

 2 when you start ed to re sell crack powder                cocaine , excuse

 3 me ?

 4            An eight ball .

 5            Question :     An eight ?

 6            Answer :     Yes .

 7            Question :     You were buy ing one eight          ball to

 8 use ; correct ?

 9            Answer :     To use and sell .

10 Q.         Continue     on the next page .

11 A.         Question :     Maybe I'm confusing        you and myself

12 with the question .            Let me re phrase   it .    When you

13 bought   an eight ball from Tony -- strike                that .     Did you

14 start buy ing eight ball s from Tony for your own

15 personal    use first ?

16            Answer :     No .

17            Question :     A n eight ball would be rough ly three

18 ounce s three gram s; correct ?

19            Answer :     Give or take , yes .

20            Question :     When did you start buy ing eight ball s

21 from Tony ?

22            Answer :     I don't remember     the exact date or

23 time .

24            Question :     Do you remember      what decade         it was ?

25            Answer :   P robably     '01.




                                                                       Page 194
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 195 of 251



 1 Q.         Okay .     And then he goes into about sell ing weed ;

 2 is that correct ?        T he next question ?

 3 A.         Yes .

 4 Q.         Okay .     And then he get s back to the cocaine

 5 again ; is that correct ?

 6 A.         That 's correct .

 7 Q.         If we go to the next page , Page 8.        Are there

 8 further    question s from Mr. McKnett        concern ing the eight

 9 ball and what Mr. Thurman         did with it ?

10 A.         Yes .

11 Q.         Start ing on Line 5 .     What's   the question , and

12 what was Mr. Thurman 's response ?

13 A.         Question :     The first time you bought      cocaine

14 from Tony to sell , how much        did you buy ?

15            Answer :     An eight ball .

16            Question :     And you use d some of that eight ball ?

17            Answer :     Yes .

18            Question :     And you sold some of the eight ball ?

19            Answer :     Yes .

20            Question :     The part that you sold -- strike

21 that .    How much did you pay Tony for an eight ball ?

22            Answer :     I'm not sure of the exact price .

23 Anywhere     from $125 to $150 .

24            Question :     When you stopped    buy ing eight ball s

25 -- when you stopped         buy ing eight ball s from Tony ?




                                                                Page 195
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 196 of 251



 1            Answer :     A couple    of week s after I start ed

 2 buy ing from him .

 3            Question :     You only bought       eight ball s from Tony

 4 for a couple     of week s?

 5            Answer :     Yeah .   Maybe two to three week s.

 6            Question :     What portion     of the     eight ball that

 7 you didn't     use yourself        did you re package    it ?   How did

 8 you re package     it ?    In bag s?     What size bag s?

 9            Answer :     I don't know     the size .

10 Q.         If I could see it .         Okay .   And if you could

11 continue    at the top of Page 9 with the further

12 discussion     in response       to Mr. McKnett 's question       about

13 the eight ball and his use of it .

14 A.         Question :     Well , how much of the eight ball did

15 you use ?

16            Answer :     Maybe a gram .

17            Question:      So you would have about two grams

18 left ; correct ?

19            Answer :     Yes .

20            Question :     And then you would re pack age that

21 into bag s; correct ?

22            Answer :     Correct .

23            Question :     How many bag s would you re package

24 that two grams into ?

25            Answer :     $10 or more .




                                                                   Page 196
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 197 of 251



 1           Question :     How much would you sell each of those

 2 bag s for ?

 3           Answer : $10 or more .

 4 Q.        Okay .    Now , you were testify ing before      about

 5 sell ing -- your experience         is sometimes    the deal er will

 6 just hold it and drop it if the police             come ; is that

 7 correct ?

 8 A.        Yes .

 9 Q.        The quantity     you're   dropping    and hopi ng it look s

10 just like gavel was what quantity , approximately ?

11 A.        It would be multiple       $20 rock s or .1 grams .

12 Q.        Okay .    Is that the same quantity       that Mr.

13 Thurman     was discuss ing that he was re sell ing i n his

14 testimony     here ?

15 A.        Yes , yes .

16 Q.        Court 's indulgence .

17           On CH-1, Mr. Ward asked you some question s about

18 Ms. Dobie 's role as distributor          or facilitato r.       Could

19 you de scribe      for us what evidence      cause d you to place

20 her in that category        on the chart ?

21 A.        The telephone     intercept s, the -- not only was

22 she call ing Ms. Martin       and asking     for quantiti es of

23 cocaine     -- crack cocaine , but she was also offering            a

24 source    of supply     to Ms. Martin .    She and her husband

25 Goldie    were attempt ing to identify         new source s of




                                                                Page 197
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 198 of 251



 1 supply , and she also -- there were call s referenci ng a

 2 quantity     of heroin     which she had for sale , as well as

 3 the evidence      seized    from her residence      during    the

 4 search   warrant .

 5 Q.         There were some question s about surveillance             on

 6 different     individuals .       Is it safe to say that your

 7 case was not the only case being handle d by the Prince

 8 George's     County   narcotic s unit at the time ?

 9 A.         That 's correct .

10 Q.         Jus t so the jury has an idea .         Mr. Mitchell

11 asked you about how many police officers               there are in

12 Prince   George's     County .     How many officer s are assign ed

13 to the narcotic s unit , approximately ?

14 A.         Sworn officer s?       I'd say 50 .

15 Q.         And of those 50 , do they get -- do they only

16 work on one detective 's investigation s at a time ?

17 A.         No .   We're divide d into several       section s.

18 There 's a Vice /I ntelligence        section    that we rare ly work

19 with .   There 's diversion        investigato rs who handle

20 prescriptions diversion --           i t's diversion    of legitimate

21 drug s for ill egitimate         purpose s.   We have a financial

22 investigative      unit which support s the entire           division .

23 We have a parcel       interdiction     unit , and we have a

24 street   narcotic s section .        So , my main contact      was

25 with , at the time , about eight to ten major narcotic s




                                                                  Page 198
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 199 of 251



 1 investigator s.

 2 Q.         Some of those investigator s came in here and

 3 testifi ed in term s of surveil lances         and the search

 4 warrant s they assisted          with ; is that correct ?

 5 A.         Yes .

 6 Q.         On any given day , in term s of surveillance , did

 7 you -- strike        that .

 8            Did you have surveillance        officer s available    to

 9 you 24 /7 during       the time the wiretap     was up ?

10 A.         No .

11 Q.         In this case there were also some question s

12 about see ing people          going in and see ing Ms. Ali and Ms.

13 Martin     also leavi ng with the pack ages and going to the

14 school .

15            Did you make an effort        to stop them on their way

16 to the school        or ask other officer s to stop them with

17 the package s on the way to the school ?

18 A.         No .

19 Q.         Why not ?

20 A.         Well , one , we could n't even get our surveillance

21 agent to her house in time to even conduct             a

22 surveillance        at the residence .    We could n't even get

23 him to the school        in time to observe     the activity    from

24 the vehicle        to the school .

25            Also , had we stopped      Ms. Martin   and Ms. Ali at




                                                                Page 199
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 200 of 251



 1 that time , we were not in a position             to be able to

 2 execute     our search       warrant s, and we would have lost

 3 valuable     evidence , I believe , if we had arrested            Ms.

 4 Martin    and Ms. Ali that day or made a seizure               from them

 5 that day .

 6 Q.         In fact , when Detective         Roger St . Louis    arrive d

 7 at the school , do you recall             where Ms. Mart in and    Ms.

 8 Ali were already ?

 9 A.         They were already        in side the school .

10 Q.         Could you have entered          the school   without   a

11 search    warrant     at that time ?

12 A.         Not if we want ed to use the evidence           for any

13 court purpose s.

14 Q.         Okay .    How long does it take you to get a search

15 warrant ?

16 A.         A few hour s.

17 Q.         Court 's indulgence .

18            I had asked you some question s about

19 paraphernalia .        In term s of the transaction        like we

20 heard Mr. Thurman           de scribe   and how he -- what he did

21 with eight ball s, using some and sell ing some .

22            Based on your train ing and experience , does an

23 individual        require    a scale to engage    in those kind of

24 transactions ?

25 A.         No .




                                                                   Page 200
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 201 of 251



 1 Q.        Why not ?

 2 A.        You can eyeball       a $20 rock .     Oftentimes     when

 3 you're    buy ing them , the guy will hold out several               to

 4 you and you can see a bigger              one and a small er one , and

 5 for some reason , even though             I'm not a drug user or an

 6 addict , I still want to buy the big one and you go f or

 7 the big rock because you            will see different     size s.

 8 It 's not a scientific         weight .     Oftentimes , they're

 9 eyeball ed .

10 Q.        Not only in term s of the buyer , but did Mr.

11 Thurman    in fact      de scribe   how he would divvy it up into

12 a certain      number    of package s after he took some for

13 use ?

14 A.        Yes .

15           MS. JOHNSTON:        I have nothing       further .

16           THE COURT:       All right .      We'll take a recess

17 until five minute s after four , and then we will resume .

18                           (Jury excused at 3:47 p.m.)

19                           (Off the record      at 3:47 p.m. )

20                           (On the record      at 4:04 p.m. )

21           THE COURT:       Counsel , before     we bring the jury

22 in , I want to say a couple           of thing s.    There is now a

23 second    sign on the door out there that I just put up

24 that says , if you're         a witness , stay out of the

25 courtroom , because        someone    came in this afternoon         and I




                                                                   Page 201
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 202 of 251



 1 had my law clerk go say , are you a witness ?                And it was

 2 just a lawyer     watching     the case .     So , I'm do ing the

 3 best I can to make sure the rule is follow ed .

 4            I have a guilty     plea at 9:00 tomorrow , and what

 5 I'm going to do is -- are we all here now ?                 Counsel ,

 6 for those who came in .         If you walk ed in , you saw I had

 7 a sign put up that says , if you're            a witness , stay out

 8 of the courtroom .         So that , hope fully , will help

 9 self- administer     the rule of sequestering            witness es .

10            I have a guilty     plea at 9 o'clock         tomorrow .

11 What I'm going to do is to request             that all parti es and

12 counsel    be ready to go at 9:30 .          That does n't mean you

13 might not have to wait a few minute s.

14            I'm not sure exact ly where we're going to be ,

15 but we are now on potential            re cross .   I gave a lot of

16 latitude    to a fair ly re dun dant amount         of

17 cross-examination     .     I'm going to be very care ful not to

18 let that happen      on a re cross we want to get this

19 witness    finish ed today , and I want to leave enough

20 time , if there 's going to be motion s at the end of the

21 government 's case , to hear them or start to hear them

22 today and if not , hear them before            the jury goes in the

23 box at 10 o'clock         tomorrow .    So , be forewarn ed, and we

24 will proceed .

25            Bring the jury in .




                                                                   Page 202
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 203 of 251



 1                   (Witness    resume s the stand .)

 2                   (Jury returns      at 4:08 p.m. )

 3          THE COURT:      All right .    You may proceed , Mr.

 4 Montemarano .

 5                         RECROSS EXAMINATIO      N

 6          BY MR.    MONTEMARANO :

 7 Q.       Thank you , Your Honor .

 8          On re direct , Ms. Johnston         pose d a few question s

 9 to you , Corporal      Eveler , regard ing your ability      to

10 seize item s not enumerate d in the attachment            to the

11 search   warrant .

12          Do you remember       that series     of question s?

13 A.       Yes .

14 Q.       You state d you don't take thing s that are not on

15 the A ttachment      because , "that 's not what we're there

16 for ."   Do you recall       those words ?

17 A.       Words to that effect , yes .

18 Q.       Words to that effect .        Maybe I got them wrong .

19          You did a series       of search es on "Raid D ay " of

20 June 1, 2004 ; correct ?

21 A.       And Two , yes .      12 .

22 Q.       12 .    Talk ing about -- but I'm talk ing about June

23 1.   On that date , you did a number          of search es in the

24 state of Maryland ; correct ?

25 A.       Yes .




                                                                Page 203
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 204 of 251



 1 Q.         Including     Ms. Martin 's home at 810 Hayward ;

 2 correct ?

 3 A.         Correct .

 4 Q.         Were the search     and seizure      warrant s the same

 5 for all of the Maryland         location s and the attachment s

 6 all the same ?

 7 A.         I can't recall .

 8 Q.         I'm going to show you a document          which we've had

 9 mark ed for identification        as D efendant     Martin   Exhibit

10 3.   I want you to take a look at that .

11            MS. JOHNSTON:      Excuse   me .    Mr. Montemarano , what

12 exhibit     number ?

13            MR. MONTEMARANO:      Exhibit 3 .

14            MS. JOHNSTON:      Thank you .

15            BY MR. MONTEMARANO:

16 Q.         Does that look familiar ?

17 A.         Not particular ly .

18 Q.         Not particular ly ?

19 A.         I've seen a lot of these .          I'm not sure which

20 location     this goes to .

21 Q.         I'm sorry ?

22 A.         I don't know     which warrant      this is attach ed to ,

23 if it was .

24 Q.         This was provided     to me by Mr. McKnett .        I'm

25 traveling     a little    light today .       This is attach ed to




                                                                 Page 204
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 205 of 251



 1 this .

 2           MS. JOHNSTON:      Objection     to counsel   testify ing

 3 about where it came from .

 4           THE COURT:     Let him finish      the question .

 5           BY MR. MONTEMARANO :

 6 Q.        This would be the one attach ed to the search

 7 warrant     for Ms. Ali 's home at 620 Sheridan.          Does that

 8 sound reasonable       to you , based upon your re view ?

 9 A.        Could be .

10 Q.        Would you agree it 's one of the one s from this

11 case ?

12           You see Paulette     Martin 's name , do you not ?

13 A.        Yes .    But if we had the warrant      and the

14 attachment     that it went to , then I could put it in

15 context .

16 Q.        Let 's just work from this one , okay ?

17 A.        Okay .

18 Q.        If you would n't mind .

19           Item 12 .    That 's --

20           MS. JOHNSTON:      Objection .

21           Your Honor , the witness       has not identifi ed this

22 exhibit .

23           THE COURT:     Is it not identifi ed as an exhibit ?

24           MS. JOHNSTON:      He said he can't say whether         this

25 is an exhibit      from a particular     search   location    or not .




                                                                 Page 205
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 206 of 251



 1 It 's an attachment .

 2           THE COURT:      Can you give him the real thing so

 3 we don't have to speculate ?

 4           MR. MCKNETT:      Your Honor , may I consult             with Mr.

 5 Montemarano       for a second     on this ?

 6           MR. MONTEMARANO:         I'm going to give Ms.

 7 Forsberg,     our handy dandy clerk -- this will be Dobie

 8 Exhibit     whatever   the next number         is .

 9           MR. WARD:      Exhibit    for identification          only ?

10           THE CLERK:      It 's a Dobie exhibit ?

11           MS. JOHNSTON:      Mr. Montemarano , can I see it ?

12 I'm going to walk to you .

13           MR. WARD:      What's    the number , Mr. Montemarano ?

14           BY MR. MONTEMARANO:

15 Q.        Since the ladies and gentlemen of the jury                     don't

16 do this for a living , let 's educate                 them brief ly .

17 There 's an affidavit      filed request ing with -- with the

18 court ; correct ?

19 A.        Yes .

20 Q.        And the affidavit        request s the ability         to search

21 a location     or many location s; correct ?

22 A.        Yes .

23 Q.        And it 's invariably       not eight affidavit s for

24 eight location s, and there were 26 location s here ;

25 correct ?




                                                                      Page 206
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 207 of 251



 1          MS. JOHNSTON:        Objection    on relevance .

 2          THE COURT:      Where are we going with this , Mr.

 3 Montemarano ?

 4          MS. JOHNSTON:        This is re cross .

 5          MR. MONTEMARANO :       Since the officer     want s to be

 6 clear with regard      to this affidavit , I want to

 7 establish    so the jury understand s what this document

 8 embodi es and what it does not embody , and I'm going to

 9 be very brief .

10          THE COURT:      Be very brief .      This is re cross , and

11 there 's a very limited       right of re cross .

12          BY MR. MONTEMARANO :

13 Q.       Thank you .

14          In this case there were about 26 location s

15 search ed on the 1st and       the 2nd ?

16 A.       Approximately .

17 Q.       There was one after affidavit , and 's listed

18 serial ly , the address es and why they were important             in

19 the affidavit ; correct , sir ?

20 A.       I believe     there were two affidavit s.          There 's

21 one in the District of Columbia            and one in Maryland .

22 Q.       Sorry .    In Maryland    -- one for the location s in

23 Maryland ; correct ?

24 A.       I believe     so .

25 Q.       Okay .    And then there would have been a single




                                                                 Page 207
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 208 of 251



 1 warrant    and attachment      for each of the separate

 2 location s; correct , sir ?

 3 A.         I believe   so .

 4 Q.         That 's based upon your knowledge            and experience

 5 and train ing , because       you've    been do ing this for a few

 6 year s; correct , sir ?

 7 A.         Yes .

 8 Q.         I'm show ing you Dobie 3 for identification            which

 9 Mr. Ward provided      me .    This is the one for Ninth

10 Street .     That 's Ms. Dobie's       address .   That 's the one -

11 page warrant ; correct , sir ?          The application .

12 A.         Yes .

13 Q.         And then follow ing be hind that is Attachment           B;

14 correct , sir ?

15 A.         Yes .

16 Q.         That would be the same Attachment             B for all of

17 the location s; correct , sir ?

18 A.         I believe   so .   I didn't    do this affidavit .

19 Q.         Okay .   Why don't you use that one ?           I'll take a

20 look at this one .       I'd like you please        to look at --

21 court 's indulgence , please .          Look at Item 16 .

22 A.         Yes .

23 Q.         Any and all document s, records         or

24 correspondence s pertain ing to Paulette            Martin 's

25 business es or residence s; correct , sir ?




                                                                   Page 208
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 209 of 251



 1 A.         Yes .

 2 Q.         That would have covered       all kinds of document s

 3 relating     to any business       Ms. Martin   would be involve d

 4 in ; correct , sir ?

 5 A.         Yes .

 6 Q.         In voice s, involving     clothi ng ; correct , sir ?

 7 A.         Yes .

 8 Q.         Checkbook    involving    PTK Enterprise s; correct ,

 9 sir ?

10 A.         Yes .

11 Q.         All of these thing s that Ms. Johnston          tr ied to

12 establish     with you that you could n't seize ; correct ,

13 sir .

14            MS. JOHNSTON:        Objection .

15            THE WITNESS:     No .

16            THE COURT:     Sustained .

17            BY MR. MONTEMARANO :

18 Q.         You could have seize d anything        relating    to

19 clothi ng , because     that involve d the business;         is that

20 correct ?

21 A.         I believe    when you spoke to me earlier         about

22 this , you were speak ing specifically           to clothi ng and

23 whether     I re view ed the    clothi ng not records   pertain ing

24 to the clothi ng .

25 Q.         I recall    asking    about paper work, too .     We'll go




                                                                 Page 209
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 210 of 251



 1 on .

 2           Before    16 , we get to Item 15 on the precedi ng

 3 page .    Records , documents      an d in voice materials    that

 4 concern    any transactions       with the business es ,

 5 individuals       or properti es associate d with Paulette

 6 Martin , Paulette      Akufo , Paulette    Murphy , or by

 7 individuals       associate d with Martin , including       but not

 8 limited    to escrow    records , check s, check ing account s

 9 and savings       account , payment   records , tax receipt s,

10 disperse ment journal s, general        ledger s, financial

11 statement s, in voice s, bill ing statement s, and payroll

12 records ; correct , sir ?

13 A.        Yes .

14 Q.        So anything     like that you could have seize d when

15 you were in Ms. Martin 's premises          at 810 Hayward     on

16 June 1st ; correct , sir ?

17 A.        It 's my understand ing we did .

18 Q.        Thank you .

19           So the answer     would be yes ?

20 A.        Yes .

21 Q.        Thank you .

22           Thank you very much , Mr. Ward .

23           MR. WARD:      You're   welcome , Mr. Montemarano .

24           THE COURT:      Any further    re cross ?

25           MR. MONTEMARANO:        That 's it , Your Honor .    Thank




                                                                 Page 210
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 211 of 251



 1 you very much .

 2          MR. MARTIN:       Yes , Your Honor , brief ly .

 3          MR. WARD:     I'm sorry .     Go ahead , Mr. Martin .

 4          MR. MARTIN:       Thank you , sir .

 5                        RECROSS EXAMINATION

 6          BY MR. MARTIN:

 7 Q.       Get ting back to Chart 4, brief ly .

 8 A.       Would you like me to step down ?

 9 Q.       I think it might be easier         if you do .     I hate to

10 do that to you .      I know you've     been up and down a

11 number   of time s.

12          Let 's start from the line -- I guess this is the

13 second   line here at 00: 46 hour s.        Constance   Goodwin

14 telephone s Martin .      Constance   Good win is not on the

15 indict ment , is she ?

16 A.       No .

17 Q.       And then let 's go to line 00:53.           That 's

18 Constance    Good win again ; right ?

19 A.       This 's right .

20 Q.       And then we 've got 00:56 .        That 's Mr. Whiting

21 who has legal train ing .

22 A.       Yes .

23 Q.       And now let 's go to the next line down .             What is

24 that ? 01:00 hour s and Constance        Good win again ?

25 A.       Yes .




                                                                  Page 211
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 212 of 251



 1 Q.        And Constance        Good win is Mr. Goodwin 's wife ?

 2 A.        Yes .

 3 Q.        And then we go to 01:47 hour s.             That 's Mr. Irby,

 4 who also is not on the indict ment ; right ?

 5 A.        That 's correct .

 6 Q.        And 07:36 hour s.         Mr. John Ford .     He 's not on

 7 the indict ment either , is he ?

 8 A.        No .

 9 Q.        And we've got another          call at 08 :32 hour s,

10 Constance Goodwin.            08:35 , Constance Goodwin.     08:36,

11 Constance    Good win .       0 8:40 , Constance    Good win , and 09:07

12 Mr. Whiting       again .

13           We now go down to 13 :30 hour s.            Law Office of

14 Houlan    and Berman .        It 's not your testimony     that

15 anybody    at Houlan        and Berma n was involve d in

16 distributing       drug s, is it ?

17 A.        No .

18 Q.        And no one from that firm was on the in dictment.

19 A.        No .

20 Q.        We've got further         call s from Constance,     Mr. Irby

21 we've already       talk ed about .     Then at 23 :38 hour s we've

22 got Bail Bond Express .           Was anybody      at Bail Bond

23 Express , as far as          you know , part of this conspiracy ?

24 A.        No .

25 Q.        So , no one that I've mention ed so far was




                                                                  Page 212
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 213 of 251



 1 secret ing information       or involve d in the conspiracy           as

 2 far as   you know ; right ?

 3 A.         I don't think     there 's any information        to

 4 secret ing information .         I think there 's a reference         to

 5 pass ing information .

 6 Q.         Pass ing information .       I thought     I heard the word

 7 "secret ing ."

 8            Would you agree with me that if we count ed all

 9 of these up , the total number          of call s is 64 ?

10 A.         I didn't   count .

11            MS. JOHNSTON:        Objection .   Objection .

12            Beyond   the scope of re direct .

13            MR. MARTIN:      It is not , Your Honor .        If you want

14 us to approach , I will .

15            THE COURT:      You're   right on the edge .

16            Over ruled .

17            BY MR. MARTIN:

18 Q.         There are a number       of call s here ; right ?

19 A.         Yes .

20 Q.         Would it be fair to say that the overwhelming

21 majority     of these call s involve       Constance    Good win ?    You

22 can count them on the chart .

23 A.         The majority     involve    Ms. Martin .

24 Q.         Would it be fair to say that more than half of

25 these call s involve       Constance    Goodwin ?




                                                                     Page 213
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 214 of 251



 1          If you want to take a moment           to count them and

 2 after that , sir , you can go back to the witness              stand .

 3 A.       I believe    I would agree with that .

 4 Q.       How many call s did you count ?

 5 A.       20 .

 6 Q.       I count ed 36 .     Maybe we should      go through    each

 7 one again .

 8          MS. JOHNSTON:       Objection .

 9          Beyond   the scope of re direct .

10          MR. MARTIN:       It is not , Your Honor .

11          MS. JOHNSTON:       The document      speak s for itself .

12          MR. MARTIN:       I made that same argu ment when it

13 was first introduced .

14          THE COURT:      Let him take a look at it .

15          BY MR. MARTIN:

16 Q.       Would you please      count how many call s are there

17 and how many involve       Constance    Goodwin .    Or do you want

18 me to do it for you ?

19 A.       Whatever    you please    is fine .

20 Q.       Why don't you count ?

21 A.       Five plus six is 11 --        so, that would be 70 -some

22 call s, and I think I count ed 20 with Constance .

23 Q.       I count ed 36 with Constance .          I'm not going to

24 bore the juror s with that .        They will have an

25 opportunity     to go through     that and count it up




                                                                Page 214
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 215 of 251



1 themselves .

2             You also -- I'm sorry , sir .       If you would have a

3 seat , please .

4             You also made reference     to Larry Lane and

5 Tiffany      Vessel s.    My recollection    is neither   one of

6 them testifi ed in this case ; is that your recollection ?

7 A.          That 's correct .

8 Q.          And you said you had an opportunity         to speak

9 with both of them ?

10 A.         Yes .

11 Q.         And I take it during     that conversation      with Mr.

12 Lane , you told -- you spoke to him about his possible

13 jail time ?

14 A.         No .    That 's not my function .

15 Q.         You also talk ed about the fact that some of the

16 business     activities    of Mr. Goodwin    were not legitimate

17 in your estimation ?

18 A.         Yes .

19 Q.         Do you hold a degree     in account ing ?

20 A.         No .

21 Q.         Did you audit the business       to see where the

22 income   was comi ng from ?

23 A.         No .

24 Q.         Did you audit the business       to determine    where

25 the income        was going to ?




                                                               Page 215
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 216 of 251



 1 A.        No .

 2           MR. MARTIN:     I have nothing     further , Your Honor .

 3 Thank you for your patience .

 4           THE COURT:     Any further    re cross ?

 5           MR. HALL:     Just a couple    of question s, Your

 6 Honor .

 7           Ms . Johnston , does he have the original          CH up

 8 there .

 9           MS. JOHNSTON:      Yes , I think -- no , he does not .

10                         RECROSS EXAMINATION

11           BY MR. HALL:

12 Q.        Do you have CH-4 A up there ?       I was going to

13 refer to it , and I don't want -- I want ed to use the

14 actual    court document .

15           Let me show you CH-4A .       D o you recall    that

16 document , sir ?

17 A.        Yes .

18 Q.        That 's the -- just to make it clear , CH-4 , the

19 large chart -- I'm not going to make you get down and

20 show it to the jury again , but the          large chart .       Those

21 are the call s that you select ed for that chart , and

22 they came from CH-4 A; is that correct ?

23 A.        Yes .

24 Q.        Okay .   So all of the information         that 's on that

25 chart is reflect ed in this document , CH-4A that I just




                                                                Page 216
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 217 of 251



 1 hand ed you ; is that correct ?

 2 A.        Yes .

 3 Q.        Let me just ask you a couple            of question s.    If

 4 you turn to Page 3 of that document , which has several

 5 phone calls involving        my client , Mr. Whiting .

 6 A.        Yes .

 7 Q.        Okay .    This document    list s -- has a column        the

 8 third column       over call ed "D ate ."    It   give s you the date

 9 that the call occurred ; right ?

10 A.        Correct .

11 Q.        And it has a column       with the time of the call ;

12 correct ?

13 A.        That 's correct .

14 Q.        And that 's the actual      time that the call

15 occurred ; right ?

16 A.        Yes .

17 Q.        Okay .    And then it has a column         call ed

18 "D uration " which     tell s you how long the phone call was ;

19 right ?

20 A.        That 's correct .

21 Q.        And then it has a column          of the "N umber Dialed ;"

22 correct ?

23 A.        That 's correct .

24 Q.        And then the dialed       -- the person      who was the

25 subscriber    or dial ler name ; is that correct ?




                                                                  Page 217
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 218 of 251



 1 A.        Yes .

 2 Q.        All right .     You point ed out -- it 's included      on

 3 chart CH-4, several       phone call s that were made to Mr.

 4 Whiting 's phone number ; is that correct ?

 5 A.        That 's correct .

 6 Q.        I believe     the first one is on 11 -26 at 56 :39 ; is

 7 that correct ?

 8 A.        Yes .

 9 Q.        That was the one for one minute        and ten seconds ;

10 is that right ?

11 A.        That 's right .

12 Q.        Would you agree with me that that is not

13 in consistent      with leavi ng a message ?

14 A.        It could be .     Possibly .

15 Q.        Okay .    Would you agree that one minute       and ten

16 seconds   is not a very long phone call , is it ?

17 A.        We have some of the call s that were transcribe d

18 and play ed in court which were less than a minute .

19 Q.        All right .     Let me ask you this.      If you look on

20 the same page , down the page a little          bit -- let me

21 just show you -- for example , you have a call to the

22 phone line to get time and temperature .            How long was

23 that phone call ?

24 A.        That 's a minute eight .

25 Q.        Not too far off; right ?




                                                               Page 218
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 219 of 251



 1 A.        From ?

 2 Q.        Length wise for the phone call , that 's not --

 3 it 's only two seconds       difference       between   that and the

 4 phone call to Mr. Whiting ; is that correct ?

 5 A.        That 's right .

 6 Q.        Just to make it absolute ly clear .            These call s

 7 only show that someone          using the phone at Ms. Martin 's

 8 number    call ed Mr. Whiting 's phone number ; is that

 9 correct ?

10 A.        That 's correct .

11           MR. HALL:    Thank you .         That 's all I have .

12           THE COURT:      All right .       Mr. Mitchell .

13           MR. MITCHELL:         No question s, Your Honor .

14           THE COURT:      Mr.     Ward .

15           MR. WARD:    I think I'll -- if everybody           can hear

16 me , I'll stand here .

17                        RECROSS EXAMINATION

18           BY MR . WARD:

19 Q.        I think the first series           of question s you were

20 asked by Ms. Johnston        on re direct      had to do with search

21 warrant s.     I don't want to again beat this thing to

22 death , but you said that a magistrate             said in the

23 warrant     what you could look for and what you could

24 seize .     Is that my correct       understand ing of your

25 testimony ?




                                                                 Page 219
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 220 of 251



 1 A.         No .     What I was indicati ng was he 's the final

 2 authority .        If he saw something    on that attachment          that

 3 was outside        the scope or outside    the probable       cause

 4 articulate d in the affidavit , he would not approve                  that

 5 warrant .

 6 Q.         Okay .     I mean , let 's just think of    an example

 7 here .    Look ing for drug s, and in the attachment            or the

 8 warrant     authorizi ng what -- stati ng what you can seize ,

 9 you list , you know , a bottle         of moon shine , okay ?

10 A.         Okay .

11 Q.         That 's clear ly not within     the scope of the

12 warrant , is it ?        I mean , look ing for drug s --

13 A.         If it was -- maybe I didn't        follow   your

14 question .        If I was search ing -- if articulate d in the

15 affidavit     is a search     for narcotic s and I had probable

16 cause to believe         the person   was involve d in moon shine ,

17 then I could seize the moon shine , possibly .             But if I

18 didn't    articulate      that , no , I could not .

19 Q.         If all you articulate d was drug s and drug

20 activity     and you saw the moon shine , you would n't be

21 able to seize that , I think you said , but you would

22 recognize     it as being an il licit product ; right ?

23 A.         Right .

24 Q.         I thought     you said you then had to go back to

25 the magistrate        and get another    warrant ; is that




                                                                  Page 220
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 221 of 251



 1 correct ?

 2 A.       Or you could just choose        not to seize that item .

 3 Q.       Or choose    not to seize it .      But if you want ed to

 4 seize it , you would have to get a new warrant ?

 5 A.       It depends .     If it 's contraband      -- if I'm there

 6 search ing for a firearm s violation         and I see narcotic s,

 7 I would n't have to go back and get a warrant             for the

 8 narcotic s, because     narcotic s in and of themselves         are

 9 illegal .    If they're    in plain view , I could seize them

10 under an exception .

11 Q.       Saw ed off shotgun .       You would n't have to get a

12 search   warrant    for that , because    that 's something

13 that 's illegal .

14 A.       Less than an 18" barrel ?         Yes .

15 Q.       You recall     the testimony    of the    detective , the

16 one with the ponytail .         What was his name ?

17 A.       Detective    Papalia .

18 Q.       Detective    Papalia , that 's correct .

19          Detective    Papalia     testifi ed to all sort s of

20 credit   card document s in different        name s, and I think

21 there were D. C. license s with the same picture             and

22 different    name s and address es on them ; is that correct ,

23 sir ?

24 A.       Yes .

25 Q.       Based on your experience        -- and I real ize you




                                                                Page 221
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 222 of 251



 1 spent most of your time in narcotic s -- that sounds

 2 like some kind of a credit         card fraud scam , does n't it ?

 3 That kind of stuff ?

 4 A.         It could .   Oftentimes , if we find

 5 identification , you will seize it to show there 's a

 6 term "indicia     of occupancy ."     So , you will take

 7 document s like that and try to determine            if those --

 8 late r if those people       have any tie s to that address .

 9 Q.         Do you recollect     that of the document s that were

10 shown on the screen        by Ms. Johnston    that any of them

11 related     to that address ?    They had address es for that

12 address ?

13 A.         Not after -- oftentimes , people       will have an

14 I. D. and it list s the address       where it 's re covered .

15 That does n't mean the person        does n't live there , but on

16 followup     investigation    of those credit     cards and I. D. I

17 could tie none of the strange         name s to occupant s of

18 that residence .

19 Q.         But it 's fair to say that according         to Detective

20 Papalia , nobody     went back and got a second        warrant .

21            MS. JOHNSTON:     Objection   Your Honor .

22            May we approach    the bench , please ?

23            THE COURT:    You may .

24                    (At the bar of the Court.)

25            MS. JOHNSTON:     Here 's the problem     -- here 's the




                                                                Page 222
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 223 of 251



 1 government 's problem       is counsel    is now --

 2            MR. WARD:    I'm not here yet .

 3            MS. JOHNSTON:      Well , if you could move a little

 4 more quick ly .     I'm try ing to    move thing s along , Mr.

 5 Ward .    I'm not try ing to be rude .

 6            Here is the problem .      He 's try ing to argue to

 7 this jury , or leave an inference          with the jury that the

 8 officer s did something        illegal   in seizi ng the document s

 9 from the residence .        The court has determine d that

10 everything    seize d is proper ly admissible .        I'm asking

11 the court to instruct         the jury at this time that the

12 court has determine d the legality           of the search

13 warrant s that were executed         in this case and has

14 determine d that those search         warrant s were legal ly

15 executed    and that they can receive         the evidence    and

16 give whatever      weight   they choose    to give to the

17 evidence    and that they are not to be concerned            with

18 whether    a search    warrant   was proper ly issue d or not .

19 That 's a decision      the court make s.

20            MR. WARD:    Your Honor , that is not my intent ,

21 and I'll be glad to make that clear in my question .                     My

22 question    -- my intent      is to attack    his expertise .       He

23 was qualifi ed by the government          as being knowledgeable

24 with respect      to search    warrant s and what you can seize

25 and what you can't seize .




                                                                Page 223
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 224 of 251



 1            THE COURT:     Mr. Ward , why don't I make it very

 2 simple ?     Why didn't    you make certain     your next words

 3 out of your mouth to this witness            is , I'm not

 4 suggest ing there is any question         to the legality       of the

 5 search     warrant s or the item s seize d?      Otherwise,     I will

 6 give an instruction        from the bench .

 7            MR. WARD:    N o problem .

 8                         (Back in open court .)

 9            BY MR. WARD:

10 Q.         Corporal , let me make a point .       First of all ,

11 I'm not suggest ing in my question           that there 's anything

12 un lawful    or illegal    about this warrant     or about the way

13 it was executed .       Understand , sir ?     The court 's already

14 ruled on that .

15 A.         I'm answering    your questions     as they're     asked .

16 Q.         I understand .    I want to make clear to

17 everybody , including       the member s of the jury , I'm not

18 suggest ing that .      What I am drivi ng at is , I understood

19 you to say that with respect         to something      that was not

20 clear ly contra band , if it was not de scribe d in the

21 authorization     from the court , that you would need to go

22 back to the court to get a second            warrant   to seize it .

23 A.         Possibly .

24 Q.         Possibly .   And is it -- are we clear that in

25 this case you heard the testimony            -- I think you were




                                                                 Page 224
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 225 of 251



 1 in here when Detective            Papalia   testifi ed that we were

 2 clear he did not go back and get a second                warrant .     He

 3 simply     seize d all of those doc uments .

 4            MS. JOHNSTON:          Your Honor , the government     is

 5 asking     the court to give the instruction            based on that

 6 question .

 7            THE COURT:      Mr. Ward , the court has ruled that

 8 the search es in this case are lawful .

 9            MR. WARD:      Yes .     I'm not challengi ng that .        I

10 thought     I made that clear .         What I'm asking    is -- what

11 I'm challengi ng is the defendant s -- the witness '

12 knowledge     of what he 's done in this situation , based on

13 what he testifi ed to before .

14            MS. JOHNSTON:          Objection , because   it 's beyond

15 the scope .

16            THE COURT:      I think that 's beyond       the scope .

17            The objection     is sustained .

18            BY MR. WARD:

19 Q.         All right .     Now , you talk ed about on re direct

20 that there was a call follow ing Mr. Goodwin 's arrest .

21            First of all , what was the date of Mr. Goodwin 's

22 arrest ?     I forget .

23 A.         November    25 , 2003 .

24 Q.         Okay .   I asked you whether        Ms. Dobie's   name

25 appear ed on that chart ; is that right , sir ?




                                                                   Page 225
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 226 of 251



 1 A.         That 's right .

 2 Q.         As I understood      it , you had put -- you had made

 3 up the chart s about the call s following           Mr. Goodwin 's

 4 arrest , and you had had a reason           for select ing certain

 5 name s and put ting them on the chart ; is that right ,

 6 sir ?

 7 A.         Yes .

 8 Q.         And your reason      was what , sir ?    Just to make

 9 myself     clear .

10 A.         I belie ve I've already      discuss ed this earlier       as

11 to why .

12 Q.         Yes , my -- I tend to forget .

13 A.         Okay .    I'll explain    it again .    It 's to show

14 connection s between       certain   individuals    and the arrest

15 of Mr. Goodwin .       That is all .

16 Q.         All right , sir .     So that we understand .      When

17 you made that determination          that you want ed to show

18 connection s between       certain   individuals    who you say --

19 the government       believe d were involve d in this

20 conspiracy , you chose -- you made the determination                 not

21 to put Ms. Dobie's        name on there .

22 A.         I don't know      if she was in one of the draft s of

23 that chart or not .        She did not make it to the final

24 cut .

25 Q.         It's before    the jury , sir , and I sugges t it is




                                                                Page 226
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 227 of 251



 1 not a draft .      My question   to you is , again , you chose

 2 not to put her name on that product           that 's been shown

 3 to this jury ; is that right , sir ?

 4 A.       Yes , that 's right .

 5 Q.       All right .     And then on re cross you point to

 6 CH-4 A and you say that on the 25th , at 20 :13 hour s,

 7 which is , what , 8:13 in the evening , sir ?          Is that

 8 right , sir ?

 9 A.       Yes .

10 Q.       There is a 58 -minute      call outgoing     from Ms.

11 Martin 's -- one of Ms. Martin 's phone s to 20 2-882-37 38 ,

12 Dobie , G and L, which is Goldie and          Lavon ; is that

13 right , sir ?

14 A.       58 -minute ?

15 Q.       Or 58 seconds .      I beg your pardon .      Let me show

16 it to you .      You tell me what it is .

17 A.       58 min utes would be a very long call .

18 Q.       It sure would .

19 A.       Yes , that would be .

20 Q.       That 's my mis take .

21 A.       That would be 58 seconds .

22 Q.       58 seconds .

23          This was not a record ed call .         This was simply

24 something     you pick ed up on the pin register ; is that

25 right , sir ?




                                                                Page 227
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 228 of 251



 1 A.       That 's right .

 2 Q.       And 58 seconds      would seem to indicate , would it

 3 not , sir , that the call didn't        actual ly go through .

 4 That nobody      had any conversation .      That the phone rang ,

 5 and that 's all .

 6 A.       No .

 7 Q.       All right , sir .     But you have no way of know ing

 8 what was discus sed in that telephone          call .

 9 A.       That 's correct .

10 Q.       You have no way of know ing whether            the telephone

11 call was direct ed to Ms. Dobie or it was direct ed to

12 her husband      or it was direct ed to one of her son s;

13 isn't that correct , sir ?

14 A.       That would be correct .

15 Q.       All right , sir .

16          Do you know , sir , from your investigation            in

17 this case -- and I'm direct ing us to the 56 call s that

18 you talk ed about that took place between            January    6, '04

19 and March 25 , '04 between       a hard Line , 882-3738 ,

20 identifi ed with Ms. Dobie and a line identifi ed with

21 Ms. Levi .

22          Do you recall     that testimony ?

23 A.       Yes .

24 Q.       All right , sir .     A gain , those 56 call s were in

25 fact not call s but contact s based on pin register




                                                                  Page 228
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 229 of 251



 1 result s; is that right , sir ?

 2 A.       That 's right .

 3 Q.       Since they were pin register                result s, you don't

 4 know how many of those 56 were from the phone

 5 identifi ed with Ms. Levi to the phone identifi ed with

 6 Ms. Dobie or how they were identifi ed from the Dobie

 7 phone to the Levi phone ; is that correct , sir ?

 8 A.       No , it 's not correct .

 9 Q.       It 's not correct .          How many -- can you tell us ?

10 A.       If I have       that exhibit , I could tell you , yes .

11 Q.       What exhibit ?

12 A.       The exhibit       that the government          entered     in on

13 re direct .

14 Q.       I'm sorry .       I don't know     what it was .          I'm sure

15 that Ms. Johnston         can get it .     CH-4 --

16          MS. JOHNSTON:         No .    I believe      it was a

17 miscellaneous      number .     Miscellaneous        40 , it look s like .

18          MR. WARD:        Thank you very much .          Here 's

19 Miscellaneous      4.

20          MS. JOHNSTON:         It 's 40 , counsel .       4-0.

21          BY MR. WARD:

22 Q.       I'm sorry .       Miscellaneous      41 .     Is it 41 ?     It

23 look s like 41 .        It 's hard to tell .       There 's a stamp

24 over the top of it .

25          That 's what you're          talk ing about , sir ?




                                                                       Page 229
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 230 of 251



 1 A.        Yes .

 2 Q.        All right .   Where it says in this "number

 3 dialed ," that mean s what , sir ?

 4 A.        That means those were calls from Ms. Levi's

 5 residence    to Ms. Dobie's residence.

 6 Q.        All right , sir .    And it appear s to me -- I'll

 7 certain ly be guided     by your assess ment that a great

 8 bulk of those call s were from Ms. Levi 's phone to Ms.

 9 Dobie's   phone ; is that correct , sir ?

10 A.        Yes .

11 Q.        All right , sir .    Again , since we're talk ing

12 about pin register .      You have no idea who made those

13 call s to Ms. Dobie's     phone --

14 A.        That 's correct .

15 Q.        -- from that number .

16 A.        That 's correct .

17 Q.        Are you aware , sir , or did you become        aware in

18 the course    of your investigation      that Ms. Dobie --

19 first of f, Ms. Levi had a daughter         name d Bonetta ?

20 A.        Some approximation     of that name , yes .

21 Q.        Well , maybe I don't have     the name quite correct .

22 But you learn ed that she had a daughter          anyway ; is that

23 correct , sir ?

24 A.        Yes .

25 Q.        And you learn ed -- did you also learn that the




                                                               Page 230
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 231 of 251



 1 daughter     and Ms. Dobie , my client , were long friends

 2 going back , perhaps , ten , 12 , 15 year s?

 3 A.         Was I aware that they were friends ?          My

 4 understand ing was that Ms. Dobie had some sort of

 5 dis agreement       with one of Ms. Levi 's children .

 6 Q.         That was the daughter ?

 7 A.         Possibly .

 8 Q.         Okay .    Were you aware , sir , that my client          and

 9 Ms. Dobie's     -- Ms. Levi 's daughter      Bonetta   or her exact

10 name is --

11            MS. JOHNSTON:     Objection .    This is beyond         the

12 scope .

13            THE COURT:     Mr. Ward , I think you've      gone over

14 the line .     This is not --

15            MR. WARD:     I'm sorry ?

16            THE COURT:     This is not within       the scope of the

17 re direct , so I'm going to sustain         it .

18            MR. WARD:     Well , I -- Your Honor , may I be

19 heard ?    I would be glad to be heard at          bench , or I

20 would like to be heard anyway .

21            THE COURT:     Come up to the bench .

22                          (At the bar of the Court.)

23            MR. WARD:     It 's the government 's intent       of

24 show ing this number       of call s was to create     the

25 impression , if not the belief         in the mind of this jury ,




                                                                 Page 231
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 232 of 251



 1 that these were drug call s.           I am explain ing -- I am

 2 try ing to explain       that they -- there was another

 3 explanation     for these call s, that Ms. Levi 's daughter

 4 and my client     were long -time friends .       My next question

 5 was , did you know that they were long -time buddi es in

 6 the "boostin g" business       -- going out and steal ing stuff

 7 -- which they were .

 8            MS. JOHNSTON:     Your Honor , that clear ly get s

 9 into hearsay .     It 's not in evidence .

10            THE COURT:     It 's hearsay .    It 's not within     the

11 scope of the re direct , and I think you 've already

12 gotten    well -establish ed that there 's a lot of contact s

13 and that nobody        know s precise ly what they were for .         I

14 think you leave it at that .

15            MS. JOHNSTON:     This is hearsay .        Again , he 's

16 try ing to use this witness        to get in substantive

17 evidence    as an explanation      for the call s.       He can't do

18 it through    this witness .

19            THE COURT:     Your objection     is sustained .

20            MR. WARD:     Your Honor , I'm simply       try ing to show

21 that there was an alternative           explanation     for the phone

22 call s.

23            THE COURT:     That evidence     is before    the jury

24 right now .

25            MR. WARD:     Thank you .




                                                                 Page 232
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 233 of 251



 1                           (Back in open court .)

 2            MR. WARD:      Thank you , Your Honor .        Let me see if

 3 I have any additional         question s.

 4            No , I think that cover s it .          Thank you very

 5 much , corporal .       I appreciate     it .

 6            THE COURT:      Any further    re cross ?

 7            MR. SUSSMAN:      No , not from me .

 8                           RECROSS EXAMINATION

 9            BY MR. MCKNETT :

10 Q.         Officer,    I want to ask you some questions about

11 CH -4 and    CH-4A .    They're the telephone activity we've

12 been discussing, and         CH -4A is the -- this document.

13 That is the background -- not the background but the

14 base information for which         CH -4 was drawn; correct?

15 A.         That's correct.

16 Q.         Okay.   Who prepared     CH -4A ?

17 A.         I did

18 Q.         I want to ask you a couple of questions on this.

19 First of all, you testified that                CH -4 was prepared in

20 order to show connections between various individuals

21 who would be concerned about --             I don't think     I have

22 your exact words, but concerned about the arrest of                     Mr.

23 Goodwin.

24            Is that an accurate description -- the purpose

25 for CH -4?




                                                                   Page 233
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 234 of 251



 1 A.         It's to show call activity between certain

 2 parties after the arrest of              Mr. Goodwin.

 3 Q.         You chose not to put          Ms. Ali on that chart;

 4 correct?

 5 A.         At some point, yes.

 6 Q.         Well she's not on there now; right?

 7 A.         That's correct.

 8 Q.         Let me ask you a couple of questions.           Let me

 9 zoom in on        CH-4A .   I've highlighted here two calls, and

10 they show activity "In."         "In" means          Ms. Ali made that

11 call; right?

12 A.         Yes.

13 Q.         And it was in to this number --

14 A.         Yes.

15 Q.         -- which is      Ms. Martin's number.        It happened on

16 -- the first one that          I've highlighted is November 25th

17 '03; took place at 12         :06 :35.    Correct?

18 A.         Yes.

19 Q.         The second one, same thing from              Ms. Ali -- her

20 cell phone?

21 A.         Yes.

22 Q.         To Ms. Martin's number here on the same day at

23 12:06 :51; right?

24            That's 16 seconds apart, right?

25 A.         Yes.




                                                                    Page 234
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 235 of 251



1 Q.       The next column is the "duration" column?

2 A.       Yes.

3 Q.       It says that the first call lasted for four

4 minutes and 17 seconds, and it says the next call

5 lasted for four minutes and 18 seconds.

6 A.       Yes.

7 Q.       Those two calls were only 16 seconds apart.

8          Can you explain that?

9 A.       One of those would be a data stream.

10 Q.      Excuse me?

11 A.      One of those calls would most likely be a data

12 stream which,    I believe, Detective       Sakala testified to

13 in the wiretap portion, that -- when he explained the

14 difference between activations and calls, particularly

15 with cellular telephones, you will get a data stream --

16 Q.      Okay.

17 A.      -- which is kept for billing purposes.         And we

18 get -- that's also given to us in the           DNR data from the

19 phone company.    They just give us the contacts.       We

20 can't differentiate.

21 Q.      So the duration of the call does not necessarily

22 reflect the length of any conversation.

23 A.      That's what the phone company gave us.         That's

24 what it's supposed to reflect.

25 Q.      But the phone company -- and there's other




                                                                Page 235
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 236 of 251



1 examples -- let me turn back here to Page 5.                I

2 highlighted, again, calls from "         LaNora Ali Garner," who

3 is a LaNora     Ali; correct?     That's not a different

4 person.    Same person; right?

5 A.         That's correct.

6 Q.         Again, incoming calls from her phones on -- to

7 Ms. Martin on     November 26.     These highlighted --

8 they're all     November 26.     And if you look at them,

9 again the time of the first call is 18           :16 :39.   The time

10 of the second call 18       :16 :55, which is 16 seconds later,

11 but the "duration" column indicates that the first call

12 lasted for a minute and 20 seconds.

13 A.        That's correct.

14 Q.        I'm sorry.    I'm talking off the page.      That's

15 what it says, but is that the same thing -- the minute

16 and 20 seconds, is the data stream information?

17 A.        My opinion is that the second one would be the

18 data stream -- the second item registering.

19 Oftentimes, after a call is hung up, there is a data

20 stream.   That's what we found with the Title 3.        After

21 a call ended, there would be -- another entry would pop

22 up as a data stream.     We have no control over that.

23 That's something the phone company does, and they send

24 it to us.

25 Q.        So that would be after the first call ended, but




                                                                  Page 236
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 237 of 251



1 it still --

2 A.       It registers -- you would have to get a phone

3 company tech to explain all of their procedures.          This

4 is just the data that they send us and that we capture.

5 One of these is a call, and the other would appear to

6 be the data stream associated with that call.

7 Q.       There's no way to tell which is which; right?

8 A.       Not without having the wiretap up.

9 Q.       There's no way to tell how much of this minute

10 and 20 seconds or minute and 17 seconds was an actual

11 conversation and how much of it was just that data

12 stream information?

13 A.      No, because one -- for instance, if you listen

14 to the calls that we played with Detective            Sakala , you

15 will hear -- we even edited some of the ringing out so

16 the jury would haven't to incessantly hear ringing for,

17 you know, ten seconds, 20 seconds, four seconds

18 sometimes.   No.   Do you ever call somebody on the phone

19 and they pick up and you never heard it ring?         So, some

20 of that -- some of that is ringing; some of that is

21 somebody just picking up the phone.       So, the data

22 stream is a separate data stream.       It is not -- it is

23 not part of that call.     It doesn't take up any duration

24 of the telephone call.     That is a separate data stream

25 that the phone company uses for billing purposes and




                                                               Page 237
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 238 of 251



 1 the -- whatever other purposes they have.         That's for

 2 their purposes.

 3 Q.         It's fair to say, then, that you can't actually

 4 tell from this information how long the actual

 5 conversation took.

 6 A.         No.    I don't believe   I testified that you could.

 7 You never know how long a conversation is unless you

 8 hear it.     Just like some of the calls are three

 9 minutes, and it may be 10 seconds of ringing or it may

10 be one second of ringing.      You can't tell unless you

11 hear it.

12 Q.         Even though it says here, for instance, on this

13 call that it -- on       November 26, 2003 at 18      :16 :39, which

14 would be 6 :16 and 39 seconds in the evening, that              Ms.

15 Ali called on her cell phone         Ms. Martin, we don't know

16 if there was any conversation on that, do we?

17            That could all be data stream.      That could all

18 be --

19 A.         Both of them?

20 Q.         Yes.

21 A.         No.

22 Q.         You don't know which one, do you?

23 A.         No.    I don't know which one, no.

24 Q.         You can't really rely on this "duration" column

25 at all to determine how long someone actually talked to




                                                                Page 238
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 239 of 251



 1 somebody on these calls, can you?

 2 A.       Well, a seven-minute call would definitely not

 3 be indicative of a constant -- seven minutes of ringing

 4 or seven minutes of data stream.        As a matter of fact,

 5 the seven-minute call does not appear to have a data

 6 stream attached to it.

 7 Q.       You don't know that, do you?

 8 A.       I testified before that these are merely

 9 contacts.     I did not ever testify that these are

10 complete conversations.

11 Q.       So all they show us is that somebody using --

12 for these examples -- somebody who had access to                 Ms.

13 Ali's cell phone used it to call this number; right?

14 A.       That, or somebody from        Ms. Martin's phone called

15 Ms. Ali.

16 Q.       These are incoming; right?

17 A.       That's incoming.

18 Q.       That would be     Ms. Ali calling      Ms. Martin; right?

19 A.       That's correct.       I got it backwards.      You're

20 right.

21 Q.       It is confusing.

22          But that's all it tells us, that somebody used

23 this phone -- the phone assigned to this number -- to

24 make a call to the phone assigned to this number, and

25 that's all it tells us.




                                                                Page 239
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 240 of 251



 1 A.       Yes.

 2 Q.       Thank you.

 3          Let me turn to      Mr. Thurman.    M s. Johnston had

 4 you read extensively from        Mr. Thurman's testimony when

 5 I was asking him questions on cross-examination.

 6          Do you have his transcript up there?

 7 A.       No, I do not.

 8          MS. JOHNSTON:     Objection.    If we could approach

 9 the bench, please.

10                    (At the bar of the Court.)

11          MS. JOHNSTON:     Counsel now wants to question him

12 about an excerpt of       Mr. Ward's cross-examination which

13 I did not touch in my redirect.       In my redirect         I

14 referenced just the June 20 cross-examination by                 Mr.

15 McKnett , so any reference to any other transcript would

16 be beyond the scope of the government's redirect.

17          MR. MCKNETT :     Completeness,     Your Honor.      Ms.

18 Johnston asked     Mr.- -- this detective to read

19 extensively from      Mr. Thurman's testimony about how he

20 would buy an 8-ball and then use part and sell part.

21          THE COURT:     What?

22          MR. MCKNETT :     Mr. Thurman would buy an 8-ball,

23 use part of it and sell part of it.            Mr. Ward followed

24 up with that in which       Mr. Thurman testified clearly

25 that he would -- at times he bought an 8-ball for his




                                                                Page 240
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 241 of 251



 1 own personal use, and that's all          I want to get in.

 2 It's about ten lines long, and it's to complete              Mr.

 3 Thurman's testimony about his purchases of 8-balls.

 4          MS. JOHNSTON:       Your Honor, it's not --

 5          THE COURT:     It's outside the scope.

 6          MR. MCKNETT :     No it's not, because       Ms. Johnston

 7 clearly asked those questions to lead the jury to reach

 8 the conclusion that someone would only buy an 8-ball to

 9 sell part of it.       Mr. Thurman said he bought 8-balls

10 for his own personal use.

11          THE COURT:     How much cross-examination on this?

12          MR. MCKNETT :     It's about ten lines,       Your Honor.

13          MS. JOHNSTON:       Your Honor, if I may be heard.

14 Here's the problem with it.          I relied on     Mr. McKnett's

15 cross-examination      June 20 and only that portion of it

16 that Mr. Ward covered with Detective           Eveler in his

17 cross-examination.        Mr. Ward's cross-examination was on

18 June 16, not June 20.        I didn't go into      Mr. Thurman's

19 direct examination when he discussed many, many times

20 over that he bought it and sold part of it.               I limited

21 my redirect very specifically to the date and              Mr.

22 McKnett's    cross-examination.     If there's something in

23 Mr. McKnett's     cross-examination on June 20 that          I

24 missed and he thinks should be covered,            I don't have

25 any objection to that.      But going to other portions of




                                                                Page 241
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 242 of 251



 1 Mr. Thurman's testimony, whether it be my direct

 2 examination or another defense attorney's redirect, is

 3 not necessary under any kind of verbal completeness,

 4 and it is way beyond the scope of redirect examination.

 5            MR. MCKNETT :     Your Honor, it completes the

 6 picture of     Mr. Thurman's testimony about his purchases

 7 and the reasons for his purchases of 8-balls.

 8            THE COURT:   On this one     I agree with the

 9 government.

10            Objection sustained.

11                         (Back in open court.)

12            BY MR. MCKNETT :

13 Q.         Let me ask you about your testimony concerning

14 the surveillance of         Ms. Martin -- at   Paula's School of

15 Performing Arts.

16            You testified,     I believe, that the reason you

17 didn't have     Ms. Ali's vehicle followed or stopped was

18 you didn't have time to do that.        It was -- you didn't

19 find out about that trip far enough in advance to set

20 up a surveillance or a stop; correct?

21 A.         We didn't find out about it far enough in

22 advance to get somebody there to conduct the

23 surveillance.

24 Q.         To be clear, we're talking about May 16; is that

25 correct?




                                                                Page 242
    Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 243 of 251



1 A.          Yes.

2 Q.          And the question, in your opinion, to move

3 drugs, and the words used to move something from the

4 house to her school; is that correct?

5 A.          That's correct.

6 Q.          And Ms. Martin and     Ms. Ali are seen on the pole

7 camera carrying bags to         Ms. Ali's car and then driving

8 away; correct?

9 A.          Yes.

10 Q.         And the bags were coming from       Ms. Martin's

11 house?

12 A.         Yes.

13 Q.         You did have time to get an officer on the scene

14 at the school; correct?

15 A.         Yes.

16 Q.         That was officer     Roger St . Louis.   He was a

17 member of the     Montgomery County Police Department;

18 correct?

19 A.         That's correct.

20 Q.         The distance from     Paula's School of Performing

21 Arts to my client's house is about a mile or less;

22 correct?

23 A.         I would think it would be a little bit more than

24 a mile.

25 Q.         How far would you estimate?




                                                               Page 243
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 244 of 251



 1 A.       Just a guess?       I'd say more like two or more

 2 miles.   It's not a terrible, terrible distance.

 3 Q.       Not a great distance?

 4 A.       No.

 5 Q.       And Officer St . Louis was there; correct?

 6 A.       Yes.

 7 Q.       At the school?

 8 A.       Yes.

 9 Q.       We heard him testify that he saw           Ms. Martin and

10 Ms. Ali come out of the school and get in the vehicle

11 and drive away; correct?

12 A.       Correct.

13 Q.       But he didn't follow them, did he?

14 A.       No, he did not.

15 Q.       Because you didn't instruct them to; right?

16 A.       One agent testified for some reason --            I believe

17 it was him -- that he couldn't follow them because he

18 got stopped at the light.

19 Q.       I don't believe that was --         I don't believe that

20 was --

21          MS. JOHNSTON:     Objection to counsel testifying.

22          THE COURT:     Yeah.   Rephrase your question.

23          BY MR. MCKNETT :

24 Q.       Did Officer St . Louis follow the vehicle my

25 client was driving after it left the school of




                                                                Page 244
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 245 of 251



 1 performing arts?

 2 A.         Not -- did he follow --      I know he didn't follow

 3 to your client's residence.

 4 Q.         Did you instruct him to follow the vehicle?

 5 A.         I don't recall what instructions he was given on

 6 that day.

 7 Q.         If he had been instructed to follow the vehicle,

 8 that would have been helpful, wouldn't it?

 9            MS. JOHNSTON:   Objection.

10            THE COURT:   Sustained.

11            BY MR. MCKNETT :

12 Q.         Did anybody follow the vehicle?

13 A.         No.   Officer St . Louis was by himself that day.

14 He was the only person we could get to go out there.

15 Q.         Did anyone set up a surveillance at my client's

16 house to see if she carried any bags or suitcases into

17 the house?

18 A.         We only had one officer available.

19 Q.         The answer is "no?"

20 A.         That would be no.

21 Q.         You said you didn't have time to get a search

22 warrant,    I believe, in answer to someone's question.

23            Do you remember that?

24 A.         I don't believe that's correct.          I don't believe

25 you're phrasing it correctly.




                                                                Page 245
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 246 of 251



 1 Q.       Well, there was a question where you were asked

 2 about a search warrant; correct?

 3 A.       Yes.    The government asked me how long it would

 4 take to obtain a search warrant.        You said it would

 5 have taken a few hours; correct?

 6 A.       That's correct.

 7 Q.       But this is a motor vehicle; right?

 8          MS. JOHNSTON:     Objection.

 9          THE WITNESS:      Paula's school --

10          THE COURT:     Wait a minute.

11          MS. JOHNSTON:     Objection.

12          Beyond the scope of redirect.

13          THE COURT:     Yes.

14          Sustained.

15          BY MR. MCKNETT :

16 Q.       You could have secured the premises at the

17 school, pending a search warrant; correct?

18 A.       If we wanted to end the investigation that day,

19 yes.

20 Q.       And you could have secured         Ms. Ali's vehicle,

21 pending a search warrant; correct?

22 A.       If we were prepared to end our investigation              on

23 that day, yes.

24 Q.       So you chose not to; correct?

25 A.       Yes.




                                                                Page 246
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 247 of 251



 1 Q.       But you could have.

 2 A.       Yes.

 3          MR. MCKNETT :     Thank you.

 4          THE COURT:     Do you have any further questions?

 5          MS. JOHNSTON:     No,    Your Honor.    At this time we

 6 will put an end to the questioning of Detective              Eveler .

 7                   (Witness excused at 5:04 p.m.)

 8 THE COURT:      Perfect timing.     Ladies and gentlemen,        I

 9 have a proceeding tomorrow morning at 9:00.               I will be

10 meeting with the attorneys on some other matters before

11 we start, so we will start at 10 o'clock sharp tomorrow

12 morning, and      I anticipate we will go the full day

13 tomorrow.       I'll give you an update on any changes each

14 day.   So, we will stand in recess until 10 o'clock

15 tomorrow morning, with the parties of this case and the

16 counsel being here at 9      :30.

17          Stay behind, counsel.

18                   (Jury excused at 5     :04 p.m.)

19          MS. JOHNSTON:       Your Honor, we need a list of

20 witnesses who are going to be called tomorrow.

21          THE COURT:      Counsel, you know my requirements.

22 You make sure she has a list.        She should have had it

23 before now.

24          MS. JOHNSTON:     We don't have a list of who is

25 going to be called tomorrow.        In terms of all of the




                                                                Page 247
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 248 of 251



 1 witnesses that are expected to testify,            Mr. Montemarano

 2 said Tony Martin's witnesses.         Well, we have some names

 3 from Mr. Martin.      Some of them the government is going

 4 to move to exclude, but --

 5          THE COURT:     Counsel, you've got to give her the

 6 information now.

 7          MS. GREENBERG:       Your Honor, the second concern

 8 is, if the court does exclude some of the witnesses

 9 that there's enough communication among counsel to have

10 enough witnesses here to fill a day so we don't lose

11 time.

12          THE COURT:      I don't want to have any gaps.       So,

13 overload the day with witnesses.        Don't underload it.

14          MR. MARTIN:      Your Honor,     I had my witnesses

15 outside in the hallway.           I've given the government --

16          THE COURT:      I can call the jury back in right

17 now if you want to hear them right now.

18          MS. JOHNSTON:       Mr. Martin has given us a list of

19 his witnesses.

20          THE COURT:     Counsel, let me just -- is that the

21 end of the government's case, subject to the issue that

22 arose about the recall of Sergeant           Sakala for further

23 cross?

24          MS. JOHNSTON:     Yes,     Your Honor.    I just want to

25 double check and make sure all of our exhibits are in.




                                                                Page 248
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 249 of 251



 1          THE COURT:     You can officially rest tomorrow

 2 morning at 9 :30 and i will hear defense motions at 9              :30

 3 and I will conclude the hearing of those motions and

 4 any other preliminary matters so we can get the jury

 5 back in the box and starting with the first defense

 6 witness at 10 o'clock.

 7          MS. GREENBERG:       Your Honor, there are six

 8 witnesses that     Mr. Martin has outlined, a number of

 9 them we think should be excluded, and those are the

10 only six witnesses we have.

11          MS. JOHNSTON:     For tomorrow.

12          MS. GREENBERG:     For tomorrow.     So,     I don't know

13 if any other counsel is going to step up to the plate

14 to fill up the day tomorrow.

15          THE COURT:     Please understand -- all counsel

16 should understand that if        Mr. Martin runs out of

17 witnesses, there had better be other witnesses ready to

18 go, and the government needs to know who those

19 witnesses are.

20          MR. WARD:     We will do what the government has,

21 frankly, done more than once in this case.          We will

22 caucus after we leave here, and then we will E-mail

23 them.

24          THE COURT:     You do your caucus and make sure           Ms.

25 Johnston and     Ms. Greenberg do not go home tonight




                                                                 Page 249
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 250 of 251



 1 speculating about who the witnesses are.         They should

 2 know within 20 minutes of now.        That's what        I want   you

 3 to do.

 4            MR. MCKNETT :   I have provided a list of

 5 witnesses.

 6            MS. JOHNSTON:   Are they going to be called

 7 tomorrow?    We want to know who is going to be coming up

 8 to bat tomorrow so we can prepare for that.

 9            THE COURT:   Counsel,     I have required the

10 government to do this and          I am requiring the same from

11 the defense.      I want you to be putting your witnesses

12 on.   If   Mr. Martin has run out of witnesses, the next

13 set of witnesses should be ready and they should be

14 ready tomorrow.     So, be ready to go.     All right?

15            Thank you.

16                         (Off the record at 5     :07 p.m.)

17

18

19

20

21

22

23

24

25




                                                                Page 250
     Case 8:04-cr-00235-DKC Document 1200 Filed 04/30/08 Page 251 of 251



 1                              CERTIFICATE

 2

 3       I, Tracy Rae Dunlap,       RPR , CRR , an Official Court

 4 Reporter for the United States District Court of

 5 Maryland, do hereby certify that I reported, by machine

 6 shorthand, in my official capacity, the proceedings had

 7 and testimony adduced upon the Jury Trial Proceedings

 8 in the case of UNITED STATES OF AMERICA versus PAULETTE

 9 MARTIN, et al, criminal Action Number            RWT -04-0235 on

10 July 26, 2006.

11

12       I further certify that the foregoing            251 p ages

13 constitute the official transcript of said proceedings,

14 as taken from my machine shorthand notes, of said

15 proceedings.

16

17       In witness whereof, I have hereto subscribed my

18 name, this     21st day of   April 2008 .

19

20

21                              __________________________

22                              TRACY RAE DUNLAP, RPR , CRR
                                OFFICIAL COURT REPORTER

23

24

25



                                                                Page 251
